     Case 8:12-cv-01837-EAK-MAP Document 870 Filed 12/12/17 Page 1 of 127 PageID 15961
                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                          Sam M. Gibbons U.S. Courthouse
                                                Office of the Clerk
                                             801 North Florida Avenue
                                                 Tampa, FL 33602
                                                  (813) 301-5400
                                              www.flmd.uscourts.gov
Elizabeth M. Warren                                                                               Keshia M. Jones
Clerk of Court                                                                             Tampa Division Manager

DATE: December 12, 2017

TO:    Clerk, U.S. Court of Appeals for the Eleventh Circuit

REGIONS BANK,

       Plaintiff,

v.                                                              Case No: 8:12-cv-1837-T-17MAP

MARVIN I KAPLAN, R1A PALMS, LLC,
LIGHTHOUSE POINTE, LLC, WELLS FARGO, N.A.,
TRIPLE NET EXCHANGE, LLC, MK INVESTING,
LLC, BNK SMITH, LLC and SMITH ADVERTISING &
ASSOCIATES, INC.,

       Defendants.


U.S.C.A. Case No.:             [USCA Case Number]

Enclosed are documents and information relating to an appeal in the above-referenced action. Please
acknowledge receipt on the enclosed copy of this letter.

      Honorable Elizabeth A. Kovachevich, United States District Judge appealed from.

      Appeal filing fee was not paid. Upon filing a notice of appeal, the appellant must pay the district clerk
       all required fees. The district clerk receives the appellate docket fee on behalf of the court of appeals. If
       you are filing informa pauperis, a request for leave to appeal in forma pauperis needs to be filed with the
       district court.

      Certified copy of Notice of Appeal, docket entries, judgment and/or Order appealed from. Opinion was
       not entered orally.

      Court Reporter: Sandra Provenzano

                                               ELIZABETH M. WARREN, CLERK

                                               By:     s/LDR, Deputy Clerk
Case 8:12-cv-01837-EAK-MAP Document 870 Filed 12/12/17 Page 2 of 127 PageID 15962


                                                                             APPEAL, CLOSED, SL DOC
                                U.S. District Court
                         Middle District of Florida (Tampa)
                CIVIL DOCKET FOR CASE #: 8:12−cv−01837−EAK−MAP



    Regions Bank v. Kaplan et al                                 Date Filed: 08/13/2012
    Assigned to: Judge Elizabeth A. Kovachevich                  Date Terminated: 12/08/2017
    Referred to: Magistrate Judge Mark A. Pizzo                  Jury Demand: Defendant
    Case in other court: State Court − 02/23/12, 12−0760−CA−NC   Nature of Suit: 470 Racketeer/Corrupt
    Cause: 28:1446 Petition for Removal                          Organization
                                                                 Jurisdiction: Federal Question
    Plaintiff
    Regions Bank                                 represented by Amy Lea Drushal
    an Alabama banking corporation                              Trenam, Kemker, Scharf, Barkin, Frye,
                                                                O'Neill & Mullis,
                                                                Suite 2700
                                                                101 E Kennedy Blvd
                                                                Tampa, FL 33602−5150
                                                                813/223−7474
                                                                Fax: 813/229−6553
                                                                Email: aldrushal@trenam.com
                                                                TERMINATED: 09/06/2013
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Case 8:12-cv-01837-EAK-MAP Document 870 Filed 12/12/17 Page 3 of 127 PageID 15963




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    V.
    Defendant
    Marvin I Kaplan                     represented by David P. Fraser
    an individual                                      David P. Fraser, Esq.
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Case 8:12-cv-01837-EAK-MAP Document 870 Filed 12/12/17 Page 4 of 127 PageID 15964


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                                                   Kirt R. Posthuma
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Case 8:12-cv-01837-EAK-MAP Document 870 Filed 12/12/17 Page 5 of 127 PageID 15965


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    Defendant
    R1A Palms, LLC                        represented by David P. Fraser
    a Florida limited liability company                  (See above for address)
                                                         TERMINATED: 07/10/2015
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                      Donald Grayson Peterson
                                                      (See above for address)
                                                      LEAD ATTORNEY
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                                                      Ellen B. Newberry
                                                      (See above for address)
                                                      TERMINATED: 07/10/2015
                                                      LEAD ATTORNEY
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                                                      Floyd S. Yarnell
                                                      (See above for address)
                                                      TERMINATED: 07/10/2015
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

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Case 8:12-cv-01837-EAK-MAP Document 870 Filed 12/12/17 Page 6 of 127 PageID 15966


                                                        Harris B. Katz
                                                        (See above for address)
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                                                        LEAD ATTORNEY
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                                                        John Irwin Silverfield
                                                        (See above for address)
                                                        TERMINATED: 04/25/2016
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Jon Douglas Parrish
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Kirt R. Posthuma
                                                        (See above for address)
                                                        TERMINATED: 07/10/2015
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Jonathan Michael Weirich
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

    Defendant
    Lighthouse Pointe, LLC               represented by Jon Douglas Parrish
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Kirt R. Posthuma
                                                        (See above for address)
                                                        TERMINATED: 07/10/2015
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

    Defendant
    Wells Fargo, N.A.                    represented by Mark James Ragusa
    a national banking association, as                  Gunster, Yoakley & Stewart, P.A.
    successor by merger with Wachovia                   401 E. Jackson Street
    Bank, N.A.                                          Suite 2400
                                                        Tampa, FL 33602
                                                        813/222−6619
                                                        Fax: 813/314−6919
                                                        Email: mragusa@gunster.com
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                                                        ATTORNEY TO BE NOTICED


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Case 8:12-cv-01837-EAK-MAP Document 870 Filed 12/12/17 Page 7 of 127 PageID 15967


    Defendant
    Triple Net Exchange, LLC            represented by David P. Fraser
                                                       (See above for address)
                                                       TERMINATED: 07/10/2015
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                    Donald Grayson Peterson
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Ellen B. Newberry
                                                    (See above for address)
                                                    TERMINATED: 07/10/2015
                                                    LEAD ATTORNEY
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                                                    Floyd S. Yarnell
                                                    (See above for address)
                                                    TERMINATED: 07/10/2015
                                                    LEAD ATTORNEY
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                                                    Harris B. Katz
                                                    (See above for address)
                                                    TERMINATED: 07/10/2015
                                                    LEAD ATTORNEY
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                                                    John Irwin Silverfield
                                                    (See above for address)
                                                    TERMINATED: 04/25/2016
                                                    LEAD ATTORNEY
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                                                    Jon Douglas Parrish
                                                    (See above for address)
                                                    LEAD ATTORNEY
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                                                    Kirt R. Posthuma
                                                    (See above for address)
                                                    TERMINATED: 07/10/2015
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Jonathan Michael Weirich
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

    Defendant
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Case 8:12-cv-01837-EAK-MAP Document 870 Filed 12/12/17 Page 8 of 127 PageID 15968


    MK Investing, LLC                   represented by David P. Fraser
                                                       (See above for address)
                                                       TERMINATED: 07/10/2015
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                         Donald Grayson Peterson
                                                         (See above for address)
                                                         LEAD ATTORNEY
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                                                         Ellen B. Newberry
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                                                         TERMINATED: 07/10/2015
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                                                         Floyd S. Yarnell
                                                         (See above for address)
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                                                         Harris B. Katz
                                                         (See above for address)
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                                                         John Irwin Silverfield
                                                         (See above for address)
                                                         TERMINATED: 04/25/2016
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                                                         Jon Douglas Parrish
                                                         (See above for address)
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                                                         Kirt R. Posthuma
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                                                         TERMINATED: 07/10/2015
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jonathan Michael Weirich
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

    Defendant
    BNK Smith, LLC                      represented by
                                                                                    7
Case 8:12-cv-01837-EAK-MAP Document 870 Filed 12/12/17 Page 9 of 127 PageID 15969


                                                   David P. Fraser
                                                   (See above for address)
                                                   TERMINATED: 07/10/2015
                                                   LEAD ATTORNEY
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                                                   Donald Grayson Peterson
                                                   (See above for address)
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                                                   Ellen B. Newberry
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                                                   Floyd S. Yarnell
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                                                   Harris B. Katz
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                                                   John Irwin Silverfield
                                                   (See above for address)
                                                   TERMINATED: 04/25/2016
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                                                   Jon Douglas Parrish
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                                                   Kirt R. Posthuma
                                                   (See above for address)
                                                   TERMINATED: 07/10/2015
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                                                   Jonathan Michael Weirich
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    Defendant
    Smith Advertising & Associates, Inc.
                                                                                    8
Case 8:12-cv-01837-EAK-MAP Document 870 Filed 12/12/17 Page 10 of 127 PageID 15970



     Third Party Custodian
     Brenda Tamm                        represented by Jason Paul Stearns
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     Counter Claimant
     BNK Smith, LLC                     represented by David P. Fraser
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                                                       Donald Grayson Peterson
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                                                       Ellen B. Newberry
                                                       (See above for address)
                                                       TERMINATED: 07/10/2015
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                                                       Floyd S. Yarnell
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                                                       Harris B. Katz
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                                                       John Irwin Silverfield
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                                                       TERMINATED: 04/25/2016
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                                                       Jon Douglas Parrish
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                                                       ATTORNEY TO BE NOTICED

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Case 8:12-cv-01837-EAK-MAP Document 870 Filed 12/12/17 Page 11 of 127 PageID 15971


                                                       Kirt R. Posthuma
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                                                       TERMINATED: 07/10/2015
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                                                       Jonathan Michael Weirich
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     Counter Claimant
     R1A Palms, LLC                        represented by David P. Fraser
     a Florida limited liability company                  (See above for address)
                                                          TERMINATED: 07/10/2015
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                                                       Donald Grayson Peterson
                                                       (See above for address)
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                                                       Ellen B. Newberry
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                                                       TERMINATED: 07/10/2015
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                                                       Floyd S. Yarnell
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                                                       Harris B. Katz
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                                                       John Irwin Silverfield
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                                                       Jon Douglas Parrish
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                                                       Kirt R. Posthuma
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Case 8:12-cv-01837-EAK-MAP Document 870 Filed 12/12/17 Page 12 of 127 PageID 15972


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     Counter Claimant
     Triple Net Exchange, LLC           represented by David P. Fraser
                                                       (See above for address)
                                                       TERMINATED: 07/10/2015
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                                                    Ellen B. Newberry
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                                                    Floyd S. Yarnell
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                                                    Harris B. Katz
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                                                    John Irwin Silverfield
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                                                    Jon Douglas Parrish
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Case 8:12-cv-01837-EAK-MAP Document 870 Filed 12/12/17 Page 13 of 127 PageID 15973


                                                    TERMINATED: 07/10/2015
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                                                    ATTORNEY TO BE NOTICED

     Counter Claimant
     MK Investing, LLC                  represented by David P. Fraser
                                                       (See above for address)
                                                       TERMINATED: 07/10/2015
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                    Donald Grayson Peterson
                                                    (See above for address)
                                                    LEAD ATTORNEY
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                                                    Ellen B. Newberry
                                                    (See above for address)
                                                    TERMINATED: 07/10/2015
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                                                    ATTORNEY TO BE NOTICED

                                                    Floyd S. Yarnell
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                                                    TERMINATED: 07/10/2015
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                                                    Harris B. Katz
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                                                    John Irwin Silverfield
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                                                    TERMINATED: 04/25/2016
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                                                    ATTORNEY TO BE NOTICED

                                                    Jon Douglas Parrish
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Kirt R. Posthuma
                                                    (See above for address)
                                                    TERMINATED: 07/10/2015
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Case 8:12-cv-01837-EAK-MAP Document 870 Filed 12/12/17 Page 14 of 127 PageID 15974


                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Jonathan Michael Weirich
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

     Counter Claimant
     Marvin I Kaplan                    represented by David P. Fraser
     an individual                                     (See above for address)
                                                       TERMINATED: 07/10/2015
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                    Donald Grayson Peterson
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Ellen B. Newberry
                                                    (See above for address)
                                                    TERMINATED: 07/10/2015
                                                    LEAD ATTORNEY
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                                                    Floyd S. Yarnell
                                                    (See above for address)
                                                    TERMINATED: 07/10/2015
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Harris B. Katz
                                                    (See above for address)
                                                    TERMINATED: 07/10/2015
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                                                    ATTORNEY TO BE NOTICED

                                                    Jon Douglas Parrish
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Kirt R. Posthuma
                                                    (See above for address)
                                                    TERMINATED: 07/10/2015
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    John Irwin Silverfield
                                                    (See above for address)
                                                    TERMINATED: 04/25/2016
                                                    ATTORNEY TO BE NOTICED
                                                                                     13
Case 8:12-cv-01837-EAK-MAP Document 870 Filed 12/12/17 Page 15 of 127 PageID 15975




                                                            Jonathan Michael Weirich
                                                            (See above for address)
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     V.
     Counter Defendant
     The Florida Bankers Association, Inc.   represented by Michael Byrley Colgan
                                                            Bradley Arant Boult Cummings LLP
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                                                            Tampa, FL 33602−5809
                                                            813/559−5500
                                                            Fax: 813/229−5946
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                                                            ATTORNEY TO BE NOTICED

                                                            Rachel K. Jones
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                                                            Email: rachel.jones@akerman.com
                                                            TERMINATED: 11/04/2014
                                                            ATTORNEY TO BE NOTICED

     Counter Defendant
     Bridgeview Bancorp, Inc.                represented by Jason M. Ellison
                                                            Ellison and Lazenby, PLLC
                                                            Ste 2000
                                                            200 Central Ave
                                                            St. Petersburg, FL 33701
                                                            727−362−6151
                                                            Fax: 727−362−6131
                                                            Email: jellison@elattorneys.com
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            William Gilbert Lazenby
                                                            Ellison and Lazenby, PLLC
                                                            Ste 2000
                                                            200 Central Ave
                                                            St. Petersburg, FL 33701
                                                            727−898−7210
                                                            Email: wlazenby@elattorneys.com
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

     Counter Defendant
                                                                                               14
Case 8:12-cv-01837-EAK-MAP Document 870 Filed 12/12/17 Page 16 of 127 PageID 15976


     Lucy B. Smith

     Counter Defendant
     Charles A. Starr III               represented by A. Brian Albritton
                                                       Phelps Dunbar, LLP
                                                       Suite 1900
                                                       100 S Ashley Dr
                                                       Tampa, FL 33602−5311
                                                       813−472−7557
                                                       Fax: 813/472−7570
                                                       Email: brian.albritton@phelps.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Eric Robert Pellenbarg
                                                       Feld Entertainment, Inc.
                                                       2001 US Hwy 301
                                                       Palmetto, FL 34221
                                                       813/472−7599
                                                       Fax: 813/472−7570
                                                       Email: epellenbarg@feldinc.com
                                                       TERMINATED: 07/10/2015
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Jason Paul Stearns
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

     Counter Defendant
     Robert Shaw                        represented by Amy Lea Drushal
                                                       (See above for address)
                                                       TERMINATED: 09/06/2013
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Beth A. Cronin
                                                       (See above for address)
                                                       TERMINATED: 09/06/2013
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Dale W. Cravey
                                                       (See above for address)
                                                       TERMINATED: 09/06/2013
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       David Stuart Garbett
                                                       (See above for address)
                                                       LEAD ATTORNEY

                                                                                           15
Case 8:12-cv-01837-EAK-MAP Document 870 Filed 12/12/17 Page 17 of 127 PageID 15977


                                                       ATTORNEY TO BE NOTICED

                                                       Joseph D. Perkins
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

     Counter Defendant
     Gary T. Smith

     Counter Defendant
     G. Todd Smith

     Counter Defendant
     Regions Bank                       represented by Amy Lea Drushal
     an Alabama banking corporation                    (See above for address)
                                                       TERMINATED: 09/06/2013
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Beth A. Cronin
                                                       (See above for address)
                                                       TERMINATED: 09/06/2013
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Dale W. Cravey
                                                       (See above for address)
                                                       TERMINATED: 09/06/2013
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       David Stuart Garbett
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Joseph D. Perkins
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Jonathan H Kaskel
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

     Counter Defendant
     Bridgeview Bank Group              represented by Jason M. Ellison
                                                       (See above for address)
                                                       LEAD ATTORNEY

                                                                                     16
Case 8:12-cv-01837-EAK-MAP Document 870 Filed 12/12/17 Page 18 of 127 PageID 15978


                                                    ATTORNEY TO BE NOTICED

                                                    Brittney Paige Baker
                                                    Ellison and Lazenby, PLLC
                                                    Ste 2000
                                                    200 Central Ave
                                                    St. Petersburg, FL 33701
                                                    727−362−6151
                                                    Fax: 727−362−6131
                                                    Email: bbaker@elattorneys.com
                                                    ATTORNEY TO BE NOTICED

                                                    William Gilbert Lazenby
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

     Cross Claimant
     BNK Smith, LLC                     represented by Donald Grayson Peterson
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                    Ellen B. Newberry
                                                    (See above for address)
                                                    TERMINATED: 07/10/2015
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Floyd S. Yarnell
                                                    (See above for address)
                                                    TERMINATED: 07/10/2015
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Harris B. Katz
                                                    (See above for address)
                                                    TERMINATED: 07/10/2015
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    John Irwin Silverfield
                                                    (See above for address)
                                                    TERMINATED: 04/25/2016
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Jon Douglas Parrish
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Kirt R. Posthuma
                                                                                     17
Case 8:12-cv-01837-EAK-MAP Document 870 Filed 12/12/17 Page 19 of 127 PageID 15979


                                                       (See above for address)
                                                       TERMINATED: 07/10/2015
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Jonathan Michael Weirich
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

     Cross Claimant
     R1A Palms, LLC                        represented by Donald Grayson Peterson
     a Florida limited liability company                  (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                       Ellen B. Newberry
                                                       (See above for address)
                                                       TERMINATED: 07/10/2015
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Floyd S. Yarnell
                                                       (See above for address)
                                                       TERMINATED: 07/10/2015
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Harris B. Katz
                                                       (See above for address)
                                                       TERMINATED: 07/10/2015
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       John Irwin Silverfield
                                                       (See above for address)
                                                       TERMINATED: 04/25/2016
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Jon Douglas Parrish
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Kirt R. Posthuma
                                                       (See above for address)
                                                       TERMINATED: 07/10/2015
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Jonathan Michael Weirich
                                                       (See above for address)
                                                                                     18
Case 8:12-cv-01837-EAK-MAP Document 870 Filed 12/12/17 Page 20 of 127 PageID 15980


                                                      ATTORNEY TO BE NOTICED

     Cross Claimant
     Triple Net Exchange, LLC           represented by Donald Grayson Peterson
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                      Ellen B. Newberry
                                                      (See above for address)
                                                      TERMINATED: 07/10/2015
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Floyd S. Yarnell
                                                      (See above for address)
                                                      TERMINATED: 07/10/2015
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Harris B. Katz
                                                      (See above for address)
                                                      TERMINATED: 07/10/2015
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      John Irwin Silverfield
                                                      (See above for address)
                                                      TERMINATED: 04/25/2016
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Jon Douglas Parrish
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Kirt R. Posthuma
                                                      (See above for address)
                                                      TERMINATED: 07/10/2015
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Jonathan Michael Weirich
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

     Cross Claimant
     MK Investing, LLC                  represented by Donald Grayson Peterson
                                                       (See above for address)
                                                       LEAD ATTORNEY

                                                                                     19
Case 8:12-cv-01837-EAK-MAP Document 870 Filed 12/12/17 Page 21 of 127 PageID 15981


                                                    ATTORNEY TO BE NOTICED

                                                    Ellen B. Newberry
                                                    (See above for address)
                                                    TERMINATED: 07/10/2015
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Floyd S. Yarnell
                                                    (See above for address)
                                                    TERMINATED: 07/10/2015
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Harris B. Katz
                                                    (See above for address)
                                                    TERMINATED: 07/10/2015
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    John Irwin Silverfield
                                                    (See above for address)
                                                    TERMINATED: 04/25/2016
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Jon Douglas Parrish
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Kirt R. Posthuma
                                                    (See above for address)
                                                    TERMINATED: 07/10/2015
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Jonathan Michael Weirich
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

     Cross Claimant
     Marvin I Kaplan                    represented by Donald Grayson Peterson
     an individual                                     (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                    Ellen B. Newberry
                                                    (See above for address)
                                                    TERMINATED: 07/10/2015
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED
                                                                                     20
Case 8:12-cv-01837-EAK-MAP Document 870 Filed 12/12/17 Page 22 of 127 PageID 15982




                                                        Floyd S. Yarnell
                                                        (See above for address)
                                                        TERMINATED: 07/10/2015
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Harris B. Katz
                                                        (See above for address)
                                                        TERMINATED: 07/10/2015
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Jon Douglas Parrish
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Kirt R. Posthuma
                                                        (See above for address)
                                                        TERMINATED: 07/10/2015
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        John Irwin Silverfield
                                                        (See above for address)
                                                        TERMINATED: 04/25/2016
                                                        ATTORNEY TO BE NOTICED

                                                        Jonathan Michael Weirich
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED


     V.
     Cross Defendant
     Wells Fargo, N.A.                      represented by Mark James Ragusa
     a national banking association, as                    (See above for address)
     successor by merger with Wachovia                     LEAD ATTORNEY
     Bank, N.A.                                            ATTORNEY TO BE NOTICED

     Cross Defendant
     Smith Advertising & Associates, Inc.

     Cross Claimant
     Bridgeview Bank Group                  represented by Brittney Paige Baker
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED


                                                                                     21
Case 8:12-cv-01837-EAK-MAP Document 870 Filed 12/12/17 Page 23 of 127 PageID 15983


                                                    Jason M. Ellison
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    William Gilbert Lazenby
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED


     V.
     Cross Defendant
     Marvin I Kaplan                    represented by Donald Grayson Peterson
     an individual                                     (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                    Ellen B. Newberry
                                                    (See above for address)
                                                    TERMINATED: 07/10/2015
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Floyd S. Yarnell
                                                    (See above for address)
                                                    TERMINATED: 07/10/2015
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Harris B. Katz
                                                    (See above for address)
                                                    TERMINATED: 07/10/2015
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Jon Douglas Parrish
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Kirt R. Posthuma
                                                    (See above for address)
                                                    TERMINATED: 07/10/2015
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    John Irwin Silverfield
                                                    (See above for address)
                                                    TERMINATED: 04/25/2016
                                                    ATTORNEY TO BE NOTICED


                                                                                     22
Case 8:12-cv-01837-EAK-MAP Document 870 Filed 12/12/17 Page 24 of 127 PageID 15984


                                                    Jonathan Michael Weirich
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

     Counter Claimant
     Bridgeview Bank Group              represented by Brittney Paige Baker
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                    Jason M. Ellison
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    William Gilbert Lazenby
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED


     V.
     Counter Defendant
     BNK Smith, LLC                     represented by Ellen B. Newberry
                                                       (See above for address)
                                                       TERMINATED: 07/10/2015
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                    Floyd S. Yarnell
                                                    (See above for address)
                                                    TERMINATED: 07/10/2015
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Harris B. Katz
                                                    (See above for address)
                                                    TERMINATED: 07/10/2015
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Jon Douglas Parrish
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Kirt R. Posthuma
                                                    (See above for address)
                                                    TERMINATED: 07/10/2015
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                                                     23
Case 8:12-cv-01837-EAK-MAP Document 870 Filed 12/12/17 Page 25 of 127 PageID 15985


                                                       Jonathan Michael Weirich
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

     Counter Defendant
     MK Investing, LLC                     represented by Ellen B. Newberry
                                                          (See above for address)
                                                          TERMINATED: 07/10/2015
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                       Floyd S. Yarnell
                                                       (See above for address)
                                                       TERMINATED: 07/10/2015
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Harris B. Katz
                                                       (See above for address)
                                                       TERMINATED: 07/10/2015
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Jon Douglas Parrish
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Kirt R. Posthuma
                                                       (See above for address)
                                                       TERMINATED: 07/10/2015
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Jonathan Michael Weirich
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

     Counter Defendant
     R1A Palms, LLC                        represented by Ellen B. Newberry
     a Florida limited liability company                  (See above for address)
                                                          TERMINATED: 07/10/2015
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                       Floyd S. Yarnell
                                                       (See above for address)
                                                       TERMINATED: 07/10/2015
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED


                                                                                     24
Case 8:12-cv-01837-EAK-MAP Document 870 Filed 12/12/17 Page 26 of 127 PageID 15986


                                                    Harris B. Katz
                                                    (See above for address)
                                                    TERMINATED: 07/10/2015
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Jon Douglas Parrish
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Kirt R. Posthuma
                                                    (See above for address)
                                                    TERMINATED: 07/10/2015
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Jonathan Michael Weirich
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

     Counter Defendant
     Triple Net Exchange, LLC           represented by Ellen B. Newberry
                                                       (See above for address)
                                                       TERMINATED: 07/10/2015
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                    Floyd S. Yarnell
                                                    (See above for address)
                                                    TERMINATED: 07/10/2015
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Harris B. Katz
                                                    (See above for address)
                                                    TERMINATED: 07/10/2015
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Jon Douglas Parrish
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Kirt R. Posthuma
                                                    (See above for address)
                                                    TERMINATED: 07/10/2015
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Jonathan Michael Weirich
                                                                                     25
Case 8:12-cv-01837-EAK-MAP Document 870 Filed 12/12/17 Page 27 of 127 PageID 15987


                                                                 (See above for address)
                                                                 ATTORNEY TO BE NOTICED


     Date Filed   #    Page Docket Text
     08/13/2012    1        NOTICE OF REMOVAL from 12th Judicial Circuit, Sarasota County, case
                            number 12−0760−CA−NC filed in State Court on 2/23/12. Filing fee $350,
                            receipt number TPA−12734 filed by Bridgeview Bancorp, Inc.. (Attachments:
                            # 1 Civil Cover Sheet, # 2 State Record pt.1, # 3 State Record pt.2, # 4 State
                            Record pt.3, # 5 State Record pt.4, # 6 State Record pt.5, # 7 State Record pt.6,
                            # 8 State Record pt.7, # 9 State Record pt.8, # 10 State Record pt.9)(EJC)
                            (Entered: 08/16/2012)
     08/13/2012    2        AMENDED COMPLAINT against BNK Smith, LLC, Marvin I Kaplan,
                            Lighthouse Pointe, LLC, MK Investing, LLC, R1A Palms, LLC, Smith
                            Advertising & Associates, Inc., Triple Net Exchange, LLC, Wells Fargo, N.A.
                            filed by Regions Bank. (Attachments: # 1 Exhibit A)(EJC) (Entered:
                            08/16/2012)
     08/13/2012    3        COUNTERCLAIM against Bridgeview Bancorp, Inc., Regions Bank, Robert
                            Shaw, G. Todd Smith, Gary T. Smith, Lucy B. Smith, Smith Advertising &
                            Associates, Inc., Charles A. Starr III, The Florida Bankers Association, Inc.,
                            Wells Fargo, N.A. filed by BNK Smith, LLC, R1A Palms, LLC, Triple Net
                            Exchange, LLC, MK Investing, LLC, Marvin I Kaplan. (Attachments: # 1
                            Exhibit 1, # 2 Exhibit 2)(EJC) (Entered: 08/16/2012)
     08/13/2012    4        MOTION for extension of time to file answer or otherwise plead re 2
                            Amended complaint by Marvin I Kaplan, Lighthouse Pointe, LLC, R1A
                            Palms, LLC. Motion filed in State Court on 3/9/12.(EJC) (Entered:
                            08/16/2012)
     08/13/2012    5        MOTION to dismiss amended complaint, MOTION for sanctions by BNK
                            Smith, LLC, Marvin I Kaplan, Lighthouse Pointe, LLC, MK Investing, LLC,
                            R1A Palms, LLC, Triple Net Exchange, LLC. Motion filed in State Court on
                            3/29/12.(EJC) (Entered: 08/16/2012)
     08/13/2012    6        MOTION to dismiss counts XIX, XX, and XXI of the counterclaim by
                            Regions Bank. Motion filed in State Court on 6/22/12. (EJC) (Entered:
                            08/16/2012)
     08/13/2012    7        MOTION for extension of time to file response/reply to Answer to Writ of
                            Garnishment by Regions Bank. Motion filed in State Court on 7/19/12. (EJC)
                            Motions referred to Magistrate Judge Mark A. Pizzo. (Entered: 08/16/2012)
     08/13/2012    8        MOTION for extension of time to file answer or otherwise plead re 3
                            Counterclaim by Robert Shaw. Motion filed in State Court on 8/13/12. (EJC)
                            (Entered: 08/16/2012)
     08/16/2012    9        ORDER OF RECUSAL. Judge James S. Moody, Jr recused. Clerk shall
                            reassign the case. Signed by Judge James S. Moody, Jr on 8/16/2012. (LN)
                            (Entered: 08/16/2012)
     08/16/2012   10        NOTICE by Bridgeview Bancorp, Inc. re 1 Notice of removal Supplement to
                            Notice of Removal (Attachments: # 1 Supplement Notice of Appearance, # 2
                            Supplement Wells Fargo, N.A.'s Motion for Enlargement of Time)(Lazenby,
                                                                                                                26
Case 8:12-cv-01837-EAK-MAP Document 870 Filed 12/12/17 Page 28 of 127 PageID 15988



                         William) (Entered: 08/16/2012)
     08/16/2012   11     NOTICE of Appearance by Michael Byrley Colgan on behalf of The Florida
                         Bankers Association, Inc. (Colgan, Michael) (Entered: 08/16/2012)
     08/17/2012   12     Case Reassigned to Judge Steven D. Merryday. New case number:
                         8:12−cv−1837−T−23MAP. (EJC) (Entered: 08/17/2012)
     08/17/2012   13     NOTICE to counsel of new case number and judge assignment (signed by
                         deputy clerk). New case number 8:12−cv−1837−T−23MAP. (EJC) (Entered:
                         08/17/2012)
     08/17/2012   14     MOTION for extension of time to file response/reply as to 3 Counterclaim by
                         Wells Fargo, N.A.. Motion filed in State Court on 8/14/12(EJC) Motions
                         referred to Magistrate Judge Mark A. Pizzo. (Entered: 08/17/2012)
     08/18/2012   15     NOTICE of Appearance by Joseph D. Perkins on behalf of Regions Bank,
                         Robert Shaw (Perkins, Joseph) (Entered: 08/18/2012)
     08/18/2012   16     NOTICE of Appearance by David Stuart Garbett on behalf of Regions Bank,
                         Robert Shaw (Garbett, David) (Entered: 08/18/2012)
     08/20/2012   17     Unopposed MOTION for extension of time to file response/reply as to 3
                         Counterclaim and Crossclaims by The Florida Bankers Association, Inc..
                         (Colgan, Michael) Motions referred to Magistrate Judge Mark A. Pizzo.
                         (Entered: 08/20/2012)
     08/20/2012   18     ORDER OF RECUSAL signed by Judge Steven D. Merryday. Signed by
                         Judge Steven D. Merryday on 8/20/2012. (TKD) (Entered: 08/20/2012)
     08/20/2012   19     MOTION to Dismiss for Lack of Jurisdiction by Bridgeview Bancorp, Inc..
                         (Attachments: # 1 Affidavit in Support of Motion to Dismiss)(Lazenby,
                         William) (Entered: 08/20/2012)
     08/21/2012   20     Unopposed MOTION for extension of time to file answer or otherwise plead
                         re 3 Counterclaim by Robert Shaw. (Perkins, Joseph) (Entered: 08/21/2012)
     08/22/2012   21     Case reassigned to Judge Elizabeth A. Kovachevich. New case number:
                         8:12−cv−1837−T−17MAP. (JNB) (Entered: 08/22/2012)
     08/22/2012   22     Unopposed MOTION for extension of time to file answer or otherwise plead
                         re 3 Counterclaim by Charles A. Starr III. (Pellenbarg, Eric) (Entered:
                         08/22/2012)
     08/22/2012   23     ENDORSED ORDER granting 22 Unopposed Motion for extension of time to
                         answer or respond. Charles A. Starr III answer due 9/5/2012. Signed by Judge
                         Elizabeth A. Kovachevich on 8/22/2012. (JM) (Entered: 08/22/2012)
     08/22/2012   24     ENDORSED ORDER granting 20 Unopposed Motion for extension of time to
                         answer or respond. Robert Shaw answer due 9/13/2012. Signed by Judge
                         Elizabeth A. Kovachevich on 8/22/2012. (JM) (Entered: 08/22/2012)
     08/22/2012   25     ENDORSED ORDER granting 17 Unopposed Motion for extension of time to
                         file response/reply to Counterclaim and Crossclaim by Florida Bankers
                         Association, Inc. Responses due by 9/21/2012. Signed by Judge Elizabeth A.
                         Kovachevich on 8/22/2012. (JM) (Entered: 08/22/2012)


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     08/22/2012   26     ENDORSED ORDER denying as moot 8 Motion for extension of time to
                         answer or respond to Counterclaim by Robert Shaw. Signed by Judge
                         Elizabeth A. Kovachevich on 8/22/2012. (JM) (Entered: 08/22/2012)
     08/22/2012   27     ENDORSED ORDER granting 14 Motion for extension of time to file
                         response/reply to Counterclaim by Wells Fargo, N.A. Responses due by
                         9/13/2012. Signed by Judge Elizabeth A. Kovachevich on 8/22/2012. (JM)
                         (Entered: 08/22/2012)
     08/24/2012   28     MOTION for extension of time to file an answer or otherwise plead by BNK
                         Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple
                         Net Exchange, LLC. (Parrish, Jon) re: 3 COUNTERCLAIM. Modified text
                         **wrong event code used** on 8/27/2012 (RFK). (Entered: 08/24/2012)
     08/25/2012   29     NOTICE by Regions Bank, Robert Shaw re 1 Notice of removal Consent to
                         Removal (Perkins, Joseph) (Entered: 08/25/2012)
     08/27/2012   30     NOTICE by Charles A. Starr III re 1 Notice of removal Consent to Removal
                         (Pellenbarg, Eric) (Entered: 08/27/2012)
     08/28/2012   31     NOTICE by Wells Fargo, N.A. re 1 Notice of removal Consent to Notice of
                         Removal (Ragusa, Mark) (Entered: 08/28/2012)
     08/29/2012   32     NOTICE of Appearance by Rachel K. Jones on behalf of The Florida Bankers
                         Association, Inc. (Jones, Rachel) (Entered: 08/29/2012)
     08/29/2012   33     NOTICE by The Florida Bankers Association, Inc. re 1 Notice of removal
                         (Jones, Rachel) (Entered: 08/29/2012)
     08/31/2012   34     NOTICE of designation under Local Rule 3.05 − track 2 (CLM) (Entered:
                         08/31/2012)
     08/31/2012   35     RESPONSE to motion re 28 MOTION for extension of time to file
                         response/reply [UNOPPOSED BY ALL COUNSEL EXCEPT BRIDGEVIEW
                         BANCORP'S COUNSEL] MOTION for extension of time to file
                         response/reply [UNOPPOSED BY ALL COUNSEL EXCEPT BRIDGEVIEW
                         BANCORP'S COUNSEL] filed by Bridgeview Bancorp, Inc.. (Lazenby,
                         William) (Entered: 08/31/2012)
     09/05/2012   36     MOTION to dismiss Crossclaims by Charles A. Starr III. (Attachments: # 1
                         Exhibit A)(Pellenbarg, Eric) (Entered: 09/05/2012)
     09/10/2012   37     Amended MOTION to dismiss Counts XIX,XX & XXI of Counterclaim by
                         Regions Bank. (Garbett, David) (Entered: 09/10/2012)
     09/10/2012   38     MOTION to dismiss Counts XIX, XX of Counterclaim and Joinder in RB's
                         Amended Motion to Dismiss Counterclaim by Robert Shaw. (Garbett, David)
                         (Entered: 09/10/2012)
     09/11/2012   39     NOTICE of Appearance by A. Brian Albritton on behalf of Charles A. Starr
                         III (Albritton, A.) (Entered: 09/11/2012)
     09/13/2012   40     MOTION to dismiss Crossclaim Plaintiffs' Crossclaims by Wells Fargo, N.A..
                         (Ragusa, Mark) (Entered: 09/13/2012)
     09/13/2012   41     MOTION to dismiss Crossclaim Plaintiffs' Crossclaims by Wells Fargo, N.A..
                         (Ragusa, Mark) (Entered: 09/13/2012)

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     09/21/2012   42     MOTION to dismiss Cross−claim (Counts XIX and XX) of Kaplan Parties by
                         The Florida Bankers Association, Inc.. (Colgan, Michael) (Entered:
                         09/21/2012)
     09/27/2012   43     MOTION to extend time to Serve Counterclaim and Crossclaims by BNK
                         Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple
                         Net Exchange, LLC. (Attachments: # 1 Exhibit A)(Parrish, Jon) (Entered:
                         09/27/2012)
     10/03/2012   44     MOTION for extension of time to file response/reply as to 35 Response to
                         motion − Renewed Motion for Extension of Time of 20 Days from Last Filing
                         of Opposing Parties to Counter−Claim/Cross−Claim for
                         Counter−Claimants/Cross−Claimants to Respond − by BNK Smith, LLC,
                         Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Attachments: # 1 Exhibit Affidavit of Arthur J. Sands and
                         biObex)(Yarnell, Floyd) Motions referred to Magistrate Judge Mark A. Pizzo.
                         (Entered: 10/03/2012)
     10/03/2012   45     NOTICE by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC re 43 MOTION to extend time to
                         Serve Counterclaim and Crossclaims − Notice of Supplemental Filing of
                         "Exhibit A" to Motion for Extension of Time to Effect Service of Process −
                         (Attachments: # 1 Exhibit Affidavit of Arthur J. Sands and BiOPbex)(Yarnell,
                         Floyd) (Entered: 10/03/2012)
     10/09/2012   46     ENDORSED ORDER granting 4 Motion for extension of time to answer or
                         respond. Marvin I Kaplan answer due 3/29/2012; Lighthouse Pointe, LLC
                         answer due 3/29/2012; R1A Palms, LLC answer due 3/29/2012, nunc pro tunc
                         3/9/2012. Signed by Judge Elizabeth A. Kovachevich on 10/9/2012 (JM)
                         (Entered: 10/09/2012)
     10/09/2012   47     ENDORSED ORDER granting 7 Motion for extension of time to file
                         response/reply to Answer to Writ of Garnishment. Responses due by 8/7/2012,
                         nunc pro tunc 7/19/2012. Signed by Judge Elizabeth A. Kovachevich on
                         10/9/2012. (JM) (Entered: 10/09/2012)
     10/09/2012   48     ENDORSED ORDER denying as moot 6 Motion to dismiss Counts XIX, XX
                         and XXI of Counterclaim; an amended motion was filed (Dkt. 37). Signed by
                         Judge Elizabeth A. Kovachevich on 10/9/2012. (JM) (Entered: 10/09/2012)
     10/09/2012   49     ENDORSED ORDER denying 28 Motion for extension of time to file
                         response/reply, and directing that responses to pending motions be filed within
                         fourteen days. Signed by Judge Elizabeth A. Kovachevich on 10/9/2012. (JM)
                         (Entered: 10/09/2012)
     10/09/2012   50     ENDORSED ORDER granting 43 Motion to extend time to serve
                         Counterclaim and Crossclaims on G. Todd Smith for 120 days from the date of
                         this Order. Signed by Judge Elizabeth A. Kovachevich on 10/9/2012. (JM)
                         (Entered: 10/09/2012)
     10/09/2012   51     ENDORSED ORDER denying 44 Motion for extension of time to file
                         response/reply, and directing that responses to pending motions to dismiss be
                         filed within fourteen days. Signed by Judge Elizabeth A. Kovachevich on
                         10/9/2012. (JM) (Entered: 10/09/2012)


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     10/23/2012   52     RESPONSE in opposition re 38 MOTION to dismiss Counts XIX, XX of
                         Counterclaim and Joinder in RB's Amended Motion to Dismiss Counterclaim,
                         37 Amended MOTION to dismiss Counts XIX,XX & XXI of Counterclaim
                         filed by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms,
                         LLC, Triple Net Exchange, LLC. (Parrish, Jon) (Entered: 10/23/2012)
     10/23/2012   53     RESPONSE in opposition re 19 MOTION to Dismiss for Lack of Jurisdiction
                         filed by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms,
                         LLC, Triple Net Exchange, LLC. (Parrish, Jon) (Entered: 10/23/2012)
     10/23/2012   54     RESPONSE in opposition re 42 MOTION to dismiss Cross−claim (Counts
                         XIX and XX) of Kaplan Parties filed by BNK Smith, LLC, Marvin I Kaplan,
                         MK Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Parrish,
                         Jon) (Entered: 10/23/2012)
     10/23/2012   55     RESPONSE in opposition re 36 MOTION to dismiss Crossclaims by Charles
                         Larry Starr filed by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC,
                         R1A Palms, LLC, Triple Net Exchange, LLC. (Parrish, Jon) (Entered:
                         10/23/2012)
     10/23/2012   56     RESPONSE to motion re 41 MOTION to dismiss Crossclaim Plaintiffs'
                         Crossclaims, 40 MOTION to dismiss Crossclaim Plaintiffs' Crossclaims or, in
                         the Alternative, To Strike Crossclaims or, in the Alternative, for More Definite
                         Statement and Accompanying Memorandum of Law filed by BNK Smith,
                         LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Parrish, Jon) (Entered: 10/23/2012)
     10/25/2012   57     NOTICE of unavailability of counsel byRegions Bank, Robert Shaw from
                         November 1, 2012 to December 2, 2012. (Perkins, Joseph) (Entered:
                         10/25/2012)
     10/29/2012   58     MOTION for leave to file Reply Memorandum in Support of Motion to
                         Dismiss by Regions Bank, Robert Shaw. (Perkins, Joseph) (Entered:
                         10/29/2012)
     11/01/2012   59     MOTION for leave to file Reply Memorandum in Support of His Motion to
                         Dismiss Crossclaims by Charles A. Starr III. (Pellenbarg, Eric) (Entered:
                         11/01/2012)
     11/01/2012   60     ENDORSED ORDER granting 58 Motion for leave to file Reply (5 pages).
                         Signed by Judge Elizabeth A. Kovachevich on 11/1/2012. (JM) (Entered:
                         11/01/2012)
     11/01/2012   61     ENDORSED ORDER granting 59 Motion for leave to file Reply (6 pages).
                         Signed by Judge Elizabeth A. Kovachevich on 11/1/2012. (JM) (Entered:
                         11/01/2012)
     11/01/2012   62     MEMORANDUM in support re 38 Motion to dismiss, 37 Motion to dismiss
                         Counts XIX, XX and XXI of Counterclaim/Cross−Claim filed by Regions
                         Bank, Robert Shaw. (Garbett, David) (Entered: 11/01/2012)
     11/09/2012   63     REPLY to response to motion re 36 MOTION to dismiss Crossclaims filed by
                         Charles A. Starr III. (Pellenbarg, Eric) (Entered: 11/09/2012)
     12/04/2012   64     TERMINATED. CASE MANAGEMENT REPORT. (Perkins, Joseph)
                         NOTE: Counsel filed amended CMR at Dkt. 65. Modified on 12/5/2012 (LD).

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                         (Entered: 12/04/2012)
     12/05/2012   65     AMENDED CASE MANAGEMENT REPORT. (Perkins, Joseph) Modified
                         on 12/5/2012 (LD). (Entered: 12/05/2012)
     12/14/2012   66     MOTION to compel by Bridgeview Bancorp, Inc.. (Ellison, Jason) Motions
                         referred to Magistrate Judge Mark A. Pizzo. (Entered: 12/14/2012)
     12/28/2012   67     Unopposed MOTION for extension of time to file response/reply as to 66
                         MOTION to compel by BNK Smith, LLC, Marvin I Kaplan, MK Investing,
                         LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Parrish, Jon) Motions
                         referred to Magistrate Judge Mark A. Pizzo. (Entered: 12/28/2012)
     01/02/2013   68     ORDER granting 67 Motion for extension of time to file response/reply
                         MOTION to compel Responses due by 1/11/2013. Signed by Magistrate Judge
                         Mark A. Pizzo on 1/2/2013. (SSW) (Entered: 01/02/2013)
     01/11/2013   69     MEMORANDUM in opposition re 66 Motion to compel filed by BNK Smith,
                         LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Attachments: # 1 Main Document Cross Defendants Motion
                         to Compel)(Parrish, Jon) (Entered: 01/11/2013)
     01/17/2013   70     ORDER granting in part and denying in part 66 Motion to compel.. Signed by
                         Magistrate Judge Mark A. Pizzo on 1/17/2013. (SSW) (Entered: 01/17/2013)
     01/25/2013   71     MOTION to extend time to Serve Initial Disclosures by BNK Smith, LLC,
                         Marvin I Kaplan, Lighthouse Pointe, LLC, MK Investing, LLC, R1A Palms,
                         LLC, Triple Net Exchange, LLC. (Parrish, Jon) (Entered: 01/25/2013)
     02/06/2013   72     MOTION to extend time to Serve Counterclaim and Crossclaims by BNK
                         Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple
                         Net Exchange, LLC. (Attachments: # 1 Exhibit Composite A)(Parrish, Jon)
                         (Entered: 02/06/2013)
     02/07/2013   73     MOTION to stay discovery Until Court Resolves His Dispositive Motion to
                         Dismiss by Charles A. Starr III. (Attachments: # 1 Exhibit Composite Exhibit
                         A)(Pellenbarg, Eric) Motions referred to Magistrate Judge Mark A. Pizzo.
                         (Entered: 02/07/2013)
     02/11/2013   74     MOTION for leave to file Additional Interrogatories on Cross−Plaintiff by
                         Bridgeview Bancorp, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit
                         B)(Lazenby, William) (Entered: 02/11/2013)
     02/14/2013   75     Joint MOTION for Hearing Status/Pretrial Conference by Bridgeview
                         Bancorp, Inc.. (Ellison, Jason) (Entered: 02/14/2013)
     02/21/2013   76     NOTICE by Bridgeview Bancorp, Inc. re 19 MOTION to Dismiss for Lack of
                         Jurisdiction (Ellison, Jason) (Entered: 02/21/2013)
     02/21/2013   77     RESPONSE in Opposition re 73 MOTION to stay discovery Until Court
                         Resolves His Dispositive Motion to Dismiss filed by BNK Smith, LLC, Marvin
                         I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC.
                         (Parrish, Jon) (Entered: 02/21/2013)
     02/22/2013          Motions no longer referred: 73 MOTION to stay discovery Until Court
                         Resolves His Dispositive Motion to Dismiss (At the request from Chambers)
                         (VCG) (Entered: 02/22/2013)
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     02/25/2013   78     RESPONSE in Opposition re 74 MOTION for leave to file Additional
                         Interrogatories on Cross−Plaintiff filed by BNK Smith, LLC, Marvin I Kaplan,
                         MK Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Parrish,
                         Jon) (Entered: 02/25/2013)
     02/26/2013   79     MOTION for leave to file Reply by Bridgeview Bancorp, Inc.. (Ellison, Jason)
                         (Entered: 02/26/2013)
     02/28/2013   80     RESPONSE in Opposition re 75 Joint MOTION for Hearing Status/Pretrial
                         Conference filed by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC,
                         R1A Palms, LLC, Triple Net Exchange, LLC. (Newberry, Ellen) (Entered:
                         02/28/2013)
     03/08/2013   81     Consent MOTION for protective order regarding confidential information by
                         Regions Bank, Robert Shaw. (Attachments: # 1 Text of Proposed Order
                         Agreed Protective Order Regarding Confidential Information)(Perkins,
                         Joseph) Motions referred to Magistrate Judge Mark A. Pizzo. (Entered:
                         03/08/2013)
     03/13/2013   82     ORDER denying without prejudice 81 Motion for Protective Order. The
                         parties may submit an amended protective order.. Signed by Magistrate Judge
                         Mark A. Pizzo on 3/13/2013. (SSW) (Entered: 03/13/2013)
     03/19/2013   83     Consent MOTION for protective order by Regions Bank, Robert Shaw.
                         (Attachments: # 1 Text of Proposed Order)(Perkins, Joseph) Motions referred
                         to Magistrate Judge Mark A. Pizzo. (Entered: 03/19/2013)
     03/22/2013   84     ORDER granting in part and denying in part 19 Motion to dismiss for lack of
                         jurisdiction; granting 36 motion to dismiss; granting 37 motion to dismiss;
                         granting 38 motion to dismiss; granting in part and denying in part 41 motion
                         to dismiss; granting 42 motion to dismiss. See Order for details. Signed by
                         Judge Elizabeth A. Kovachevich on 3/22/2013. (Attachments: # 1 Main
                         Document) (JM) (Entered: 03/22/2013)
     03/22/2013   85     ENDORSED ORDER denying as moot 5 motion to dismiss; denying as moot
                         5 Motion for Sanctions; an amended motion was filed (Dkt. 37).. Signed by
                         Judge Elizabeth A. Kovachevich on 3/22/2013. (JM) (Entered: 03/22/2013)
     03/22/2013   86     ENDORSED ORDER denying as moot 73 Motion to stay discovery. Signed
                         by Judge Elizabeth A. Kovachevich on 3/22/2013. (JM) (Entered: 03/22/2013)
     03/22/2013   87     ENDORSED ORDER granting 71 Motion to extend time to serve initial
                         disclosures to 2/8/2013, nunc pro tunc. Signed by Judge Elizabeth A.
                         Kovachevich on 3/22/2013. (JM) (Entered: 03/22/2013)
     03/22/2013   88     ENDORSED ORDER granting in part and denying in part 72 Motion to
                         extend time for service on G. Todd Smith; granting an extension of time until
                         30 days from the date of this Order. Signed by Judge Elizabeth A.
                         Kovachevich on 3/22/2013. (JM) (Entered: 03/22/2013)
     03/25/2013   89     MOTION to Compel Kaplan Parties to Comply with Rule 26(a)(1) , MOTION
                         for Attorney Fees , MOTION for sanctions by Regions Bank. (Attachments: #
                         1 Exhibit A) Kaplan Parties' Initial Disclosures)(Perkins, Joseph) Motions
                         referred to Magistrate Judge Mark A. Pizzo. (Entered: 03/25/2013)
     03/27/2013   90

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                         ENDORSED ORDER granting 83 Motion for Protective Order.. Signed by
                         Magistrate Judge Mark A. Pizzo on 3/27/2013. (SSW) (Entered: 03/27/2013)
     03/29/2013    91    NOTICE of change of address by Mark James Ragusa (Ragusa, Mark)
                         (Entered: 03/29/2013)
     04/01/2013    92    MOTION for entry of clerk's default against Gary T. Smith, Lucy B. Smith,
                         and Smith Advertising & Associates, Inc. by BNK Smith, LLC, R1A Palms,
                         LLC, Triple Net Exchange, LLC, MK Investing, LLC, Marvin I Kaplan.
                         (Parrish, Jon) Motions referred to Magistrate Judge Mark A. Pizzo. Modified
                         on 4/17/2013 to edit text (VCG). (Entered: 04/01/2013)
     04/04/2013    93    Amended COUNTERCLAIM against The Florida Bankers Association, Inc.,
                         Bridgeview Bancorp, Inc., Lucy B. Smith, Charles A. Starr III, Robert Shaw,
                         Gary T. Smith, Wells Fargo, N.A., G. Todd Smith, Regions Bank, Smith
                         Advertising & Associates, Inc., Amended CROSSCLAIM against The Florida
                         Bankers Association, Inc., Bridgeview Bancorp, Inc., Lucy B. Smith, Charles
                         A. Starr III, Robert Shaw, Gary T. Smith, Wells Fargo, N.A., G. Todd Smith,
                         Regions Bank, Smith Advertising & Associates, Inc. filed by BNK Smith,
                         LLC, R1A Palms, LLC, Triple Net Exchange, LLC, MK Investing, LLC,
                         Marvin I Kaplan. (Attachments: # 1 Exhibit Exhibits 1−72)(Parrish, Jon)
                         (Entered: 04/04/2013)
     04/08/2013    94    RESPONSE in Opposition re 89 MOTION to Compel Kaplan Parties to
                         Comply with Rule 26(a)(1) MOTION for Attorney Fees MOTION for
                         sanctions filed by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC,
                         R1A Palms, LLC, Triple Net Exchange, LLC. (Parrish, Jon) (Entered:
                         04/08/2013)
     04/09/2013    95    NOTICE of Appearance by Jason M. Ellison on behalf of Bridgeview Bank
                         Group (Ellison, Jason) (Entered: 04/09/2013)
     04/12/2013    96    Unopposed MOTION for Extension of Time to File Response/Reply as to 93
                         CounterclaimCrossclaim by Charles A. Starr III. (Pellenbarg, Eric) Motions
                         referred to Magistrate Judge Mark A. Pizzo. (Entered: 04/12/2013)
     04/15/2013    97    MOTION for leave to file Additional Interrogatories on Cross−Plaintiff by
                         Bridgeview Bank Group. (Ellison, Jason) (Entered: 04/15/2013)
     04/17/2013    98    ENDORSED ORDER granting 96 Starr's Unopposed Motion for Extension of
                         Time to File Response/Reply to Amended Crossclaim. Responses due by
                         5/2/2013. Signed by Judge Elizabeth A. Kovachevich on 4/17/2013. (JM)
                         (Entered: 04/17/2013)
     04/18/2013    99    MOTION to Strike 93 CounterclaimCrossclaim and Alternative Motion to
                         Dismiss Counts XIX and XX by The Florida Bankers Association, Inc..
                         (Colgan, Michael) Motions referred to Magistrate Judge Mark A. Pizzo.
                         (Entered: 04/18/2013)
     04/18/2013   100    MOTION to Dismiss Amended Crossclaims or Motion to Strike Crossclaims
                         or For More Definite Statement by Wells Fargo, N.A.. (Ragusa, Mark)
                         (Entered: 04/18/2013)
     04/18/2013   101    (TERMINATED) MOTION to Dismiss Amended Negligence / Negligent
                         Misrepresentation Claims , MOTION to dismiss case as frivolous , MOTION
                         to dismiss for failure to state a claim , MOTION to Strike 93
                                                                                                       33
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                         CounterclaimCrossclaim , MOTION for sanctions Against Kaplan Parties and
                         Counsel by Regions Bank, Robert Shaw. (Perkins, Joseph) Motions referred to
                         Magistrate Judge Mark A. Pizzo. (Modified on 4/29/2013 to indicate that
                         counsel has re−filed a corrected motion at entry no. 102 ). (AG) (Entered:
                         04/18/2013)
     04/19/2013   102    MOTION to Strike 93 Counterclaim Crossclaim Correcting DE 101 by
                         Regions Bank, Robert Shaw. (Garbett, David) Motions referred to Magistrate
                         Judge Mark A. Pizzo. Modified on 11/28/2017 (LD). (Entered: 04/19/2013)
     04/19/2013   103    {TERMINATED}MOTION to extend time to July 22, 2013 by BNK Smith,
                         LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4
                         Exhibit)(Newberry, Ellen) Modified on 4/22/2013 Incorrect Log−in used;
                         Contacted Counsel; Counsel to re−file (VCG). (Entered: 04/19/2013)
     04/22/2013   104    Second MOTION to extend time to July 22, 2013 by BNK Smith, LLC,
                         Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                         Exhibit D)(Parrish, Jon) (Entered: 04/22/2013)
     04/26/2013   105    First MOTION to Take Deposition from Lucy Smith and Gary Smith by BNK
                         Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple
                         Net Exchange, LLC. (Parrish, Jon) Motions referred to Magistrate Judge Mark
                         A. Pizzo. (Entered: 04/26/2013)
     04/26/2013   106    MOTION to Dismiss Marvin Kaplan, et al's Amended Counterclaims and
                         Crossclaims against BBG by Bridgeview Bank Group. (Lazenby, William)
                         (Entered: 04/26/2013)
     04/29/2013   107    RESPONSE re 97 MOTION for leave to file Additional Interrogatories on
                         Cross−Plaintiff Response in Opposition to Bridgeview Bank Group's Motion
                         for Leave to File Additional Interrogatories by BNK Smith, LLC, Marvin I
                         Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC.
                         (Attachments: # 1 Exhibit Exhibit A, # 2 Exhibit Exhibit B)(Newberry, Ellen)
                         Modified on 5/2/2013 Contacted Counsel;Counsel instructed to use correct
                         attorney log−in for future filings (VCG). (Entered: 04/29/2013)
     04/30/2013   108    Second MOTION for Extension of Time to File Response/Reply as to 93
                         CounterclaimCrossclaim (Unopposed) by Charles A. Starr III. (Pellenbarg,
                         Eric) Motions referred to Magistrate Judge Mark A. Pizzo. (Entered:
                         04/30/2013)
     05/01/2013   109    RESPONSE to Motion re 105 First MOTION to Take Deposition from Lucy
                         Smith and Gary Smith filed by Bridgeview Bank Group. (Lazenby, William)
                         (Entered: 05/01/2013)
     05/02/2013   110    RESPONSE to Motion re 99 MOTION to Strike 93 CounterclaimCrossclaim
                         and Alternative Motion to Dismiss Counts XIX and XX filed by BNK Smith,
                         LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Attachments: # 1 Exhibit A)(Parrish, Jon) (Entered:
                         05/02/2013)
     05/02/2013   111    MOTION for Extension of Time to File Response/Reply as to 102 MOTION
                         to Strike 93 CounterclaimCrossclaim Correcting DE 101, 106 MOTION to

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                         Dismiss Marvin Kaplan, et al's Amended Counterclaims and Crossclaims
                         against BBG , 100 MOTION to Dismiss Amended Crossclaims or Motion to
                         Strike Crossclaims or For More Definite Statement by BNK Smith, LLC,
                         Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Parrish, Jon) Motions referred to Magistrate Judge Mark A.
                         Pizzo. (Entered: 05/02/2013)
     05/03/2013   112    ENDORSED ORDER granting 111 Motion for Extension of Time to File
                         Response/Reply re 102 MOTION to Strike 93 CounterclaimCrossclaim
                         Correcting DE 101, 100 MOTION to Dismiss Amended Crossclaims or
                         Motion to Strike Crossclaims or For More Definite Statement, 106 MOTION
                         to Dismiss Marvin Kaplan, et al's Amended Counterclaims and Crossclaims
                         against BBG. Responses to docs. 100, 102, and 106 are due by 5/22/2013.
                         Signed by Magistrate Judge Mark A. Pizzo on 5/3/2013. (SSW) (Entered:
                         05/03/2013)
     05/03/2013   113    ORDER denying 97 Motion for Leave to File additional interrogatories..
                         Signed by Magistrate Judge Mark A. Pizzo on 5/3/2013. (SSW) (Entered:
                         05/03/2013)
     05/03/2013   114    ENDORSED ORDER granting 108 Motion for Extension of Time to File
                         Response/Reply. Cross−Defendant Charles L. Starr's response to the amended
                         cross−claim (doc. 93) is due May 16, 2013.. Signed by Magistrate Judge Mark
                         A. Pizzo on 5/3/2013. (SSW) (Entered: 05/03/2013)
     05/06/2013   115    RESPONSE to Motion re 105 First MOTION to Take Deposition from Lucy
                         Smith and Gary Smith filed by Regions Bank, Robert Shaw. (Perkins, Joseph)
                         (Entered: 05/06/2013)
     05/07/2013   116    ORDER granting 89 Motion to Compel Kaplan Parties to Comply with Rule
                         26(a)(1); denying 89 Motion for Attorney Fees; denying 89 Motion for
                         Sanctions. Signed by Magistrate Judge Mark A. Pizzo on 5/7/2013. (SSW)
                         (Entered: 05/07/2013)
     05/09/2013   117    RESPONSE to Motion re 105 First MOTION to Take Deposition from Lucy
                         Smith and Gary Smith filed by Wells Fargo, N.A.. (Ragusa, Mark) (Entered:
                         05/09/2013)
     05/16/2013   118    ORDER granting 105 Motion to Take Deposition of Lucy and Gary Smith.
                         Signed by Magistrate Judge Mark A. Pizzo on 5/16/2013. (SSW) (Entered:
                         05/16/2013)
     05/22/2013   119    MOTION for sanctions Under Rule 11 Against Kaplan Parties and Their
                         Counsel by Regions Bank, Robert Shaw. (Perkins, Joseph) (Entered:
                         05/22/2013)
     05/22/2013   120    MOTION for Extension of Time to File Response/Reply to (1) Region's and
                         Shaw's Corrected Motion to Strike Re−Pled Defamation and Invasion of
                         Privacy Claims, To Strike and Dismiss Amended Negligence/Negligent
                         Misrepresentation Claims and For Sanctions Against Kaplan Parties and
                         Counsel, and (2) Wells Fargo Bank, N.A.'s Motion to Dismiss Amended
                         Crossclaims or, in the Alternative, to Strike Crossclaims or, in the Alternative,
                         for More Definite Statement by BNK Smith, LLC, Marvin I Kaplan, MK
                         Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Parrish, Jon)
                         Motions referred to Magistrate Judge Mark A. Pizzo. (Entered: 05/22/2013)

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     05/22/2013   121    RESPONSE to Motion re 106 MOTION to Dismiss Marvin Kaplan, et al's
                         Amended Counterclaims and Crossclaims against BBG Counter−Claimant
                         Marvin Kaplan, R1A Palms, LLC, Triple Net Exchange, LLC, MK Investing,
                         LLC and BNK Smith, LLC's Combined Response to Bridgeview Bank Group's
                         Motion to Dismiss Amended Counterclaim filed by BNK Smith, LLC, Marvin
                         I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC.
                         (Parrish, Jon) Modified on 5/23/2013 DOCUMENT TERMINATED, refiled
                         complete document at 122 Response (BES). (Entered: 05/22/2013)
     05/22/2013   122    RESPONSE to Motion re 106 MOTION to Dismiss Marvin Kaplan, et al's
                         Amended Counterclaims and Crossclaims against BBG Counter−Claimant
                         Marvin Kaplan, R1A Palms, LLC, Triple Net Exchange, LLC, MK Investing,
                         LLC and BNK Smith, LLC's Combined Response to Bridgeview Bank Group's
                         Motion to Dismiss Amended Counterclaim filed by BNK Smith, LLC, Marvin
                         I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC.
                         (Parrish, Jon) (Entered: 05/22/2013)
     05/22/2013   123    MOTION to Dismiss Crossclaim Plaintiff's Amended Crossclaims (D.E. 93)
                         by Charles A. Starr III. (Pellenbarg, Eric) (Entered: 05/22/2013)
     05/24/2013   124    RESPONSE in Opposition re 120 MOTION for Extension of Time to File
                         Response/Reply to (1) Region's and Shaw's Corrected Motion to Strike
                         Re−Pled Defamation and Invasion of Privacy Claims, To Strike and Dismiss
                         Amended Negligence/Negligent Misrepresentation Claims and filed by
                         Regions Bank, Robert Shaw. (Perkins, Joseph) (Entered: 05/24/2013)
     05/24/2013   125    ENDORSED ORDER granting 120 Motion for Extension of Time to File
                         Response/Reply. Signed by Magistrate Judge Mark A. Pizzo on 5/24/2013.
                         (SSW) (Entered: 05/24/2013)
     05/31/2013   126    MOTION for leave to file Reply to COUNTER−CLAIMANT MARVIN
                         KAPLAN, R1A PALMS, LLC, TRIPLE NET EXCHANGE, LLC, MK
                         INVESTING, LLC AND BNK SMITH LLC'S COMBINED RESPONSE to
                         BRIDGEVIEW BANK GROUP'S MOTION TO DIMSISS AMENDED
                         COUNTERCLAIM [DKT. 121] by Bridgeview Bank Group. (Ellison, Jason)
                         (Entered: 05/31/2013)
     06/05/2013   127    {TERMINATED}REPLY to Response to Motion re 119 MOTION for
                         sanctions Under Rule 11 Against Kaplan Parties and Their Counsel
                         Cross−Plaintiffs' Marvin Kaplan, RIA Palms, LLC, Triple Net Exchange,
                         LLC, MK Investing, LLC and BNK Smith, LLC's Combined Response and
                         Memorandum of Law to Regions Bank and Robert Shaw's Motion for Rule 11
                         Sanctions Against Kaplan Parties and Their Counsel filed by BNK Smith,
                         LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Parrish, Jon) Modified on 6/6/2013 Counsel contacted
                         Clerk's Office; Counsel stated that the wrong event was used for this
                         document; Counsel to refile. (VCG). (Entered: 06/05/2013)
     06/06/2013   128    RESPONSE to Motion re 119 MOTION for sanctions Under Rule 11 Against
                         Kaplan Parties and Their Counsel Cross−Claimants, Marvin Kaplan, R1A
                         Palms, LLC, Triple Next Exchange, LLC, MK Investing, LLC, and BNK Smith,
                         LLC's Combined Response and Memorandum of Law to Regions Bank and
                         Robert Shaw's, Motion for Rule 11 Sanctions Against Kaplan Parties and
                         Their Counsel filed by BNK Smith, LLC, Marvin I Kaplan, MK Investing,

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                         LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Parrish, Jon) (Entered:
                         06/06/2013)
     06/10/2013   129    MOTION for leave to file Reply Memorandum in Support of Rule 11 Motion
                         by Regions Bank, Robert Shaw. (Perkins, Joseph) (Entered: 06/10/2013)
     06/11/2013   130    RESPONSE to Motion re 102 MOTION to Strike 93 CounterclaimCrossclaim
                         Correcting DE 101 Counter−Cross−Plaintiffs, Marvin Kapla, R1A Palms,
                         LLc, Triple Net Exchange, LLC, MK Investing, LLC and BNK Smith, LLC's,
                         Combined Response and Memorandum of Law to Regions Bank and Robert
                         Shaw's, (1) Motion to Strike Re−Pled Defamation and Invasion of Privacy
                         Claims, (2) to Strike and Dismiss Amended Negligence/Negligent
                         Misrepresentation Claims, and (3) for Sanctions Against Kaplan Parties and
                         Counsel filed by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC,
                         R1A Palms, LLC, Triple Net Exchange, LLC. (Parrish, Jon) (Entered:
                         06/11/2013)
     06/11/2013   131    RESPONSE to Motion re 123 MOTION to Dismiss Crossclaim Plaintiff's
                         Amended Crossclaims (D.E. 93) Cross−Plaintiffs', Marvin Kaplan, R1A
                         Palms, LLC, Triple Net Exchange, LLC, MK Investing, LLC and BNK Smith,
                         LLC's Combined Respons and Memorandum of Law to Cross−Defendant,
                         Larry Starr's, Motion to Strike Re−Pled Counts I and III and Motion to
                         Dismiss Cross−Plaitniffs' Amended Crossclaims filed by BNK Smith, LLC,
                         Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Parrish, Jon) (Entered: 06/11/2013)
     06/11/2013   132    RESPONSE to Motion re 100 MOTION to Dismiss Amended Crossclaims or
                         Motion to Strike Crossclaims or For More Definite Statement
                         Cross−Plaintiffs', Marvin Kaplan, R1A Palms, LLC, Triple Net Exchange,
                         LLC, MK Investing, LLC and BNK Smith, LLC's Combined Response and
                         Memorandum of Law to Cross−Defendant, Wells Fargo Bank, N.A.'s, Motion
                         to Dismiss Amended Crossclaims or in the Alternative, Strike Crossclaims or,
                         in the Alternative, for More Definite Statement filed by BNK Smith, LLC,
                         Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Parrish, Jon) (Entered: 06/11/2013)
     06/14/2013   133    MOTION for miscellaneous relief, specifically Leave to File Reply to
                         Cross−Plaintiff's Response to Motion to Dismiss [DE 131] by Charles A. Starr
                         III. (Pellenbarg, Eric) (Entered: 06/14/2013)
     06/14/2013   134    CERTIFICATE of counsel re 129 MOTION for leave to file Reply
                         Memorandum in Support of Rule 11 Motion by Joseph D. Perkins on behalf of
                         Regions Bank, Robert Shaw (Perkins, Joseph) (Entered: 06/14/2013)
     06/25/2013   135    MOTION for leave to file Reply Memorandum in Support of Corrected
                         Motion (1) to Strike Re−Pled Defamation and Invasion of Privacy Claims, (2)
                         to Strike and Dismiss Amended Negligence/Negligent Misrepresentation
                         Claims, and (3) for Sanctions Against Kaplan Parties and Counsel by Regions
                         Bank, Robert Shaw. (Perkins, Joseph) (Entered: 06/25/2013)
     07/09/2013   136    MOTION for Amy L. Drushal, Dale W. Cravey, Beth A. Cronin to withdraw
                         as attorney (co−counsel) by Regions Bank. (Drushal, Amy) (Entered:
                         07/09/2013)
     07/19/2013   137

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                         PROOF of service by BNK Smith, LLC, Marvin I Kaplan, MK Investing,
                         LLC, R1A Palms, LLC, Triple Net Exchange, LLC (Parrish, Jon) (Entered:
                         07/19/2013)
     08/21/2013   138    NOTICE by Bridgeview Bank Group OF DEPOSITION (Lazenby, William)
                         (Entered: 08/21/2013)
     08/26/2013   139    First MOTION for entry of clerk's default against G. Todd Smith by Triple
                         Net Exchange, LLC, Marvin I Kaplan, BNK Smith, LLC, R1A Palms, LLC,
                         MK Investing, LLC. (Attachments: # 1 Exhibit)(Yarnell, Floyd) Motions
                         referred to Magistrate Judge Mark A. Pizzo. (Entered: 08/26/2013)
     08/27/2013   140    MOTION to Compel Better Responses to Counter−Plaintiff, Marvin I.
                         Kaplan's First Set of Interrogatories from Cross−Defendant, Bridgeview Bank
                         Group and Combined Memorandum of Law by Marvin I Kaplan. (Parrish,
                         Jon) Motions referred to Magistrate Judge Mark A. Pizzo. (Entered:
                         08/27/2013)
     08/28/2013   141    Clerk's ENTRY OF DEFAULT as to G. Todd Smith (VCG) (Entered:
                         08/28/2013)
     09/03/2013   142    NOTICE of withdrawal of motion by Marvin I Kaplan First Set of
                         Interrogatories from Bridgeview Bank Group and Combined Memorandum of
                         Law (Parrish, Jon) (Entered: 09/03/2013)
     09/06/2013   143    ENDORSED ORDER granting 135 Motion for Leave to File Reply, within
                         fourteen days. Signed by Judge Elizabeth A. Kovachevich on 9/6/2013. (JM)
                         (Entered: 09/06/2013)
     09/06/2013   144    ENDORSED ORDER denying as moot 74 Motion for Leave to File
                         Additional Interrogatires as to Counterclaim; an Amended Counterclaim was
                         filed. Signed by Judge Elizabeth A. Kovachevich on 9/6/2013. (JM) (Entered:
                         09/06/2013)
     09/06/2013   145    ENDORSED ORDER denying as moot 79 Motion for Leave to File Reply; the
                         Motion for Leave to File Additional Interrogatories was denied as moot.
                         Signed by Judge Elizabeth A. Kovachevich on 9/6/2013. (JM) (Entered:
                         09/06/2013)
     09/06/2013   146    ENDORSED ORDER granting 104 Motion to extend time for service, nunc
                         pro tunc, 4/22/2013. Signed by Judge Elizabeth A. Kovachevich on 9/6/2013.
                         (JM) (Entered: 09/06/2013)
     09/06/2013   147    ENDORSED ORDER granting 129 Motion for Leave to File Reply in support
                         of Rule 11 Motion (not more than 5 pages). Signed by Judge Elizabeth A.
                         Kovachevich on 9/6/2013. (JM) (Entered: 09/06/2013)
     09/06/2013   148    ENDORSED ORDER granting 126 Motion for Leave to File Reply (2 pages).
                         Signed by Judge Elizabeth A. Kovachevich on 9/6/2013. (JM) (Entered:
                         09/06/2013)
     09/06/2013   149    ENDORSED ORDER granting 133 Motion for leave to file Reply (6 pages).
                         Signed by Judge Elizabeth A. Kovachevich on 9/6/2013. (JM) (Entered:
                         09/06/2013)
     09/06/2013   150

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                         ENDORSED ORDER granting 136 Motion to Withdraw as Attorney Attorney
                         Amy Lea Drushal; Dale W. Cravey and Beth A. Cronin terminated. Signed by
                         Judge Elizabeth A. Kovachevich on 9/6/2013. (JM) (Entered: 09/06/2013)
     09/06/2013   151    ENDORSED ORDER denying as moot 103 Motion to extend time; the motion
                         was refiled. Signed by Judge Elizabeth A. Kovachevich on 9/6/2013. (JM)
                         (Entered: 09/06/2013)
     09/06/2013   152    ENDORSED ORDER denying without prejudice 75 Joint Motion for Hearing.
                         The Court ruled on the then−pending motions; another round of motions is
                         pending. The Court will enter a case management order, and will rule on the
                         various motions. The parties may renew the request for a hearing if
                         appropriate. Signed by Judge Elizabeth A. Kovachevich on 9/6/2013. (JM)
                         (Entered: 09/06/2013)
     09/06/2013   153    REPLY to Response to Motion re 119 MOTION for sanctions Under Rule 11
                         Against Kaplan Parties and Their Counsel filed by Regions Bank, Robert
                         Shaw. (Attachments: # 1 Exhibit A) Email String Between D. Garbett and J.
                         Parrish)(Perkins, Joseph) (Entered: 09/06/2013)
     09/06/2013   154    REPLY to Response to Motion re 102 MOTION to Strike 93
                         CounterclaimCrossclaim Correcting DE 101 filed by Regions Bank, Robert
                         Shaw. (Perkins, Joseph) (Entered: 09/06/2013)
     09/10/2013   155    MOTION for sanctions Cross−Defendant's Motion for Imposition of Sanctions
                         by Bridgeview Bank Group. (Ellison, Jason) Modified on 11/29/2017 (LD).
                         (Entered: 09/10/2013)
     09/11/2013   156    CASE MANAGEMENT AND SCHEDULING ORDER: Joinder of Parties
                         due by 10/31/2013, Discovery due by 3/14/2014, Dispositive motions due by
                         5/30/2014, Plaintiff disclosure of expert report due by 2/14/2014, Defendant
                         disclosure of expert report due by 2/14/2014, Final Pretrial Conference set for
                         10/16/2014 at 10:00 AM in Tampa Courtroom 11 B before Magistrate Judge
                         Mark A. Pizzo, Conduct mediation hearing by 3/14/2014. Lead counsel to
                         coordinate dates. This case is a 60 hour nonjury trial. Signed by Judge
                         Elizabeth A. Kovachevich on 9/11/2013. (JM) (Entered: 09/11/2013)
     09/16/2013   157    RESPONSE re 121 Response to motion Cross−Defendant's Reply to
                         Counter−Claim Marvin Kaplan, R1A Palms, LLC, Triple Net Exchange, LLC,
                         MK Investing, LLC and BNK Smith, LLC's Combined Response to Bridgeview
                         Bank Group's Motion to Dismiss Amended Counterclaim (DKT.121) filed by
                         Bridgeview Bank Group. (Ellison, Jason) (Entered: 09/16/2013)
     09/18/2013   158    MEMORANDUM in support re 123 Motion to dismiss and reply to Response
                         to motion to dismiss 131 filed by Charles A. Starr III. (Pellenbarg, Eric)
                         (Entered: 09/18/2013)
     09/19/2013   159    [VACATED] ORDER granting 140 Motion to Compel Better Responses to
                         First Set of Interrogatories. Cross−Defendant Bridgeview Bank Group is to
                         provide supplemental responses to Cross−Plaintiff, Marvin Kaplan's first set of
                         interrogatories within fourteen (14) days from the date of this Order. Signed
                         by Magistrate Judge Mark A. Pizzo on 9/19/2013. (SSW) Modified on
                         9/20/2013 Vacated pursuant to Court's 160 Order. (VCG). (Entered:
                         09/19/2013)


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     09/19/2013   160    ORDER re 159 Order on motion to compel is hereby VACATED and Kaplan's
                         motion to compel better responses to his first set of interrogatories to
                         Bridgeview (doc. 140) is DENIED AS MOOT. Signed by Magistrate Judge
                         Mark A. Pizzo on 9/19/2013. (SSW) (Entered: 09/19/2013)
     09/19/2013   161    MOTION to Compel Better Responses to Counter−Plaintiff, Marvin I.
                         Kaplan's, First Set of Interrogatories from Cross−Defendant, Bridgeview Bank
                         Group and Combined Memorandum of Law by Marvin I Kaplan. (Parrish,
                         Jon) Motions referred to Magistrate Judge Mark A. Pizzo. (Entered:
                         09/19/2013)
     09/20/2013   162    ENDORSED ORDER denying 161 Counter−Plaintiff, Marvin Kaplan's
                         ("Kaplan"), Motion to Compel Responses to First Set of Interrogatories. On
                         September 19, 2013, this Court entered an Order granting Kaplan's motion to
                         compel filed at doc. 140. See Order, doc. 159. Subsequently, it came to the
                         Court's attention that Kaplan had withdrawn the motion at doc. 140. See
                         Notice, doc. 142. Accordingly, the Court vacated its Order at doc. 159 and
                         DENIED AS MOOT the motion at doc. 140. See Order, doc. 160. The motion
                         before the Court at doc. 161 is identical to the motion this Court already
                         denied as moot. Given these circumstances, the motion at doc. 161 is
                         DENIED.. Signed by Magistrate Judge Mark A. Pizzo on 9/20/2013. (SSW)
                         (Entered: 09/20/2013)
     09/24/2013   163    RESPONSE in Opposition re 155 MOTION for sanctions Cross−Defendant's
                         Motion for Imposition of Sanctions filed by BNK Smith, LLC, Marvin I
                         Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC.
                         (Parrish, Jon) (Entered: 09/24/2013)
     10/03/2013   164    MOTION to Compel Better Responses to Cross−Plaintiff/Counter−Plaintiff,
                         Marvin Kaplans 1st Set of Interrogatories from Cross Defendant, Bridgeview
                         Bank Group and Combined Memo of Law by Marvin I Kaplan. (Attachments:
                         # 1 Exhibit Interrogatories to Third Party Defendant Bridgeview Bank Group,
                         # 2 Exhibit Cross−Defendant Bridgeview Bank Groups Response to
                         Counter−Plaintiff's First Set of Interrogatories)(Parrish, Jon) Motions referred
                         to Magistrate Judge Mark A. Pizzo. (Entered: 10/03/2013)
     10/07/2013   165    NOTICE of clarification of 3.01(g) compliance by Marvin I Kaplan re 164
                         MOTION to Compel Better Responses to Cross−Plaintiff/Counter−Plaintiff,
                         Marvin Kaplans 1st Set of Interrogatories from Cross Defendant, Bridgeview
                         Bank Group and Combined Memo of Law (Parrish, Jon) Modified on
                         10/15/2013 to edit text (AG). (Entered: 10/07/2013)
     10/17/2013   166    RESPONSE to Motion re 161 MOTION to Compel Better Responses to
                         Counter−Plaintiff, Marvin I. Kaplan's, First Set of Interrogatories from
                         Cross−Defendant, Bridgeview Bank Group and Combined Memorandum of
                         Law Cross−Defendant's Response to Motion to Compel filed by Bridgeview
                         Bank Group. (Ellison, Jason) (Entered: 10/17/2013)
     10/22/2013   167    ORDER granting 164 Cross−Plaintiff Marvin Kaplan's Motion to Compel
                         Interrogatory Responses. See order for details. Signed by Magistrate Judge
                         Mark A. Pizzo on 10/22/2013. (ACS) (Entered: 10/22/2013)
     10/22/2013   168    MOTION for entry of clerk's default against Gary T. Smith, Lucy B. Smith,
                         Smith Advertising & Associates, Inc. by Triple Net Exchange, LLC, Marvin I
                         Kaplan, BNK Smith, LLC, R1A Palms, LLC, MK Investing, LLC.
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                         (Attachments: # 1 Exhibit Ex. A − Return of Service − Gary Smith, # 2
                         Exhibit Ex. B − Return of Service − Lucy Smith, # 3 Exhibit Ex. C − Return
                         of Service − Smith Advertising & Assoc., # 4 Exhibit Ex. D − Delivery Conf.
                         − Gary Smith, # 5 Exhibit Ex. E. Delivery Conf. − Lucy Smith, # 6 Exhibit
                         Ex. F − Delivery Conf. − Smith Advertising)(Parrish, Jon) Motions referred to
                         Magistrate Judge Mark A. Pizzo. (Entered: 10/22/2013)
     10/23/2013   169    Clerk's ENTRY OF DEFAULT as to Cross Defendant Smith Advertising &
                         Associates, Inc. (VCG) (Entered: 10/23/2013)
     10/23/2013   170    Clerk's ENTRY OF DEFAULT as to Counter Defendant Gary T. Smith
                         (VCG) (Entered: 10/23/2013)
     10/23/2013   171    Clerk's ENTRY OF DEFAULT as to Counter Defendant Lucy B. Smith
                         (VCG) (Entered: 10/23/2013)
     10/25/2013   172    MOTION for leave to file to file Second Amended Complaint by Regions
                         Bank. (Attachments: # 1 Exhibit Regions' Proposed Second Amended
                         Complaint)(Garbett, David) (Entered: 10/25/2013)
     10/25/2013   173    PRETRIAL ORDER: Pretrial Conference set for 10/16/2014 at 10:00 AM in
                         Tampa Courtroom 11 B before Magistrate Judge Mark A. Pizzo, Bench Trial
                         set for a trial term tentatively commencing 11/3/2014 at 10:00 AM in Tampa
                         Courtroom 14 A before Judge Elizabeth A. Kovachevich. Signed by Judge
                         Elizabeth A. Kovachevich on 10/25/2013. Trial estimate: 60 hours non−jury
                         trial. (Attachments: # 1 Supplement)(CLM) (Entered: 10/25/2013)
     10/28/2013   174    AMENDED PRETRIAL ORDER: Pretrial Conference set for 10/16/2014 at
                         10:00 AM in Tampa Courtroom 11 B before Magistrate Judge Mark A. Pizzo,
                         Bench Trial set for a trial term tentatively commencing 11/3/2014 at 10:00
                         AM in Tampa Courtroom 14 A before Judge Elizabeth A. Kovachevich. Trial
                         estimate: 60 hours non−jury trial. AMENDED only to reflect case is non−jury
                         trial (pg 1). Signed by Judge Elizabeth A. Kovachevich on 10/28/2013.
                         (Attachments: # 1 Supplement)(CLM) (Entered: 10/28/2013)
     10/30/2013   175    DEMAND for trial by jury by Marvin I Kaplan. (Parrish, Jon) (Entered:
                         10/30/2013)
     10/31/2013   176    NOTICE by Regions Bank re 174 Pretrial Order, 175 Jury demand of
                         Objection to and Intent to Move to Strike re: DE 175 (Perkins, Joseph)
                         (Entered: 10/31/2013)
     11/01/2013   177    MOTION to Strike 175 Jury demand of Kaplan Parties by Regions Bank,
                         Robert Shaw. (Attachments: # 1 Exhibit Ex. A − Depositor's
                         Agreement)(Perkins, Joseph) Motions referred to Magistrate Judge Mark A.
                         Pizzo. Modified on 11/12/2013, NOTE: IMAGE DELETED of Exhibit A,
                         counsel to refile redacted exhibit (EJC). (Entered: 11/01/2013)
     11/04/2013   178    CERTIFICATE of counsel re 177 MOTION to Strike 175 Jury demand of
                         Kaplan Parties by Joseph D. Perkins on behalf of Regions Bank, Robert Shaw
                         (Perkins, Joseph) (Entered: 11/04/2013)
     11/05/2013   179    NOTICE OF SELECTION of Jim Nulman, Esq. as mediator by Regions Bank.
                         (Perkins, Joseph) (Entered: 11/05/2013)
     11/07/2013   180

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                         MOTION for Release of Bond Obligation Agreed Motion for Order by
                         Regions Bank. (Perkins, Joseph) (Entered: 11/07/2013)
     11/08/2013   181    MOTION for Extension of Time to File Response/Reply as to 172 MOTION
                         for leave to file to file Second Amended Complaint by BNK Smith, LLC,
                         Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Parrish, Jon) Motions referred to Magistrate Judge Mark A.
                         Pizzo. (Entered: 11/08/2013)
     11/12/2013   182    ENDORSED ORDER granting in part and denying in part 181 Motion for
                         Extension of Time to File Response/Reply to Motion for Leave to File Second
                         Amended Complaint; Responses due by 11/20/2013. Signed by Judge
                         Elizabeth A. Kovachevich on 11/12/2013. (JM) (Entered: 11/12/2013)
     11/12/2013   183    ORDER granting 180 Agreed Motion for Release of Bond Obligation,
                         directing Clerk of Sarasota County Circuit Court to release cash injunction
                         bond. Signed by Judge Elizabeth A. Kovachevich on 11/12/2013. (JM)
                         (Entered: 11/12/2013)
     11/12/2013   184    NOTICE by Regions Bank, Robert Shaw re 177 MOTION to Strike 175 Jury
                         demand of Kaplan Parties of Filing Redacted Ex. A to Motion to Strike (DE
                         177) (Attachments: # 1 Exhibit Ex. A− DE 177 − Redacted)(Perkins, Joseph)
                         (Entered: 11/12/2013)
     11/15/2013   185    MOTION for Extension of Time to File Response/Reply as to 177 MOTION
                         to Strike 175 Jury demand of Kaplan Parties by BNK Smith, LLC, Marvin I
                         Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC.
                         (Parrish, Jon) Motions referred to Magistrate Judge Mark A. Pizzo. (Entered:
                         11/15/2013)
     11/20/2013   186    NOTICE by Regions Bank, Robert Shaw re 185 MOTION for Extension of
                         Time to File Response/Reply as to 177 MOTION to Strike 175 Jury demand of
                         Kaplan Parties Regions and Shaw's Notice of Agreement (Perkins, Joseph)
                         (Entered: 11/20/2013)
     11/20/2013   187    NOTICE of compliance re 185 MOTION for Extension of Time to File
                         Response/Reply as to 177 MOTION to Strike 175 Jury demand of Kaplan
                         Parties by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC (Parrish, Jon) (Entered: 11/20/2013)
     11/21/2013   188    ENDORSED ORDER granting 185 Motion for Extension of Time to File
                         Response/Reply. Responses due by 11/25/2013. Signed by Judge Elizabeth A.
                         Kovachevich on 11/21/2013. (JM) (Entered: 11/21/2013)
     11/21/2013   189    ENDORSED ORDER granting 172 Motion for Leave to File Second
                         Amended Complaint, within fourteen days. Signed by Judge Elizabeth A.
                         Kovachevich on 11/21/2013. (JM) (Entered: 11/21/2013)
     11/21/2013   190    AMENDED document by Regions Bank. Amendment to 2 Amended
                         Complaint Region's Second Amended Complaint. (Attachments: # 1 Exhibit
                         Ex. A − SAC, # 2 Exhibit Comp. Ex. B − SAC, # 3 Exhibit Ex. C − SAC, # 4
                         Exhibit Ex. D − SAC, # 5 Exhibit Ex. E − SAC, # 6 Exhibit Ex. F −
                         SAC)(Perkins, Joseph) (Entered: 11/21/2013)
     11/22/2013   191    MOTION to Compel Better Responses to Cross−Plaintiff, Marvin L. Kaplan's
                         First Request for Production from Cross−Defendant Bridgeview Bank Group
                                                                                                        42
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                         and Combined Memorandum of Law by Marvin I Kaplan. (Parrish, Jon)
                         Motions referred to Magistrate Judge Mark A. Pizzo. Modified on 11/25/2013
                         (CD). (Entered: 11/22/2013)
     11/25/2013   192    RESPONSE to Motion re 177 MOTION to Strike 175 Jury demand of Kaplan
                         Parties filed by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC. (Parrish, Jon) (Entered: 11/25/2013)
     11/27/2013   193    NOTICE of compliance re 191 Oral MOTION to Compel Better Responses to
                         Cross−Plaintiff, Marvin L. Kaplan's First Request for Production from
                         Cross−Defendant Bridgeview Bank Group and Combined Memorandum of
                         Law by Marvin I Kaplan (Parrish, Jon) (Entered: 11/27/2013)
     12/02/2013   194    MOTION for Extension of Time to File Response/Reply as to 190 Amended
                         document by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC. (Parrish, Jon) Motions referred to
                         Magistrate Judge Mark A. Pizzo. (Entered: 12/02/2013)
     12/03/2013   195    RESPONSE to Motion re 177 MOTION to Strike 175 Jury demand of Kaplan
                         Parties filed by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC. (Parrish, Jon) (Entered: 12/03/2013)
     12/04/2013   196    MOTION for leave to file Reply and Supporting Declaration by Regions
                         Bank, Robert Shaw. (Garbett, David) (Entered: 12/04/2013)
     12/04/2013   197    RESPONSE to Motion re 177 MOTION to Strike 175 Jury demand of Kaplan
                         Parties filed by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC. (Parrish, Jon) (Entered: 12/04/2013)
     12/05/2013   198    MOTION for protective order Cross−Defendant's Motion for Protective Order
                         to Stay Discovery Pending Resolution of its Motion to Dismiss by Bridgeview
                         Bank Group. (Ellison, Jason) Motions referred to Magistrate Judge Mark A.
                         Pizzo. (Entered: 12/05/2013)
     12/05/2013   199    RESPONSE to Motion re 191 Oral MOTION to Compel Better Responses to
                         Cross−Plaintiff, Marvin L. Kaplan's First Request for Production from
                         Cross−Defendant Bridgeview Bank Group and Combined Memorandum of
                         Law filed by Bridgeview Bank Group. (Ellison, Jason) (Entered: 12/05/2013)
     12/05/2013   200    SUPPLEMENT re 130 Response to motion to Strike Re−Pled Defamation
                         Claim Dkt 102 by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC,
                         R1A Palms, LLC, Triple Net Exchange, LLC. (Parrish, Jon) (Entered:
                         12/05/2013)
     12/06/2013   201    Supplemental MOTION to supplement Agreed Motion for Leave to Submit
                         Reply in Support of Motion to Strike Renewed Jury Demand by Regions
                         Bank, Robert Shaw. (Garbett, David) (Entered: 12/06/2013)
     12/06/2013   202    MOTION to Dismiss Second Amended Complaint by BNK Smith, LLC,
                         Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Parrish, Jon) (Entered: 12/06/2013)
     12/09/2013   203    REPLY to Response to Motion re 102 MOTION to Strike 93
                         CounterclaimCrossclaim Correcting DE 101, 119 MOTION for sanctions
                         Under Rule 11 Against Kaplan Parties and Their Counsel filed by Regions
                         Bank, Robert Shaw. (Garbett, David) (Entered: 12/09/2013)

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     12/09/2013   204    NOTICE by Regions Bank, Robert Shaw re 93 CounterclaimCrossclaim, 102
                         MOTION to Strike 93 CounterclaimCrossclaim Correcting DE 101 of 180
                         Days Expiring (Perkins, Joseph) (Entered: 12/09/2013)
     12/12/2013   205    MEMORANDUM in opposition re 190 Amended document, 202 Motion to
                         dismiss Second Amended Complaint filed by Regions Bank. (Garbett, David)
                         (Entered: 12/12/2013)
     12/13/2013   206    MOTION to extend time to extend Current Case Management and Scheduling
                         Order Deadlines Including Mediation and Memorandum of Law by BNK
                         Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple
                         Net Exchange, LLC. (Parrish, Jon) (Entered: 12/13/2013)
     12/18/2013   207    NOTICE by Wells Fargo, N.A. re Local Rule 3.01(h) (Ragusa, Mark)
                         (Entered: 12/18/2013)
     12/18/2013   208    MOTION for leave to file Reply to Regions' Memorandum of Law Opposing
                         Kaplan Parties' Motion to Dismiss Certain Counts of Second Amended
                         Complaint [Dkt. 205] by BNK Smith, LLC, Marvin I Kaplan, MK Investing,
                         LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Parrish, Jon) (Entered:
                         12/18/2013)
     12/31/2013   209    MOTION to stay discovery (Renewed) by Charles A. Starr III. (Pellenbarg,
                         Eric) Motions referred to Magistrate Judge Mark A. Pizzo. (Entered:
                         12/31/2013)
     01/02/2014   210    NOTICE of Appearance by Harris B. Katz on behalf of BNK Smith, LLC,
                         Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC (Katz, Harris) (Entered: 01/02/2014)
     01/09/2014   211    NOTICE by Regions Bank, Robert Shaw re 93 CounterclaimCrossclaim, 102
                         MOTION to Strike 93 CounterclaimCrossclaim Correcting DE 101 Rule
                         3.01(h) Notice (Perkins, Joseph) (Entered: 01/09/2014)
     01/14/2014   212    RESPONSE to Motion re 209 MOTION to stay discovery (Renewed) Until
                         Court Resolves His Dispositive Motion to Dismiss filed by Marvin I Kaplan.
                         (Katz, Harris) (Entered: 01/14/2014)
     01/15/2014   213    {TERMINATED}MOTION to Continue Depositions Currently Scheduled of
                         Kaplan Parties or In the Alternative, Motion for Protective Order and Notice
                         of Trial Conflict by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC,
                         R1A Palms, LLC, Triple Net Exchange, LLC. (Attachments: # 1 Exhibit
                         A)(Katz, Harris) Modified on 1/16/2014 Contacted Counsel; Incorrect log−in
                         used; Counsel to refile using correct log−in. (VCG). (Entered: 01/15/2014)
     01/16/2014   214    MOTION to Continue Depositions Currently Scheduled of Kaplan Parties or,
                         In the Alternative, Motion for Protective Order and Notice of Trial Conflict by
                         BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC,
                         Triple Net Exchange, LLC. (Parrish, Jon) (Entered: 01/16/2014)
     01/22/2014   215    RESPONSE to Motion re 213 MOTION to Continue Depositions Currently
                         Scheduled of Kaplan Parties or In the Alternative, Motion for Protective
                         Order and Notice of Trial Conflict, 214 MOTION to Continue Depositions
                         Currently Scheduled of Kaplan Parties or, In the Alternative, Motion for
                         Protective Order and Notice of Trial Conflict filed by Regions Bank.
                         (Attachments: # 1 Exhibit Jan 9, 2014 Email from H. Katz, # 2 Exhibit
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                         January 10, 2014 Email from H. Katz)(Perkins, Joseph) (Entered: 01/22/2014)
     01/23/2014   216    RESPONSE to Motion re 214 MOTION to Continue Depositions Currently
                         Scheduled of Kaplan Parties or, In the Alternative, Motion for Protective
                         Order and Notice of Trial Conflict filed by Bridgeview Bank Group. (Ellison,
                         Jason) (Entered: 01/23/2014)
     01/23/2014   217    JOINDER in motion by Wells Fargo, N.A. and Adoption of Region Bank's
                         Memorandum of Law Concerning Kaplan Parties' Motion for Protective
                         Order. (Ragusa, Mark) (Entered: 01/23/2014)
     01/27/2014   218    MOTION to extend time to Mediate Partially Agreed and Unopposed by
                         Regions Bank. (Perkins, Joseph) (Entered: 01/27/2014)
     01/29/2014   219    MOTION for leave to file to File Reply to Regions' Memorandum of Law
                         concerning Kaplan Parties' MPO by BNK Smith, LLC, Marvin I Kaplan, MK
                         Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Parrish, Jon)
                         (Entered: 01/29/2014)
     01/29/2014   220    MOTION for leave to file Reply to Bridgeview Bank Group's Response to
                         Notice of Trial Conflict and Motion to Continue Depositions Currently
                         Scheduled of Kaplan Parties or, In The Alternative, Motion for Protective
                         Order by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC. (Parrish, Jon) (Entered: 01/29/2014)
     01/31/2014   221    ORDER denying without prejudice 191 Motion to Compel better responses to
                         his first requests for production; granting 198 Motion to Stay; granting 209
                         Motion to stay discovery. Signed by Magistrate Judge Mark A. Pizzo on
                         1/31/2014. (SSW) (Entered: 01/31/2014)
     02/03/2014   222    MOTION to stay discovery and Combined Memorandum of Law by BNK
                         Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple
                         Net Exchange, LLC. (Katz, Harris) Motions referred to Magistrate Judge Mark
                         A. Pizzo. (Entered: 02/03/2014)
     02/05/2014   223    MOTION to extend time to file Expert Disclosures by Bridgeview Bank
                         Group. (Lazenby, William) (Entered: 02/05/2014)
     02/06/2014   224    NOTICE by Regions Bank, Robert Shaw re 102 MOTION to Strike 93
                         CounterclaimCrossclaim Correcting DE 101 Local Rule 3.01(h) Notice
                         (Perkins, Joseph) (Entered: 02/06/2014)
     02/06/2014   225    NOTICE by Regions Bank re 138 Notice (Other) Cross−Notice of Deposition
                         (Perkins, Joseph) (Entered: 02/06/2014)
     02/07/2014   226    NOTICE by Wells Fargo, N.A. of Taking Deposition of Marvin Kaplan,
                         Individually and on behalf of R1A Palms, LLC, Triple Net Exchange, LLC, MK
                         Investing, LLC and BNK Smith, LLC (Ragusa, Mark) (Entered: 02/07/2014)
     02/12/2014   227    MOTION for Extension of Time to Complete Discovery to Respond to
                         Discovery Pending the Court's Ruling on Kaplan Parties' Motion to Stay
                         Discovery and Combined Memorandum of Law by BNK Smith, LLC, Marvin
                         I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC.
                         (Katz, Harris) Motions referred to Magistrate Judge Mark A. Pizzo. (Entered:
                         02/12/2014)


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     02/13/2014   228    MEMORANDUM in opposition re 222 Motion to stay discovery filed by
                         Regions Bank, Robert Shaw. (Attachments: # 1 Exhibit Jan. 9, 2014 Email
                         from H. Katz, # 2 Exhibit Jan. 21−22 Email Exchange, # 3 Exhibit Feb. 11−12
                         Email Exchange)(Perkins, Joseph) (Entered: 02/13/2014)
     02/13/2014   229    MOTION to Compel Response to Discovery Requests by Regions Bank,
                         Robert Shaw. (Attachments: # 1 Exhibit RB and Shaw's Dec. 10, 2013
                         Discovery Requests to Kaplan Parties, # 2 Exhibit Kaplan Parties' Jan. 20,
                         2014 Objections to First and Second RFP from RB and Shaw)(Perkins,
                         Joseph) Motions referred to Magistrate Judge Mark A. Pizzo. (Entered:
                         02/13/2014)
     02/14/2014   230    NOTICE by Wells Fargo, N.A. Filing Joint Stipulation Extending Expert
                         Disclosures and Rebuttal Reports (Ragusa, Mark) (Entered: 02/14/2014)
     02/24/2014   231    MEMORANDUM in opposition re 227 Motion for Extension of Time to
                         Complete Discovery filed by Regions Bank, Robert Shaw. (Perkins, Joseph)
                         (Entered: 02/24/2014)
     02/24/2014   232    MEMORANDUM in opposition re 228 Memorandum in opposition, 222
                         Motion to stay discovery Corrected MOL in Opposition to DE 222 filed by
                         Regions Bank, Robert Shaw. (Attachments: # 1 Exhibit Ex. A − Jan. 9, 2014
                         Email from H. Katz, # 2 Exhibit Ex. B − Jan. 21−22 Email Exchange, # 3
                         Exhibit Ex. C − Feb. 11−12 Email Exchange)(Perkins, Joseph) (Entered:
                         02/24/2014)
     02/24/2014   233    NOTICE by Bridgeview Bank Group re 138 Notice (Other) of Filing
                         Certificate of Non−Appearance of Marvin Kaplan (Attachments: # 1 Exhibit
                         A)(Lazenby, William) (Entered: 02/24/2014)
     02/26/2014   234    MOTION for leave to file Reply to Regions' and Shaw's Corrected
                         Memorandum of Law Opposing Kaplan Parties' Motion to Stay Discovery and
                         Request for Sanctions [Dkt. 232] by BNK Smith, LLC, Marvin I Kaplan, MK
                         Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Katz, Harris)
                         (Entered: 02/26/2014)
     02/27/2014   235    NOTICE of Appearance by Jonathan H. Kaskel on behalf of Regions Bank
                         (Kaskel, Jonathan) (Entered: 02/27/2014)
     02/27/2014   236    NOTICE by Regions Bank, Robert Shaw re 232 Memorandum in opposition,
                         229 MOTION to Compel Response to Discovery Requests of Withdrawal of
                         Requests for Sanctions (Kaskel, Jonathan) (Entered: 02/27/2014)
     02/27/2014   237    RESPONSE in Opposition re 229 MOTION to Compel Response to Discovery
                         Requests against Kaplan Parties, to Overrule Objections and for Sanctions
                         Combined with Memorandum of Law filed by BNK Smith, LLC, Marvin I
                         Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC.
                         (Katz, Harris) (Entered: 02/27/2014)
     03/04/2014   238    MOTION for leave to file Reply to Regions' and Shaw's Memorandum of Law
                         Opposing Kaplan Parties' Motion for Extension of Time to Respond to
                         Discovery Pending the Court's Ruling on Kaplan Parties' Motion to Stay
                         Discovery [Dkt. 231] by BNK Smith, LLC, Marvin I Kaplan, MK Investing,
                         LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Katz, Harris) (Entered:
                         03/04/2014)

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     03/13/2014   239    MOTION to Compel Kaplan Parties to Appear for Depo by Date Certain by
                         Regions Bank. (Attachments: # 1 Exhibit Ex. A − 03 05 14 Email)(Perkins,
                         Joseph) Motions referred to Magistrate Judge Mark A. Pizzo. (Entered:
                         03/13/2014)
     03/14/2014   240    MOTION for Extension of Time to Complete Discovery***NOTICE by Wells
                         Fargo, N.A. re 230 Notice (Other) of Filing Joint Stipulation Extending Expert
                         Disclosures and Rebuttal Reports (Ragusa, Mark) Modified event and text on
                         3/17/2014 (JNB). (Entered: 03/14/2014)
     03/14/2014   241    NOTICE by Regions Bank, Robert Shaw re 93 CounterclaimCrossclaim, 102
                         MOTION to Strike 93 CounterclaimCrossclaim Correcting DE 101 re Local
                         Rule 3.01(h) (Perkins, Joseph) (Entered: 03/14/2014)
     03/18/2014   242    NOTICE by Bridgeview Bank Group Jason M. Ellison (Ellison, Jason)
                         (Entered: 03/18/2014)
     03/27/2014   243    RESPONSE in Opposition re 239 MOTION to Compel Kaplan Parties to
                         Appear for Depo by Date Certain filed by BNK Smith, LLC, Marvin I Kaplan,
                         MK Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Katz,
                         Harris) (Entered: 03/27/2014)
     03/31/2014   244    ORDER granting 99 Motion to Strike 93 CounterclaimCrossclaim ; denying
                         100 motion to dismiss; granting in part and denying in part 102 Motion to
                         Strike ; granting in part and denying in part 106 motion to dismiss; denying
                         without prejudice 119 Motion for Sanctions; granting in part and denying in
                         part 123 motion to dismiss. See Order for details. Signed by Judge Elizabeth
                         A. Kovachevich on 3/31/2014. (JM) (Entered: 03/31/2014)
     03/31/2014   245    ENDORSED ORDER denying as moot 222 Motion to stay discovery. Signed
                         by Magistrate Judge Mark A. Pizzo on 3/31/2014. (SSW) (Entered:
                         03/31/2014)
     04/01/2014   246    NOTICE of hearing: Pretrial Conference set for 4/10/2014 at 09:30 AM in
                         Tampa Courtroom 11 B before Magistrate Judge Mark A. Pizzo (SSW)
                         (Entered: 04/01/2014)
     04/02/2014   247    ENDORSED ORDER granting 201 Unopposed Motion to for leave to file
                         Reply (six pages) to Response to Motion to Strike Jury Demand. Signed by
                         Judge Elizabeth A. Kovachevich on 4/2/2014. (JM) (Entered: 04/02/2014)
     04/02/2014   248    ENDORSED ORDER denying as moot 196 Motion for Leave to File Reply.
                         Signed by Judge Elizabeth A. Kovachevich on 4/2/2014. (JM) (Entered:
                         04/02/2014)
     04/02/2014   249    ENDORSED ORDER denying without prejudice 155 Motion for Sanctions;
                         the Court has deferred all motions for sanctions until after final disposition;
                         this motion can be renewed by filing a notice. Signed by Judge Elizabeth A.
                         Kovachevich on 4/2/2014. (JM) Modified on 4/3/2014 to edit text. (VCG).
                         (Entered: 04/02/2014)
     04/02/2014   250    ENDORSED ORDER granting 194 Motion for Extension of Time to File
                         Response/Reply, nunc pro tunc 12/2/2013 Responses due by 12/12/2013.
                         Signed by Judge Elizabeth A. Kovachevich on 4/2/2014. (JM) (Entered:
                         04/02/2014)

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     04/04/2014   251    MEMORANDUM in support re 177 Motion to Strike Jury Demand filed by
                         Regions Bank. (Perkins, Joseph) (Entered: 04/04/2014)
     04/04/2014   252    NOTICE by Regions Bank re 251 Memorandum in support of Filing
                         (Attachments: # 1 Declaration of M. Scott Newberger in Support of Reply
                         Memorandum in Support of Motion to Strike Jury Demand, # 2 Exhibit 1) to
                         Newberger Declaration, # 3 Exhibit 2) to Newberger Declaration)(Perkins,
                         Joseph) (Entered: 04/04/2014)
     04/07/2014   253    {TERMINATED}MOTION for clarification of Order Granting Regions and
                         Shaw's Motion to Dismiss Count XXI of the Amended
                         Counterclaim/Crossclaim and Combined Memorandum of Law by BNK
                         Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple
                         Net Exchange, LLC. (Katz, Harris) Modified on 4/8/2014 Counsel contacted
                         Clerk's Office and wished to refile this pleading. (VCG). (Entered:
                         04/07/2014)
     04/08/2014   254    MOTION for clarification of Order Granting Regions and Shaw's Motion to
                         Dismiss Count XXI of the Amended Counterclaim/Crossclaim [Dkt. 244] and
                         Combined Memorandum of Law by BNK Smith, LLC, Marvin I Kaplan, MK
                         Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Katz, Harris)
                         (Entered: 04/08/2014)
     04/08/2014   255    AMENDED NOTICE of designation under Local Rule 3.05 − Track 3. (CLM)
                         (Entered: 04/08/2014)
     04/08/2014   256    ORDER denying without prejudice 227 Motion for Extension of Time to
                         Complete Discovery; denying without prejudice 229 Motion to Compel
                         discoveryKaplan Parties to appear for deposition by date certain; denying
                         without prejudice 239 Motion to Compel discoveryKaplan Parties to appear
                         for deposition by date certain. The parties are directed to confer regarding the
                         filing of a case management report in accordance with the amended notice of
                         designation under Local Rule 3.05 − Track 3 (doc. 255) prior to the Rule 16
                         conference, which shall be held as previously scheduled on Thursday, April
                         10, 2014 at 9:30 a.m., Sam M. Gibbons United States Courthouse, 801 N.
                         Florida Avenue, Courtroom 11B, Tampa, Florida 33602.. Signed by
                         Magistrate Judge Mark A. Pizzo on 4/8/2014. (SSW) (Entered: 04/08/2014)
     04/09/2014   257    ENDORSED ORDER referring motion to Magistrate Judge for disposition:
                         238 MOTION for leave to file Reply to Regions' and Shaw's Memorandum of
                         Law Opposing Kaplan Parties' Motion for Extension of Time to Respond to
                         Discovery Pending the Court's Ruling on Kaplan Parties' Motion to Stay
                         Discovery [Dkt. filed by R1A Palms, LLC, MK Investing, LLC, BNK Smith,
                         LLC, Triple Net Exchange, LLC, Marvin I Kaplan. Signed by Judge Elizabeth
                         A. Kovachevich on 4/9/2014. (JM) Motions referred to Magistrate Judge Mark
                         A. Pizzo. (Entered: 04/09/2014)
     04/09/2014   258    MOTION for Reconsideration of Court's Order Denying Motion to Dismiss
                         Plaintiff's Amended Crossclaims and Request for Oral Argument by Charles
                         A. Starr III. (Albritton, A.) (Entered: 04/09/2014)
     04/10/2014   259    Minute Entry. Proceedings held before Magistrate Judge Mark A. Pizzo:
                         PRELIMINARY PRETRIAL CONFERENCE held on 4/10/2014. (DIGITAL)
                         (SSW) (Entered: 04/10/2014)

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     04/10/2014   260    ORDER re Rule 16 conference denying as moot 238 Motion for Leave to File.
                         Defendants must file an answer to the amended complaint (doc. 2) within
                         thirty days of this Order. The parties must file a case management report
                         within fourteen days of this Order. The parties are allowed five days to take
                         the deposition of Defendant/Counter−claimant, Marvin I. Kaplan.. Signed by
                         Magistrate Judge Mark A. Pizzo on 4/10/2014. (SSW) (Entered: 04/10/2014)
     04/14/2014   261    MOTION for leave to file Reply to Region's Reply to Kaplan Parties'
                         Response to Regions' Motion to Strike Kaplan Parties' Renewed Jury Demand
                         by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms,
                         LLC, Triple Net Exchange, LLC. (Katz, Harris) (Entered: 04/14/2014)
     04/15/2014   262    MOTION to Amend/Correct 260 Order on Motion for Leave to File (Agreed)
                         by Regions Bank. (Garbett, David) (Entered: 04/15/2014)
     04/23/2014   263    MOTION for Extension of Time to File Response/Reply as to 258 MOTION
                         for Reconsideration of Court's Order Denying Motion to Dismiss Plaintiff's
                         Amended Crossclaims and Request for Oral Argument by BNK Smith, LLC,
                         Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Katz, Harris) Motions referred to Magistrate Judge Mark A.
                         Pizzo. (Entered: 04/23/2014)
     04/24/2014   264    MOTION for Rachel K. Jones to withdraw as attorney by The Florida Bankers
                         Association, Inc.. (Colgan, Michael) (Entered: 04/24/2014)
     04/24/2014   265    MEMORANDUM in opposition re 254 Clarification filed by Regions Bank,
                         Robert Shaw. (Garbett, David) (Entered: 04/24/2014)
     04/24/2014   266    AMENDED document by Regions Bank. Second Amended Case Management
                         Report. (Perkins, Joseph) (Entered: 04/24/2014)
     04/25/2014   267    ENDORSED ORDER granting 263 Motion for Extension of Time to File
                         Response/Reply re 258 MOTION for Reconsideration of Court's Order
                         Denying Motion to Dismiss Plaintiff's Amended Crossclaims and Request for
                         Oral Argument Responses due by 5/2/2014. Signed by Magistrate Judge Mark
                         A. Pizzo on 4/25/2014. (SSW) (Entered: 04/25/2014)
     05/01/2014   268    RESPONSE to Motion re 258 MOTION for Reconsideration of Court's Order
                         Denying Motion to Dismiss Plaintiff's Amended Crossclaims and Request for
                         Oral Argument filed by BNK Smith, LLC, Marvin I Kaplan, MK Investing,
                         LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Katz, Harris) (Entered:
                         05/01/2014)
     05/01/2014   269    MOTION for leave to file Reply to Regions' and Shaw's Memorandum of Law
                         Opposing Kaplan Parties' Motion for Clarification [Dkt 265] by BNK Smith,
                         LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Katz, Harris) (Entered: 05/01/2014)
     05/08/2014   270    ANSWER to 93 Crossclaim by Wells Fargo, N.A.. Related document: 93
                         CounterclaimCrossclaim filed by R1A Palms, LLC, MK Investing, LLC, BNK
                         Smith, LLC, Triple Net Exchange, LLC, Marvin I Kaplan.(Ragusa, Mark)
                         (Entered: 05/08/2014)
     05/12/2014   271    REPLY to 93 Counterclaim , Bridgeview Bank Group's ANSWER to 93
                         Crossclaim , First CROSSCLAIM against Marvin I Kaplan, First
                         COUNTERCLAIM against BNK Smith, LLC, MK Investing, LLC, R1A
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                         Palms, LLC, Triple Net Exchange, LLC by Bridgeview Bank Group. Related
                         document: 93 CounterclaimCrossclaim filed by R1A Palms, LLC, MK
                         Investing, LLC, BNK Smith, LLC, Triple Net Exchange, LLC, Marvin I
                         Kaplan.(Ellison, Jason) (Entered: 05/12/2014)
     05/12/2014   272    ANSWER and affirmative defenses to Complaint with Jury Demand (Second
                         Amended Complaint) by BNK Smith, LLC, Marvin I Kaplan, MK Investing,
                         LLC, R1A Palms, LLC, Triple Net Exchange, LLC.(Parrish, Jon) (Entered:
                         05/12/2014)
     06/05/2014   273    MOTION for default judgment against G. Todd Smith, Gary T. Smith, Lucy
                         B. Smith, Smith Advertising & Associates, Inc. by Triple Net Exchange, LLC,
                         R1A Palms, LLC, Marvin I Kaplan, MK Investing, LLC, BNK Smith, LLC.
                         (Katz, Harris) (Entered: 06/05/2014)
     06/05/2014   274    Unopposed MOTION for Extension of Time to File Response/Reply as to 271
                         Answer to CounterclaimAnswer to Crossclaim by BNK Smith, LLC, Marvin I
                         Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC.
                         (Katz, Harris) Motions referred to Magistrate Judge Mark A. Pizzo. (Entered:
                         06/05/2014)
     06/10/2014   275    ENDORSED ORDER granting 274 Motion for Extension of Time to File
                         Response/Reply re 274 Unopposed MOTION for Extension of Time to File
                         Response/Reply as to 271 Answer to CounterclaimAnswer to Crossclaim
                         Responses due by 6/13/2014. Signed by Magistrate Judge Mark A. Pizzo on
                         6/10/2014. (SSW) (Entered: 06/10/2014)
     06/13/2014   276    MOTION to Dismiss Bridgeview Bank Group's Counterclaim and Crossclaim
                         [Dkt. 271] by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC. (Katz, Harris) (Entered: 06/13/2014)
     06/18/2014   277    Unopposed MOTION to Compel Better Responses to Cross−Plainiff, Marvin
                         I. Kaplan's 1st Request for Production from Cross Defendant, Bridgeview
                         Bank Group and Combined Memorandum of Law by Marvin I Kaplan.
                         (Attachments: # 1 Exhibit A − Kaplan's RFP to BBG, # 2 Exhibit B − BBG's
                         Response to Kaplan's RFP)(Katz, Harris) Motions referred to Magistrate Judge
                         Mark A. Pizzo. (Entered: 06/18/2014)
     06/20/2014   278    ENDORSED ORDER granting 277 Motion to Compel better responses to
                         Kaplan's first request for production from Cross−Defendant Bridgeview Bank
                         Group. Signed by Magistrate Judge Mark A. Pizzo on 6/20/2014. (SSW)
                         (Entered: 06/20/2014)
     06/20/2014   279    NOTICE of supplemental authority re 258 MOTION for Reconsideration of
                         Court's Order Denying Motion to Dismiss Plaintiff's Amended Crossclaims
                         and Request for Oral Argument by Charles A. Starr III. (Attachments: # 1
                         Exhibit U.S. ex rel Keeler v. Eisai, 2014 WL 2595592 (11th Cir. June 11,
                         2014))(Albritton, A.) (Entered: 06/20/2014)
     06/27/2014   280    RESPONSE to Motion re 276 MOTION to Dismiss Bridgeview Bank Group's
                         Counterclaim and Crossclaim [Dkt. 271] filed by Bridgeview Bank Group.
                         (Ellison, Jason) (Entered: 06/27/2014)
     07/10/2014   281    Amended REPLY to 93 Counterclaim and Affirmative Defenses by Wells
                         Fargo, N.A.. Related document: 93 CounterclaimCrossclaim filed by R1A

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                         Palms, LLC, MK Investing, LLC, BNK Smith, LLC, Triple Net Exchange,
                         LLC, Marvin I Kaplan.(Ragusa, Mark) (Entered: 07/10/2014)
     08/11/2014   282    MOTION to Compel Kaplan Parties to Provide Better Answers to
                         Interrogatories by Regions Bank, Robert Shaw. (Attachments: # 1 Exhibit Ex.
                         A − RB's First Interrogatories to Kaplan Parties, # 2 Exhibit Ex. B − Kaplan
                         Parties' Amended Answers to RB's First Interrogatories, # 3 Exhibit Ex. C −
                         Shaw's First Interrogatories to Kaplan Parties, # 4 Exhibit Ex. D − Kaplan
                         Parties' Second Amended Answers to Shaw's First Interrogatories, # 5 Exhibit
                         Ex. E − July 10, 2014 E−Mail Agreement During Pre−Filing
                         Conference)(Perkins, Joseph) Motions referred to Magistrate Judge Mark A.
                         Pizzo. Modified text on 8/12/2014 (KMB). (Entered: 08/11/2014)
     08/11/2014   283    NOTICE by Regions Bank re 190 Amended document, 202 MOTION to
                         Dismiss Second Amended Complaint , 205 Memorandum in opposition
                         Pursuant to Local Rule 3.01(h) (Perkins, Joseph) (Entered: 08/11/2014)
     08/13/2014   284    MOTION to Substitute Attorney by Bridgeview Bank Group. (Attachments: #
                         1 Exhibit A)(Ellison, Jason) (Entered: 08/13/2014)
     08/20/2014   285    MOTION to Compel Reponses to Requests for Production by Regions Bank,
                         Robert Shaw. (Attachments: # 1 Exhibit RB and Shaw's First Request for
                         Production to Kaplan Parties, # 2 Exhibit Kaplan Parties' Amended Response
                         and Objections to First RFP, # 3 Exhibit RB and Shaw's Second RFP to
                         Kaplan Parties, # 4 Exhibit Kaplan Parties Amended Responses and
                         Objections to Second RFP, # 5 Exhibit Kaplan Parties' Handwritten
                         Transaction Logs)(Perkins, Joseph) Motions referred to Magistrate Judge
                         Mark A. Pizzo. (Entered: 08/20/2014)
     08/25/2014   286    Unopposed MOTION for Extension of Time to File Response/Reply as to 282
                         MOTION to Compel Kaplan Parties to PRovide Better Answers to
                         Interrogatories by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC,
                         R1A Palms, LLC, Triple Net Exchange, LLC. (Katz, Harris) Motions referred
                         to Magistrate Judge Mark A. Pizzo. (Entered: 08/25/2014)
     08/26/2014   287    ENDORSED ORDER granting 286 Motion for Extension of Time to File
                         Response/Reply re 282 MOTION to Compel Kaplan Parties to Provide Better
                         Answers to Interrogatories Responses due by 9/8/2014. Signed by Magistrate
                         Judge Mark A. Pizzo on 8/26/2014. (SSW) (Entered: 08/26/2014)
     08/28/2014   288    NOTICE by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC of Name Change for Firm (Katz,
                         Harris) (Entered: 08/28/2014)
     09/03/2014   289    Unopposed MOTION for Extension of Time to File Response/Reply as to 285
                         MOTION to Compel Reponses to Requests for Production by BNK Smith,
                         LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Katz, Harris) Motions referred to Magistrate Judge Mark A.
                         Pizzo. (Entered: 09/03/2014)
     09/04/2014   290    ENDORSED ORDER granting 289 Motion for Extension of Time to File
                         Response/Reply re 285 MOTION to Compel Reponses to Requests for
                         Production Responses due by 9/23/2014. Signed by Magistrate Judge Mark A.
                         Pizzo on 9/4/2014. (SSW) (Entered: 09/04/2014)


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     09/08/2014   291    Unopposed MOTION for Extension of Time to File Response/Reply to
                         Regions and Shaws Motion to Compel Kaplan Parties to Provide Better
                         Answers to Interrogatories and Supporting Memorandum of Law by BNK
                         Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple
                         Net Exchange, LLC. (Katz, Harris) Motions referred to Magistrate Judge Mark
                         A. Pizzo. (Entered: 09/08/2014)
     09/12/2014   292    ENDORSED ORDER granting 291 Motion for Extension of Time to File
                         Response/Reply re 282 MOTION to Compel Kaplan Parties to Provide Better
                         Answers to Interrogatories Responses due by 9/23/2014. Signed by Magistrate
                         Judge Mark A. Pizzo on 9/12/2014. (SSW) (Entered: 09/12/2014)
     09/12/2014   293    ENDORSED ORDER granting 284 Motion to Substitute Attorney. Attorneys
                         Jason M. Ellison and William G. Lazenby are substituted as counsel of record
                         for Crossclaim Defendant Bridgeview Bank Group. Attorneys from the law
                         firm of Englander Fischer are hereby relieved of representing Crossclaim
                         Defendant Bridgeview Bank Group. Signed by Judge Elizabeth A.
                         Kovachevich on 9/12/2014. (rjm) (Entered: 09/12/2014)
     09/23/2014   294    Unopposed MOTION for Extension of Time to File Response/Reply as to 282
                         MOTION to Compel Kaplan Parties to PRovide Better Answers to
                         Interrogatories by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC,
                         R1A Palms, LLC, Triple Net Exchange, LLC. (Fraser, David) Motions
                         referred to Magistrate Judge Mark A. Pizzo. (Entered: 09/23/2014)
     09/23/2014   295    Unopposed MOTION for Extension of Time to File Response/Reply as to 285
                         MOTION to Compel Reponses to Requests for Production by BNK Smith,
                         LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Fraser, David) Motions referred to Magistrate Judge Mark
                         A. Pizzo. (Entered: 09/23/2014)
     09/25/2014   296    ENDORSED ORDER granting 294 Kaplan parties' Motion for Extension of
                         Time to File Response/Reply re 282 MOTION to Compel Kaplan Parties to
                         Provide Better Answers to Interrogatories. Responses due by 10/14/2014.
                         Signed by Magistrate Judge Mark A. Pizzo on 9/25/2014. (SSW) (Entered:
                         09/25/2014)
     09/25/2014   297    ENDORSED ORDER granting 295 Kaplan Parties' Motion for Extension of
                         Time to File Response/Reply re 285 MOTION to Compel Reponses to
                         Requests for Production. Responses due by 10/14/2014. Signed by Magistrate
                         Judge Mark A. Pizzo on 9/25/2014. (SSW) (Entered: 09/25/2014)
     09/29/2014   298    ORDER denying as moot 261 Motion for Leave to File Reply as moot;
                         granting 177 Motion to Strike 175 Jury demand. Signed by Judge Elizabeth A.
                         Kovachevich on 9/29/2014. (JM) (Entered: 09/29/2014)
     09/29/2014   299    ORDER denying as moot 206 Motion to extend time; denying as moot 214
                         Motion to Continue; denying as moot 218 Motion to extend time; denying as
                         moot 219 Motion for Leave to File; denying as moot 220 Motion for Leave to
                         File; denying as moot 223 Motion to extend time; denying as moot 234
                         Motion for Leave to File. Signed by Judge Elizabeth A. Kovachevich on
                         9/29/2014. (JM) (Entered: 09/29/2014)
     09/30/2014   300    AMENDED CASE MANAGEMENT AND SCHEDULING ORDER:
                         Discovery due by 9/15/2015, Dispositive motions due by 10/30/2015, Plaintiff

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                         disclosure of expert report due by 4/14/2015, Defendant disclosure of expert
                         report due by 4/14/2015, Final Pretrial Conference set for 4/12/2016 at 10:00
                         AM in Tampa Courtroom 11 B before Magistrate Judge Mark A. Pizzo,
                         Conduct mediation hearing by 9/15/2015. Lead counsel to coordinate dates.
                         This case is a 60 hour nonjury trial. Signed by Judge Elizabeth A.
                         Kovachevich on 9/30/2014. (JM) Modified on 10/1/2014 (LD). (Entered:
                         09/30/2014)
     09/30/2014   301    ORDER Denying 202 Defendants' Motion to Dismiss and Denying as Moot
                         208 Defendants' Motion for Leave to File Reply. See Order for details. Signed
                         by Judge Elizabeth A. Kovachevich on 9/30/2014. (jm) (Entered: 09/30/2014)
     10/06/2014   302    [TERMINATED] NOTICE by Regions Bank of Issuance of Subpoena to
                         Comcast Corp. (Attachments: # 1 Exhibit Subpoena to Comcast)(Perkins,
                         Joseph) NOTE: DOCUMENT TERMINATED PURSUANT TO LOCAL
                         RULE 3.03 − DISCOVERY. IMAGE REMOVED, COUNSEL NOTIFIED.
                         Modified on 10/7/2014 (LD). (Entered: 10/06/2014)
     10/14/2014   303    Unopposed MOTION for Extension of Time to File Response/Reply as to 285
                         MOTION to Compel Reponses to Requests for Production by BNK Smith,
                         LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Parrish, Jon) Motions referred to Magistrate Judge Mark A.
                         Pizzo. (Entered: 10/14/2014)
     10/14/2014   304    Unopposed MOTION for Extension of Time to File Response/Reply as to 282
                         MOTION to Compel Kaplan Parties to PRovide Better Answers to
                         Interrogatories by BNK Smith, LLC, Bridgeview Bank Group, Marvin I
                         Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC.
                         (Parrish, Jon) Motions referred to Magistrate Judge Mark A. Pizzo. (Entered:
                         10/14/2014)
     10/15/2014   305    ENDORSED ORDER granting 303 Motion for Extension of Time to File
                         Response/Reply re 285 ; granting 304 Motion for Extension of Time to File
                         Response/Reply re, 282 MOTION to Compel Kaplan Parties to PRovide
                         Better Answers to Interrogatories. Responses due by 10/29/2014. Signed by
                         Magistrate Judge Mark A. Pizzo on 10/15/2014. (SSW) (Entered: 10/15/2014)
     10/21/2014   306    MOTION to quash Subpoenas Duces Tecum Directed to Comcast and Motion
                         for Protective Order by Marvin I Kaplan. (Attachments: # 1 Exhibit
                         A)(Parrish, Jon) (Entered: 10/21/2014)
     10/29/2014   307    Unopposed MOTION for Extension of Time to File Response/Reply as to 282
                         MOTION to Compel Kaplan Parties to PRovide Better Answers to
                         Interrogatories and Supporting Memorandum of Law by BNK Smith, LLC,
                         Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Parrish, Jon) Motions referred to Magistrate Judge Mark A.
                         Pizzo. (Entered: 10/29/2014)
     10/29/2014   308    Unopposed MOTION for Extension of Time to File Response/Reply as to 285
                         MOTION to Compel Reponses to Requests for Production by BNK Smith,
                         LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Parrish, Jon) Motions referred to Magistrate Judge Mark A.
                         Pizzo. (Entered: 10/29/2014)
     10/30/2014   309

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                         ENDORSED ORDER granting 307 Motion for Extension of Time to File
                         Response/Reply, 282 MOTION to Compel Kaplan Parties to Provide Better
                         Answers to Interrogatories ; granting 308 Motion for Extension of Time to File
                         Response/Reply re 285 MOTION to Compel Reponses to Requests for
                         Production. Responses are due by 11/12/2014. Signed by Magistrate Judge
                         Mark A. Pizzo on 10/30/2014. (SSW) (Entered: 10/30/2014)
     11/04/2014   310    NOTICE of unavailability of counsel by Regions Bank, Robert Shaw from
                         11/18/14 to 12/7/14. (Perkins, Joseph) (Entered: 11/04/2014)
     11/04/2014   311    ENDORSED ORDER granting 264 Motion to Withdraw as Attorney Attorney
                         Rachel K. Jones terminated. Signed by Judge Elizabeth A. Kovachevich on
                         11/4/2014. (JM) (Entered: 11/04/2014)
     11/06/2014   312    MOTION to stay re 306 MOTION to quash Subpoenas Duces Tecum Directed
                         to Comcast and Motion for Protective Order or Alternatively, MOTION to
                         extend time to December 19, 2014 to Rerspond by Regions Bank.
                         (Attachments: # 1 Exhibit A − 10/8/14 Amended Notice of Issuance of
                         Subpoena to Comcast, # 2 Exhibit B − 10/13/14 Fax Response from
                         Comcast)(Perkins, Joseph) (Entered: 11/06/2014)
     11/12/2014   313    MOTION to extend time to respond to Regions and Shaw's Motion to Compel
                         Kaplan Parties to Provide Better Answers to Interrogatories and Supporting
                         Memorandum of Law [Doc 282] by BNK Smith, LLC, Marvin I Kaplan, MK
                         Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Parrish, Jon)
                         (Entered: 11/12/2014)
     11/12/2014   314    MOTION to extend time to Respond to Regions' and Shaw's Motion to
                         Compel Against Kaplan Parties' with Respect to Requests for Production 285
                         by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms,
                         LLC, Triple Net Exchange, LLC. (Parrish, Jon) (Entered: 11/12/2014)
     11/13/2014   315    ENDORSED ORDER granting 313 Motion to extend time to respond to
                         Regions and Shaw's Motion to Compel Kaplan Parties to Provide Better
                         Answers to Interrogatories (doc. 282). Responses are due by November 19,
                         2014. Signed by Magistrate Judge Mark A. Pizzo on 11/13/2014. (SSW)
                         (Entered: 11/13/2014)
     11/13/2014   316    ENDORSED ORDER granting 314 Motion to extend time to Response to
                         Regions's and Shaw's motion to Compel Kaplan Parties to response to request
                         for production (doc. 285). Responses are due by November 19, 2014. Signed
                         by Magistrate Judge Mark A. Pizzo on 11/13/2014. (SSW) (Entered:
                         11/13/2014)
     11/19/2014   317    NOTICE OF SELECTION of Jim Nulman as mediator by Regions Bank.
                         (Perkins, Joseph) (Entered: 11/19/2014)
     11/19/2014   318    Unopposed MOTION to extend time to Respond to Regions' and Shaw's
                         Motion to Compel Against Kaplan Parties' with Respect to Requests for
                         Production [Doc 285] by BNK Smith, LLC, Marvin I Kaplan, MK Investing,
                         LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Parrish, Jon) (Entered:
                         11/19/2014)
     11/19/2014   319    Unopposed MOTION to extend time to Respond to Regions and Shaw's
                         Motion to Compel Kaplan Parties to Provide Better Answers to Interrogatories

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                         and Supporting Memorandum of Law [Doc 282] by BNK Smith, LLC, Marvin
                         I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC.
                         (Parrish, Jon) (Entered: 11/19/2014)
     12/03/2014   320    MOTION for Extension of Time to File Response/Reply as to 282 MOTION
                         to Compel Kaplan Parties to PRovide Better Answers to Interrogatories by
                         BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC,
                         Triple Net Exchange, LLC. (Parrish, Jon) Motions referred to Magistrate
                         Judge Mark A. Pizzo. (Entered: 12/03/2014)
     12/03/2014   321    MOTION for Extension of Time to File Response/Reply as to 285 MOTION
                         to Compel Reponses to Requests for Production by BNK Smith, LLC, Marvin
                         I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC.
                         (Parrish, Jon) Motions referred to Magistrate Judge Mark A. Pizzo. (Entered:
                         12/03/2014)
     12/04/2014   322    ENDORSED ORDER granting 320 Motion for Extension of Time to File
                         Response/Reply re 282 MOTION to Compel Kaplan Parties to Provide Better
                         Answers to Interrogatories. Responses due by 12/10/2014. Signed by
                         Magistrate Judge Mark A. Pizzo on 12/4/2014. (SSW) (Entered: 12/04/2014)
     12/04/2014   323    ENDORSED ORDER granting 321 Motion for Extension of Time to File
                         Response/Reply re 285 MOTION to Compel Reponses to Requests for
                         Production. Responses due by 12/10/2014. Signed by Magistrate Judge Mark
                         A. Pizzo on 12/4/2014. (SSW) (Entered: 12/04/2014)
     12/10/2014   324    Unopposed MOTION for Extension of Time to File Response/Reply as to 282
                         MOTION to Compel Kaplan Parties to PRovide Better Answers to
                         Interrogatories by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC,
                         R1A Palms, LLC, Triple Net Exchange, LLC. (Parrish, Jon) Motions referred
                         to Magistrate Judge Mark A. Pizzo. (Entered: 12/10/2014)
     12/10/2014   325    Unopposed MOTION for Extension of Time to File Response/Reply as to 285
                         MOTION to Compel Reponses to Requests for Production by BNK Smith,
                         LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Parrish, Jon) Motions referred to Magistrate Judge Mark A.
                         Pizzo. (Entered: 12/10/2014)
     12/10/2014   326    NOTICE of hearing: Status Conference set for 12/19/2014 at 11:00 AM in
                         Tampa Courtroom 11 B before Magistrate Judge Mark A. Pizzo (SSW)
                         (Entered: 12/10/2014)
     12/10/2014   327    NOTICE OF RESCHEDULING HEARING (AS TO TIME): The Status
                         Hearing hearing previously scheduled for 12/19/14 is rescheduled. New
                         hearing time: Status Conference set for 12/19/2014 at 10:30 AM in Tampa
                         Courtroom 11 B before Magistrate Judge Mark A. Pizzo. The parties may
                         attend by telephone. See Notice for instructions. (SSW) (Entered: 12/10/2014)
     12/17/2014   328    RESPONSE to Motion re 285 MOTION to Compel Reponses to Requests for
                         Production filed by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC,
                         R1A Palms, LLC, Triple Net Exchange, LLC. (Attachments: # 1 Exhibit A, #
                         2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D)(Parrish, Jon) (Entered: 12/17/2014)
     12/17/2014   329    RESPONSE to Motion re 282 MOTION to Compel Kaplan Parties to PRovide
                         Better Answers to Interrogatories and Supporting Memorandum of Law filed

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                         by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms,
                         LLC, Triple Net Exchange, LLC. (Attachments: # 1 Exhibit A, # 2 Exhibit B,
                         # 3 Exhibit C, # 4 Exhibit D)(Parrish, Jon) (Entered: 12/17/2014)
     12/18/2014   330    ENDORSED ORDER denying as moot 318 Motion to extend time. Signed by
                         Magistrate Judge Mark A. Pizzo on 12/18/2014. (SSW) (Entered: 12/18/2014)
     12/18/2014   331    ENDORSED ORDER denying as moot 319 Motion to extend time. Signed by
                         Magistrate Judge Mark A. Pizzo on 12/18/2014. (SSW) (Entered: 12/18/2014)
     12/18/2014   332    ENDORSED ORDER denying as moot 324 Motion for Extension of Time to
                         File Response/Reply. Signed by Magistrate Judge Mark A. Pizzo on
                         12/18/2014. (SSW) (Entered: 12/18/2014)
     12/18/2014   333    ENDORSED ORDER denying as moot 325 Motion for Extension of Time to
                         File Response/Reply. Signed by Magistrate Judge Mark A. Pizzo on
                         12/18/2014. (SSW) (Entered: 12/18/2014)
     12/19/2014   334    Minute Entry. Proceedings held before Magistrate Judge Mark A. Pizzo:
                         STATUS CONFERENCE held on 12/19/2014. (DIGITAL) (SSW) (Entered:
                         12/19/2014)
     12/19/2014   335    ORDER granting in part and denying in part 282 Motion to Compel better
                         answers to interrogatories; granting in part and denying in part 285 Motion to
                         Compel with respect to request for production. The Kaplan Parties are to
                         provide a supplemental response to Regions' interrogatory number 7 and a
                         privilege log (if claiming a privilege as to any document) within thirty (30)
                         days from the date of this Order. Signed by Magistrate Judge Mark A. Pizzo
                         on 12/19/2014. (SSW) (Entered: 12/19/2014)
     12/23/2014   336    MOTION to Compel Kaplan Parties to Produce Documents and Answers to
                         Interrogatories Nos. 3−8 and 11−13 and Memorandum of Law in Support by
                         Wells Fargo, N.A.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C,
                         # 4 Exhibit D, # 5 Exhibit E)(Ragusa, Mark) Motions referred to Magistrate
                         Judge Mark A. Pizzo. (Entered: 12/23/2014)
     01/06/2015   337    RESPONSE in Opposition re 336 MOTION to Compel Kaplan Parties to
                         Produce Documents and Answers to Interrogatories Nos. 3−8 and 11−13 and
                         Memorandum of Law in Support filed by BNK Smith, LLC, Marvin I Kaplan,
                         MK Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC.
                         (Attachments: # 1 Exhibit A (1 of 5), # 2 Exhibit A (2 of 5), # 3 Exhibit A (3
                         of 5), # 4 Exhibit A (4 of 5), # 5 Exhibit A (5 of 5))(Parrish, Jon) (Entered:
                         01/06/2015)
     01/12/2015   338    ORDER granting 336 Motion to Compel the Kaplan Parties to produce
                         documents and answers to interrogatories nos. 3−8 and 11−13. See Order for
                         details. Signed by Magistrate Judge Mark A. Pizzo on 1/12/2015. (SSW)
                         (Entered: 01/12/2015)
     01/19/2015   339    NOTICE of compliance re 335 Order on motion to compel by BNK Smith,
                         LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC (Parrish, Jon) (Entered: 01/19/2015)
     01/20/2015   340    NOTICE by The Florida Bankers Association, Inc. of Law Firm Name Change
                         and Amended Designation of Primaryy and Secondary E−Mail Addresses
                         (Colgan, Michael) (Entered: 01/20/2015)
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     02/11/2015   341    NOTICE of compliance re 338 Order on motion to compel, 335 Order on
                         motion to compel by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC,
                         R1A Palms, LLC, Triple Net Exchange, LLC (Parrish, Jon) (Entered:
                         02/11/2015)
     02/11/2015   342    NOTICE by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC of Service of Privilege Log by Kaplan
                         Parties (Parrish, Jon) (Entered: 02/11/2015)
     02/18/2015   343    NOTICE by Regions Bank re 265 Memorandum in opposition, 254 MOTION
                         for clarification of Order Granting Regions and Shaw's Motion to Dismiss
                         Count XXI of the Amended Counterclaim/Crossclaim [Dkt. 244] and
                         Combined Memorandum of Law L.R. 3.01(h) Notice (Perkins, Joseph)
                         (Entered: 02/18/2015)
     03/02/2015   344    {TERMINATED} NOTICE by Regions Bank of Service of Answers to
                         Kaplan's First Set of Interrogatories (Perkins, Joseph) NOTE: DOCUMENT
                         TERMINATED PURSUANT TO LOCAL RULE 3.03 − DISCOVERY.
                         IMAGE REMOVED, COUNSEL NOTIFIED. Modified on 3/3/2015 (LD).
                         (Entered: 03/02/2015)
     03/02/2015   345    NOTICE of Appearance by Jason Paul Stearns on behalf of Charles A. Starr
                         III (Stearns, Jason) (Entered: 03/02/2015)
     03/24/2015   346    ORDER granting 273 Motion for Final Default Judgment in favor of
                         Crossclaimants Marvin I. Kaplan, Triple Net Exchange, LLC, MK Investing,
                         LLC and BNK Smith LLC against G. Todd Smith, Gary T. Smith, Lucy B.
                         Smith andSmith Advertising & Associates, Inc. The Clerk of Court shall enter
                         a Final Default Judgment as to liability and entitlement to damages; the Court
                         reserves jurisdiction to determine the amount of damages. Signed by Judge
                         Elizabeth A. Kovachevich on 3/24/2015. (JM) (Entered: 03/24/2015)
     03/24/2015   347    ENDORSED ORDER denying as moot 240 Motion for Extension of Time to
                         Complete Discovery (seeking to extend expert disclosure deadline); the
                         amended case management order (Dkt. 300) sets the pretrial deadlines for this
                         case. Signed by Judge Elizabeth A. Kovachevich on 3/24/2015. (JM) (Entered:
                         03/24/2015)
     03/24/2015   348    ENDORSED ORDER granting 262 motion to amend/correct Order to reflect
                         response to the Second Amended Complaint (Dkt. 190). Signed by Judge
                         Elizabeth A. Kovachevich on 3/24/2015. (JM) (Entered: 03/24/2015)
     03/25/2015   349    DEFAULT JUDGMENT against G. Todd Smith, Gary T. Smith, Lucy B.
                         Smith, and Smith Advertising & Associates, Inc..(Signed by Deputy Clerk)
                         (LD) (Entered: 03/25/2015)
     03/30/2015   350    ORDER denying 254 Motion for clarification. Signed by Judge Elizabeth A.
                         Kovachevich on 3/30/2015. (JM) (Entered: 03/30/2015)
     03/30/2015   351    ORDER granting in part and denying in part 258 Motion for Reconsideration
                         re 244 Order on Motion to StrikeOrder on motion to dismissOrder on Motion
                         for Sanctions. See Order for details. Signed by Judge Elizabeth A.
                         Kovachevich on 3/30/2015. (JM) (Entered: 03/30/2015)
     03/30/2015   352    ENDORSED ORDER denying as moot 269 Motion for Leave to File Reply to
                         response to Motion for Clarification. Signed by Judge Elizabeth A.
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                         Kovachevich on 3/30/2015. (JM) (Entered: 03/30/2015)
     03/30/2015   353    ORDER granting 276 motion to dismiss Counterclaim and Crossclaim of
                         Bridgeview Bank Group. Signed by Judge Elizabeth A. Kovachevich on
                         3/30/2015. (JM) (Entered: 03/30/2015)
     04/01/2015   354    NOTICE by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC of Substitution of Counsel (Parrish,
                         Jon) (Entered: 04/01/2015)
     04/10/2015   355    MOTION for Extension of Time to File Response/Reply as to 93
                         CounterclaimCrossclaim (Stipulated) by Charles A. Starr III. (Pellenbarg,
                         Eric) Motions referred to Magistrate Judge Mark A. Pizzo. (Entered:
                         04/10/2015)
     04/10/2015   356    ENDORSED ORDER granting 355 Motion for Extension of Time to File
                         Response/Reply to amended crossclaims. Charles Larry Starr III's
                         response is due on or before April 23, 2015. Signed by Magistrate Judge
                         Mark A. Pizzo on 4/10/2015. (SSW) (Entered: 04/10/2015)
     04/13/2015   357    ENDORSED ORDER re 306 MOTION to quash Subpoenas Duces Tecum
                         Directed to Comcast and Motion for Protective Order filed by Marvin I
                         Kaplan, 312 MOTION to stay re 306 MOTION to quash Subpoenas
                         Duces Tecum Directed to Comcast and Motion for Protective Order or
                         Alternatively MOTION to extend time to December 19, 2014 to Rerspond
                         filed by Regions Bank, directing the parties to notify the Court whether
                         the motions are moot or require further consideration, by filing a
                         response to this Order within seven days Signed by Judge Elizabeth A.
                         Kovachevich on 4/13/2015. (JM) (Entered: 04/13/2015)
     04/13/2015   358    MOTION for Attorney Fees by Marvin I Kaplan. (Attachments: # 1 Affidavit
                         of Attorney's Fees and Costs)(Parrish, Jon) (Entered: 04/13/2015)
     04/14/2015   359    MOTION to extend time to to file Defendant's Expert Disclosure by Marvin I
                         Kaplan. (Parrish, Jon) (Entered: 04/14/2015)
     04/17/2015   360    MOTION for Reconsideration re 244 Order on Motion to StrikeOrder on
                         motion to dismissOrder on Motion for Sanctions by Bridgeview Bank Group.
                         (Ellison, Jason) (Entered: 04/17/2015)
     04/17/2015   361    NOTICE by Regions Bank re 306 MOTION to quash Subpoenas Duces
                         Tecum Directed to Comcast and Motion for Protective Order, 312 MOTION
                         to stay re 306 MOTION to quash Subpoenas Duces Tecum Directed to
                         Comcast and Motion for Protective Order or Alternatively MOTION to extend
                         time to December 19, 2014 to Rerspond (Perkins, Joseph) (Entered:
                         04/17/2015)
     04/17/2015   362    ENDORSED ORDER denying as moot 306 Motion to Quash; denying as
                         moot 312 motion to stay; denying as moot 312 Motion to extend time.
                         Signed by Judge Elizabeth A. Kovachevich on 4/17/2015. (JM) (Entered:
                         04/17/2015)
     04/22/2015   363    {TERMINATED} Supplemental MOTION for Extension of Time to File
                         Expert Disclosure by BNK Smith, LLC, Marvin I Kaplan, MK Investing,
                         LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Parrish, Jon) NOTE:
                         COUNSEL NOTIFIED TO RE−FILE WITH PROPER ATTORNEY LOG IN
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                         Modified on 4/23/2015 (LD). (Entered: 04/22/2015)
     04/23/2015   364    Supplemental MOTION for Extension of Time to File Expert Disclosure by
                         BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC,
                         Triple Net Exchange, LLC. (Parrish, Jon) (Entered: 04/23/2015)
     04/23/2015   365    Charles Larry Starr, III's Answer and Defenses to the Investment Companies'
                         Amended Counterclaim and Crossclaims REPLY to 93 Counterclaim ,
                         ANSWER to 93 Crossclaim by Charles A. Starr III. Related document: 93
                         CounterclaimCrossclaim filed by R1A Palms, LLC, MK Investing, LLC, BNK
                         Smith, LLC, Triple Net Exchange, LLC, Marvin I Kaplan.(Stearns, Jason)
                         (Entered: 04/23/2015)
     04/23/2015   366    MOTION for judgment on the pleadings (Crossclaim Defendant Starr's
                         Dispositive Motion for Judgment on the Pleadings as to Count II of the
                         Amended Crossclaim) by Charles A. Starr III. (Stearns, Jason) (Entered:
                         04/23/2015)
     04/23/2015   367    REQUEST for oral argument re 366 MOTION for judgment on the pleadings
                         (Crossclaim Defendant Starr's Dispositive Motion for Judgment on the
                         Pleadings as to Count II of the Amended Crossclaim) (Crossclaim Defendant
                         Starr's Request for Oral Argument on Dispositive Motion for Judgment on the
                         Pleadings as to Count II of the Amended Crossclaim) by Charles A. Starr III.
                         (Stearns, Jason) (Entered: 04/23/2015)
     04/24/2015   368    RESPONSE in Opposition re 364 Supplemental MOTION for Extension of
                         Time to File Expert Disclosure , 359 MOTION to extend time to to file
                         Defendant's Expert Disclosure filed by Wells Fargo, N.A.. (Attachments: # 1
                         Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)(Ragusa, Mark) (Entered: 04/24/2015)
     04/24/2015   369    RESPONSE in Opposition re 358 MOTION for Attorney Fees filed by
                         Bridgeview Bank Group. (Ellison, Jason) (Entered: 04/24/2015)
     04/24/2015   370    MOTION to Strike or Exclude Kaplan Parties' Expert Witnesses filed by
                         Wells Fargo, N.A.. (Ragusa, Mark) Motions referred to Magistrate Judge
                         Mark A. Pizzo. (Entered: 04/24/2015)
     04/30/2015   371    MOTION for Extension of Time to File Response/Reply as to 360 MOTION
                         for Reconsideration re 244 Order on Motion to StrikeOrder on motion to
                         dismissOrder on Motion for Sanctions by Marvin I Kaplan. (Parrish, Jon)
                         Motions referred to Magistrate Judge Mark A. Pizzo. (Entered: 04/30/2015)
     05/04/2015   372    SECOND AMENDED CASE MANAGEMENT AND SCHEDULING
                         ORDER: Discovery due by 5/29/2015, Dispositive motions due by
                         6/12/2015, Responses to be filed within seven days of the dispositive
                         motion; Conduct mediation hearing by 5/29/2015. Lead counsel to
                         coordinate dates. The pretrial conference and trial will be rescheduled in
                         a separate order. Signed by Judge Elizabeth A. Kovachevich on 5/4/2015.
                         (JM) (Entered: 05/04/2015)
     05/06/2015   373    ENDORSED ORDER granting 371 Motion for Extension of Time to File
                         Response/Reply. Responses due by 5/11/2015. Signed by Judge Elizabeth
                         A. Kovachevich on 5/6/2015. (JM) (Entered: 05/06/2015)
     05/07/2015   374    RESPONSE in Opposition re 366 MOTION for judgment on the pleadings
                         (Crossclaim Defendant Starr's Dispositive Motion for Judgment on the
                                                                                                        59
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                         Pleadings as to Count II of the Amended Crossclaim) filed by Marvin I
                         Kaplan. (Peterson, Donald) (Entered: 05/07/2015)
     05/08/2015   375    ORDER denying 359 Motion to extend time; denying 364 Motion for
                         Extension of Time to File; denying without prejudice 370 Motion to
                         Strike; directing Kaplan Parties to make complete expert disclosures by
                         May 15, 2015. Signed by Judge Elizabeth A. Kovachevich on 5/8/2015.
                         (JM) (Entered: 05/08/2015)
     05/11/2015   376    CONSENT to trial by U.S. Magistrate Judge by Regions Bank. (Perkins,
                         Joseph) (Entered: 05/11/2015)
     05/11/2015   377    RESPONSE in Opposition re 360 MOTION for Reconsideration re 244 Order
                         on Motion to StrikeOrder on motion to dismissOrder on Motion for Sanctions
                         filed by Marvin I Kaplan. (Parrish, Jon) (Entered: 05/11/2015)
     05/14/2015   378    ORDER granting 360 Motion for Reconsideration re 244 Order on
                         Motion to Strike, Order on motion to dismiss, Order on Motion for
                         Sanctions; dismissing Counts IV, V, VI, VII of Amended
                         Counterclaim/Crossclaims (Dkt. 93) as to Bridgeview Bank Group. Signed
                         by Judge Elizabeth A. Kovachevich on 5/14/2015. (JM) (Entered:
                         05/14/2015)
     05/14/2015   379    NOTICE of hearing: Telephone Status Conference Hearing set for 5/14/2015
                         at 02:00 PM in Tampa Chambers 14 A before Judge Elizabeth A.
                         Kovachevich. (CLM) (Entered: 05/14/2015)
     05/14/2015   380    Minute Entry. Proceedings held before Judge Elizabeth A. Kovachevich:
                         TELEPHONE STATUS CONFERENCE HEARING held on 5/14/2015. Court
                         Reporter: Sandra K. Provenzano (CLM) (Entered: 05/14/2015)
     05/15/2015   381    ORDER denying 366 Motion for Judgment on the Pleadings. Signed by
                         Judge Elizabeth A. Kovachevich on 5/15/2015. (JM) (Entered: 05/15/2015)
     05/15/2015   382    NOTICE by Marvin I Kaplan of Filing Expert Witness Report (Peterson,
                         Donald) (Entered: 05/15/2015)
     05/18/2015   383    {TERMINATED} NOTICE by BNK Smith, LLC, Marvin I Kaplan, MK
                         Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC (Peterson,
                         Donald) NOTE: DOCUMENT TERMINATED PURSUANT TO LOCAL
                         RULE 3.03 − DISCOVERY. IMAGE REMOVED, COUNSEL NOTIFIED.
                         Modified on 5/19/2015 (LD). (Entered: 05/18/2015)
     05/18/2015   384    {TERMINATED} NOTICE by BNK Smith, LLC, Marvin I Kaplan, MK
                         Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC (Peterson,
                         Donald) NOTE: DOCUMENT TERMINATED PURSUANT TO LOCAL
                         RULE 3.03 − DISCOVERY. IMAGE REMOVED, COUNSEL NOTIFIED.
                         Modified on 5/19/2015 (LD). (Entered: 05/18/2015)
     05/18/2015   385    {TERMINATED} NOTICE by BNK Smith, LLC, Marvin I Kaplan, MK
                         Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC (Peterson,
                         Donald) Modified on 5/19/2015 (LD). (Entered: 05/18/2015)
     05/18/2015   386    {TERMINATED} NOTICE by BNK Smith, LLC, Marvin I Kaplan, MK
                         Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC (Peterson,
                         Donald) NOTE: DOCUMENT TERMINATED PURSUANT TO LOCAL

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                         RULE 3.03 − DISCOVERY. IMAGE REMOVED, COUNSEL NOTIFIED.
                         Modified on 5/19/2015 (LD). (Entered: 05/18/2015)
     05/18/2015   387    {TERMINATED} NOTICE by BNK Smith, LLC, Marvin I Kaplan, MK
                         Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC NOTE:
                         DOCUMENT TERMINATED PURSUANT TO LOCAL RULE 3.03 −
                         DISCOVERY. IMAGE REMOVED, COUNSEL NOTIFIED. (Peterson,
                         Donald) Modified on 5/19/2015 (LD). (Entered: 05/18/2015)
     05/20/2015   388    ANSWER to 93 Crossclaim by Regions Bank. Related document: 93
                         CounterclaimCrossclaim filed by R1A Palms, LLC, MK Investing, LLC, BNK
                         Smith, LLC, Triple Net Exchange, LLC, Marvin I Kaplan.(Garbett, David)
                         (Entered: 05/20/2015)
     05/21/2015   389    MOTION to Compel Discovery Responses and for Sanctions by Marvin I
                         Kaplan. (Peterson, Donald) Motions referred to Magistrate Judge Mark A.
                         Pizzo. (Entered: 05/21/2015)
     05/21/2015   390    NOTICE by Marvin I Kaplan of Service of Expert Witness Report (Peterson,
                         Donald) (Entered: 05/21/2015)
     05/22/2015   391    CASE MANAGEMENT REPORT. (Perkins, Joseph) (Entered: 05/22/2015)
     05/22/2015   392    AMENDED THIRD AMENDED CASE MANAGEMENT REPORT.
                         (Perkins, Joseph) Modified on 5/26/2015 to edit text. (AG) (Entered:
                         05/22/2015)
     05/26/2015   393    NOTICE by Charles A. Starr III of Joinder to Agreed Motion for Protective
                         Order Regarding Confidential Information (Pellenbarg, Eric) (Entered:
                         05/26/2015)
     05/27/2015   394    THIRD AMENDED CASE MANAGEMENT AND SCHEDULING
                         ORDER: Discovery due by 9/15/2015, Dispositive motions due by
                         11/16/2015, Final Pretrial Conference set for 4/12/2016 at 10:00 AM in
                         Tampa Courtroom 11 B before Magistrate Judge Mark A. Pizzo, Conduct
                         mediation hearing by 9/15/2015. Lead counsel to coordinate dates. This
                         case is a 60 hour trial which includes nonjury claims and jury claims.
                         Signed by Judge Elizabeth A. Kovachevich on 5/27/2015. (JM) (Entered:
                         05/27/2015)
     06/01/2015   395    AMENDED ANSWER to and Defenses to 93 CounterclaimCrossclaim of
                         Kaplan Parties' filed by Regions Bank. (Garbett, David) (Entered:
                         06/01/2015)
     06/03/2015   396    NOTICE by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC (Peterson, Donald) (Entered:
                         06/03/2015)
     06/05/2015   397    Emergency MOTION to Compel Discovery Responses by Marvin I Kaplan.
                         (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Parrish, Jon) Motions referred to
                         Magistrate Judge Mark A. Pizzo. (Entered: 06/05/2015)
     06/08/2015   398    ORDER directing Charles A. Starr III to file expedited response to 397
                         Emergency MOTION to Compel Discovery Responses . Responses due by
                         6/12/2015. Signed by Magistrate Judge Mark A. Pizzo on 6/8/2015. (SSW)
                         (Entered: 06/08/2015)

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     06/08/2015   399    MOTION for Extension of Time to File Response/Reply as to 389 MOTION
                         to Compel Discovery Responses and for Sanctions Agreed Motion by Regions
                         Bank. (Perkins, Joseph) Motions referred to Magistrate Judge Mark A. Pizzo.
                         (Entered: 06/08/2015)
     06/08/2015   400    MOTION to Compel Discovery Responses by Marvin I Kaplan. (Parrish, Jon)
                         Motions referred to Magistrate Judge Mark A. Pizzo. (Entered: 06/08/2015)
     06/09/2015   401    ENDORSED ORDER granting 399 Motion for Extension of Time to File
                         Response/Reply re 389 MOTION to Compel Discovery Responses and for
                         Sanctions. Regions's Bank's Response is due by 6/15/2015. Signed by
                         Magistrate Judge Mark A. Pizzo on 6/9/2015. (SSW) (Entered: 06/09/2015)
     06/12/2015   402    RESPONSE to Motion re 397 Emergency MOTION to Compel Discovery
                         Responses filed by Charles A. Starr III. (Attachments: # 1 Exhibit A, # 2
                         Exhibit B, # 3 Exhibit C)(Pellenbarg, Eric) (Entered: 06/12/2015)
     06/12/2015   403    MOTION for protective order by Charles A. Starr III. (Attachments: # 1
                         Exhibit A)(Pellenbarg, Eric) Motions referred to Magistrate Judge Mark A.
                         Pizzo. (Entered: 06/12/2015)
     06/15/2015   404    NOTICE of hearing on motion re 403 MOTION for protective order , 397
                         Emergency MOTION to Compel Discovery Responses . Motion Hearing set
                         for 6/18/2015 at 11:00 AM in Tampa Courtroom 11 B before Magistrate Judge
                         Mark A. Pizzo. (SSW) (Entered: 06/15/2015)
     06/15/2015   405    ORDER directing Marvin I Kaplan to file an expedited response to 403
                         MOTION for protective order . Responses due by 6/17/2015 at 5:00 p.m.
                         Signed by Magistrate Judge Mark A. Pizzo on 6/15/2015. (SSW) (Entered:
                         06/15/2015)
     06/15/2015   406    AMENDED NOTICE of hearing on motion re 403 MOTION for protective
                         order , 397 Emergency MOTION to Compel Discovery Responses . Motion
                         Hearing set for 6/18/2015 at 11:00 AM in Tampa Courtroom 11 B before
                         Magistrate Judge Mark A. Pizzo. Amended only to allow the parties to
                         participate by telephone if needed.(SSW) (Entered: 06/15/2015)
     06/15/2015   407    MEMORANDUM in opposition re 389 Motion to Compel filed by Regions
                         Bank. (Perkins, Joseph) (Entered: 06/15/2015)
     06/15/2015   408    NOTICE by Bridgeview Bank Group of Serving Rebuttal Expert Report
                         (Ellison, Jason) (Entered: 06/15/2015)
     06/16/2015   409    MOTION for to withdraw as attorney of Record by Marvin I Kaplan.
                         (Peterson, Donald) (Entered: 06/16/2015)
     06/16/2015   410    MOTION for to withdraw as attorney of Record by Marvin I Kaplan.
                         (Peterson, Donald) (Entered: 06/16/2015)
     06/17/2015   411    RESPONSE to Motion re 403 MOTION for protective order filed by Marvin I
                         Kaplan. (Parrish, Jon) (Entered: 06/17/2015)
     06/18/2015   412    Minute Entry. Proceedings held before Magistrate Judge Mark A. Pizzo:
                         MOTION HEARING held on 6/18/2015 re 397 Emergency MOTION to
                         Compel Discovery Responses filed by Marvin I Kaplan, 403 MOTION for
                         protective order filed by Charles A. Starr III. (DIGITAL) (SSW) (Entered:

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                         06/18/2015)
     06/18/2015   413    ORDER denying 397 Motion to Compel discovery responses; granting
                         403 Motion for Protective Order. Kaplan is to supplement and narrow his
                         discovery requests (limited to five requests) within five days of this Order.
                         Starr is to provide his responses and objections within 14 days after
                         receiving Kaplan's requests. Signed by Magistrate Judge Mark A. Pizzo
                         on 6/18/2015. (SSW) (Entered: 06/18/2015)
     06/19/2015   414    MEMORANDUM in opposition re 400 Motion to Compel filed by
                         Bridgeview Bank Group. (Ellison, Jason) (Entered: 06/19/2015)
     06/23/2015   415    {TERMINATED} MOTION for leave to file Reply to Regions' Response to
                         Kaplan's Motion to Compel Production by Marvin I Kaplan. (Parrish, Jon)
                         NOTE: Incorrect log in; counsel notified. Modified on 6/24/2015 (LD).
                         (Entered: 06/23/2015)
     06/24/2015   416    MOTION for leave to file Reply to Regions' Response to Kaplan's Motion to
                         Compel Production by Marvin I Kaplan. (Peterson, Donald) (Entered:
                         06/24/2015)
     06/29/2015   417    Unopposed MOTION to extend time to Respond to Marvin Kaplan's
                         Interrogatories and Request for Production by Wells Fargo, N.A.. (Ragusa,
                         Mark) (Entered: 06/29/2015)
     06/29/2015   418    STIPULATION Regarding Marvin Kaplan's Individual Claims Against Wells
                         Fargo Bank,N.A. Only by Marvin I Kaplan. (Parrish, Jon) (Entered:
                         06/29/2015)
     07/01/2015   419    NOTICE of hearing on motion re 400 MOTION to Compel Discovery
                         Responses , 389 MOTION to Compel Discovery Responses and for Sanctions.
                         Motion Hearing set for 7/10/2015 at 10:00 AM in Tampa Courtroom 11 B
                         before Magistrate Judge Mark A. Pizzo. (SSW) (Entered: 07/01/2015)
     07/01/2015   420    NOTICE OF RESCHEDULING HEARING: The motion to compel hearing
                         previously scheduled for 7/10/15 is rescheduled. New scheduling date and
                         time: Motion Hearing set for 7/15/2015 at 10:00 AM in Tampa Courtroom 11
                         B before Magistrate Judge Mark A. Pizzo. (SSW) (Entered: 07/01/2015)
     07/06/2015   421    Unopposed MOTION for Pellenbarg to withdraw as attorney for Charles
                         Larry Starr III by Charles A. Starr III. (Pellenbarg, Eric) (Entered:
                         07/06/2015)
     07/10/2015   422    ENDORSED ORDER granting 421 Unopposed Motion to Withdraw as
                         Attorney. Attorney Eric Robert Pellenbarg terminated. Signed by Judge
                         Elizabeth A. Kovachevich on 7/10/2015. (JM) (Entered: 07/10/2015)
     07/10/2015   423    ENDORSED ORDER referring motions to Magistrate Judge for
                         disposition: 417 Unopposed MOTION to extend time to Respond to
                         Marvin Kaplan's Interrogatories and Request for Production filed by
                         Wells Fargo, N.A., 416 MOTION for leave to file Reply to Regions'
                         Response to Kaplan's Motion to Compel Production filed by Marvin I
                         Kaplan. Signed by Judge Elizabeth A. Kovachevich on 7/10/2015. (JM)
                         Motions referred to Magistrate Judge Mark A. Pizzo. (Entered:
                         07/10/2015)

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     07/10/2015   424    ENDORSED ORDER granting 409 Motion to Withdraw as Attorney.
                         Attorneys Harris B. Katz and Kirt R. Posthuma terminated. Signed by
                         Judge Elizabeth A. Kovachevich on 7/10/2015. (JM) (Entered: 07/10/2015)
     07/10/2015   425    ENDORSED ORDER granting 410 Motion to Withdraw as Attorney.
                         Attorneys Floyd S. Yarnell; David P. Fraser and Ellen B. Newberry
                         terminated. Signed by Judge Elizabeth A. Kovachevich on 7/10/2015.
                         (JM) (Entered: 07/10/2015)
     07/13/2015   426    ENDORSED ORDER granting 416 Motion for Leave to File reply to
                         Regions's Response to Kaplan's Motion to Compel Production. Signed by
                         Magistrate Judge Mark A. Pizzo on 7/13/2015. (SSW) (Entered:
                         07/13/2015)
     07/13/2015   427    REPLY to Response to Motion re 389 MOTION to Compel Discovery
                         Responses and for Sanctions filed by Marvin I Kaplan. (Parrish, Jon) (Entered:
                         07/13/2015)
     07/13/2015   428    ENDORSED ORDER granting 417 Motion to extend time. Wells Fargo's
                         responses to Kaplan's interrogatories and request for production are due
                         on or before August 6, 2015. Signed by Magistrate Judge Mark A. Pizzo
                         on 7/13/2015. (SSW) (Entered: 07/13/2015)
     07/15/2015   429    Minute Entry. Proceedings held before Magistrate Judge Mark A. Pizzo:
                         MOTION HEARING held on 7/15/2015 re 400 MOTION to Compel
                         Discovery Responses filed by Marvin I Kaplan, 389 MOTION to Compel
                         Discovery Responses and for Sanctions filed by Marvin I Kaplan. (DIGITAL)
                         (SSW) (Entered: 07/15/2015)
     07/15/2015   430    ORDER granting in part and denying in part 389 Motion to Compel
                         discovery responses from Plaintiff; denying 400 Motion to Compel
                         discovery responses and for sanctions from Plaintiff Crossclaim
                         Defendant Bridgeview Bank Group to provide complete responses to
                         request for production numbers 8 and 9. Signed by Magistrate Judge
                         Mark A. Pizzo on 7/15/2015. (SSW) (Entered: 07/15/2015)
     07/17/2015   431    ORDER re 394 Case management and scheduling order, scheduling
                         hearing on all dispositive motions on Thursday, December 10, 2015 at
                         10:30 a.m. in Courtroom 14A, 801 N. Florida Ave., Tampa, FL. Signed by
                         Judge Elizabeth A. Kovachevich on 7/17/2015. (JM) (Entered: 07/17/2015)
     07/21/2015   432    NOTICE of mediation conference/hearing to be held on 9/15/15 before James
                         L. Nulman, Esq.. (Perkins, Joseph) (Entered: 07/21/2015)
     07/29/2015   433    NOTICE of compliance re 430 Order on motion to compel by Regions Bank
                         (Perkins, Joseph) (Entered: 07/29/2015)
     07/30/2015   434    NOTICE of compliance re 430 Order on motion to compel Amended by
                         Regions Bank (Perkins, Joseph) (Entered: 07/30/2015)
     08/04/2015   435    MOTION for miscellaneous relief, specifically To Defer Payment of Experts
                         or to Determine Reasonableness of Kaplan Parties' Expert Charges by Regions
                         Bank. (Attachments: # 1 Exhibit Notice of Taking Deposition of J.D. Koontz,
                         # 2 Exhibit Invoice for Expert Charges, # 3 Exhibit Expert Report of J.D.
                         Koontz, # 4 Exhibit Listed Charges − 3 Other Experts)(Garbett, David)
                         (Entered: 08/04/2015)
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     08/06/2015   436    MOTION for miscellaneous relief, specifically Approval of Expert Witness
                         Fees and Expenses by Marvin I Kaplan. (Attachments: # 1 Exhibit A, # 2
                         Exhibit B)(Silverfield, John) (Entered: 08/06/2015)
     08/06/2015   437    RESPONSE to Motion re 435 MOTION for miscellaneous relief, specifically
                         To Defer Payment of Experts or to Determine Reasonableness of Kaplan
                         Parties' Expert Charges filed by Marvin I Kaplan. (Attachments: # 1 Exhibit
                         A)(Silverfield, John) (Entered: 08/06/2015)
     08/06/2015   438    [TERMNATED] MOTION to Compel Discovery by Marvin I Kaplan.
                         (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Silverfield, John) Motions
                         referred to Magistrate Judge Mark A. Pizzo. NOTE: Terminated pursuant to
                         Dkt. 439 Notice of Withdrawal. Modified on 8/10/2015 (LD). (Entered:
                         08/06/2015)
     08/07/2015   439    NOTICE of withdrawal of motion by Marvin I Kaplan re 438 MOTION to
                         Compel Discovery filed by Marvin I Kaplan (Silverfield, John) (Entered:
                         08/07/2015)
     08/07/2015   440    MOTION for protective order Omnibus by Regions Bank. (Garbett, David)
                         Motions referred to Magistrate Judge Mark A. Pizzo. (Entered: 08/07/2015)
     08/07/2015   441    NOTICE by Regions Bank re 440 MOTION for protective order Omnibus
                         (Attachments: # 1 Exhibit Designation re: Communication with WFB, # 2
                         Exhibit Designation re: 7−figure wires, # 3 Exhibit First Designation re:
                         Regions' Investigation, # 4 Exhibit Designation re: Regions decision to sue
                         Kaplan, # 5 Exhibit Second Designation re: Regions' Investigation, # 6 Exhibit
                         Chavez v. Mercantil Order, # 7 Exhibit Decl. of Patrick Bodden, # 8 Exhibit
                         First Designation re: Regions' Investigation, # 9 Exhibit Designation re:
                         Regions' decision to sue Kaplan, # 10 Exhibit EARNS Report− 1/20 and
                         1/23/2012, # 11 Exhibit 1/30/2012 Complaint, # 12 Exhibit Ex Parte Motion
                         for Temp. Injunction, # 13 Exhibit Temp. Injunction, # 14 Exhibit Temp.
                         Injunction Bond, # 15 Exhibit WFB's Unverified Answer and Obj. to Kaplan's
                         ROGs, # 16 Exhibit Decl. of Ben Powell, # 17 Exhibit Decl. of Kimbrly
                         Hopper, # 18 Exhibit Decl. of Shayla Fletcher, # 19 Exhibit First Designation
                         re: Regions' Investigation, # 20 Exhibit Designation re: Regions' Decision to
                         sue Kaplan, # 21 Exhibit 2/24/2012 Amended Complaint, # 22 Exhibit Kaplan
                         Priv. Docs and Materials Log, # 23 Exhibit Designation re: clearance of
                         checks, # 24 Exhibit Notice of Deposition of Brandy Burnett)(Perkins, Joseph)
                         (Entered: 08/07/2015)
     08/10/2015   442    MEMORANDUM in opposition re 436 Motion for Miscellaneous Relief
                         Opposing Kaplan Parties' Motion to Approve Expert Charges filed by Regions
                         Bank. (Attachments: # 1 Exhibit Smitha Resume, # 2 Exhibit Fechter Resume,
                         # 3 Exhibit Carruba Resume, # 4 Exhibit Garces REsume)(Garbett, David)
                         (Entered: 08/10/2015)
     08/10/2015   443    NOTICE of consent to join by Bridgeview Bank Group re 435 MOTION for
                         miscellaneous relief, specifically To Defer Payment of Experts or to
                         Determine Reasonableness of Kaplan Parties' Expert Charges . (Ellison, Jason)
                         (Entered: 08/10/2015)
     08/13/2015   444    MOTION to Expedite Consideration of Omnibus Motion [DE 440] for
                         Protective Order on Kaplan Parties' 30(B)(6) Designations by Regions Bank.
                         (Perkins, Joseph) (Entered: 08/13/2015)
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     08/14/2015   445    NOTICE of Appearance by Brittney Paige Baker on behalf of Bridgeview
                         Bank Group (Baker, Brittney) (Entered: 08/14/2015)
     08/17/2015   446    MOTION for leave to file under seal by Bridgeview Bank Group. (Baker,
                         Brittney) (Entered: 08/17/2015)
     08/17/2015   447    Supplemental MOTION for protective order by Regions Bank. (Attachments:
                         # 1 Exhibit 30(b)(6) Designation 1, # 2 Exhibit July 6, 2015 Email Exchange,
                         # 3 Exhibit July 7, 2015 Email Exchange, # 4 Exhibit July 16, 2015 Email
                         Exchange, # 5 Exhibit 30(b)(6) Designation 1, # 6 Exhibit Proposed
                         Declaration Content, # 7 Exhibit July 24, 2015 Email Exchange, # 8 Exhibit
                         July 31, 2015 Email Exchange, # 9 Exhibit Proposed Declaration Content, #
                         10 Exhibit 30(b)(6) Designation 1)(Garbett, David) Motions referred to
                         Magistrate Judge Mark A. Pizzo. (Entered: 08/17/2015)
     08/17/2015   448    MOTION to Expedite Consideration of Supplement [DE 447] to Omnibus
                         Motion for Protective Order by Regions Bank. (Perkins, Joseph) (Entered:
                         08/17/2015)
     08/18/2015   449    MOTION for leave to file Second Amended Counterclaim and Cross−Claims
                         by Marvin I Kaplan. (Attachments: # 1 Exhibit A)(Parrish, Jon) (Entered:
                         08/18/2015)
     08/18/2015   450    RESPONSE to Motion re 447 Supplemental MOTION for protective order ,
                         440 MOTION for protective order Omnibus filed by Marvin I Kaplan.
                         (Parrish, Jon) (Entered: 08/18/2015)
     08/18/2015   451    ORDER granting 435 Motion to defer payment of expert witness fees and
                         expenses; denying without prejudice Motion to determine reasonableness
                         of expert charges; denying without prejudice 436 Motion for approval of
                         expert witness fees and expenses. The Kaplan Parties shall produce the
                         expert witness Jason D. Koontz at the scheduled deposition on August 28,
                         2015. See Order for details. Signed by Judge Elizabeth A. Kovachevich on
                         8/18/2015. (JM) (Entered: 08/18/2015)
     08/19/2015   452    ENDORSED ORDER REFERRING MOTIONS for disposition: 448
                         MOTION to Expedite Consideration of Supplement [DE 447] to Omnibus
                         Motion for Protective Order filed by Regions Bank, 444 MOTION to
                         Expedite Consideration of Omnibus Motion [DE 440] for Protective Order
                         on Kaplan Parties' 30(B)(6) Designations filed by Regions Bank. Signed by
                         Judge Elizabeth A. Kovachevich on 8/19/2015. (JM) Motions referred to
                         Magistrate Judge Mark A. Pizzo. (Entered: 08/19/2015)
     08/19/2015   453    ENDORSED ORDER REFERRING MOTION: 446 MOTION for leave
                         to file under seal filed by Bridgeview Bank Group. Signed by Judge
                         Elizabeth A. Kovachevich on 8/19/2015. (JM) Motions referred to
                         Magistrate Judge Mark A. Pizzo. (Entered: 08/19/2015)
     08/19/2015   454    ENDORSED ORDER finding as moot 444 Motion to Expedite. The
                         parties have represented that the depositions that necessitated this motion
                         were rescheduled. Signed by Magistrate Judge Mark A. Pizzo on
                         8/19/2015. (CRJ) (Entered: 08/19/2015)
     08/19/2015   455    ENDORSED ORDER finding as moot 448 Motion to Expedite. The
                         parties have represented that the depositions that necessitated this motion

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                         were rescheduled. Signed by Magistrate Judge Mark A. Pizzo on
                         8/19/2015. (CRJ) (Entered: 08/19/2015)
     08/19/2015   456    MOTION to Compel Discovery by Marvin I Kaplan. (Attachments: # 1
                         Exhibit A)(Silverfield, John) Motions referred to Magistrate Judge Mark A.
                         Pizzo. (Entered: 08/19/2015)
     08/20/2015   457    MOTION to Compel Discovery Responses to Third Request for Production to
                         Bridgeview Bank Group by BNK Smith, LLC, Marvin I Kaplan, MK
                         Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Silverfield,
                         John) Motions referred to Magistrate Judge Mark A. Pizzo. (Entered:
                         08/20/2015)
     08/20/2015   458    MOTION to stay Proceedings and Extend Discovery Pending Resolution of
                         Related Criminal Proceedings by BNK Smith, LLC, Marvin I Kaplan,
                         Lighthouse Pointe, LLC, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Attachments: # 1 Exhibit "A", # 2 Exhibit "B", # 3 Exhibit
                         "C", # 4 Exhibit "D", # 5 Exhibit "E")(Peterson, Donald) (Entered:
                         08/20/2015)
     08/21/2015   459    CERTIFICATE of compliance re 449 MOTION for leave to file Second
                         Amended Counterclaim and Cross−Claims by BNK Smith, LLC, Marvin I
                         Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC.
                         (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit
                         D)(Silverfield, John) (Entered: 08/21/2015)
     08/24/2015   460    ORDER denying without prejudice 440 and 447 Motion for Protective
                         Order. Signed by Magistrate Judge Mark A. Pizzo on 8/24/2015. (CRJ)
                         (Entered: 08/24/2015)
     08/24/2015   461    ORDER granting 446 Motion to Seal. The Clerk is directed to file
                         Bridgeview Bank Group's motion to determine that deposition testimony
                         of Marvin Kaplan is not privileged, as well as Exhibit A to that motion,
                         under seal. Signed by Magistrate Judge Mark A. Pizzo on 8/24/2015.
                         (CRJ) (Entered: 08/24/2015)
     09/02/2015          Sealed Document S−472. (LD) (Entered: 09/21/2015)
     09/03/2015   462    RESPONSE in Opposition re 458 MOTION to stay Proceedings and Extend
                         Discovery Pending Resolution of Related Criminal Proceedings by the Bank
                         Parties filed by Bridgeview Bank Group. (Attachments: # 1 Exhibit A, # 2
                         Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7
                         Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K)(Ellison,
                         Jason) (Entered: 09/03/2015)
     09/03/2015   463    NOTICE by Wells Fargo, N.A. re 462 Response in Opposition to Motion of
                         Joinder and Adoption of Bank Parties Response in Opposition to Kaplan
                         Parties Motion to Stay Proceedings or, Alternatively to Extend Discovery
                         Deadline (Ragusa, Mark) (Entered: 09/03/2015)
     09/03/2015   464    NOTICE by Regions Bank of Joinder in Bank Parties' Memorandum
                         Opposing Kaplan Parties' Motion to Stay or Alternatively for Enlargement to
                         Extend Discovery Deadline (Perkins, Joseph) (Entered: 09/03/2015)
     09/03/2015   465    RESPONSE in Opposition re 449 MOTION for leave to file Second Amended
                         Counterclaim and Cross−Claims filed by Wells Fargo, N.A.. (Attachments: #
                                                                                                             67
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                         1 Exhibit 1 −− Notices of Deposition, # 2 Exhibit 2 −− Email string, # 3
                         Exhibit 3 −− Proposed Pleading)(Ragusa, Mark) (Entered: 09/03/2015)
     09/03/2015   466    RESPONSE in Opposition re 449 MOTION for leave to file Second Amended
                         Counterclaim and Cross−Claims filed by Regions Bank. (Garbett, David)
                         (Entered: 09/03/2015)
     09/03/2015   467    NOTICE by Regions Bank re 466 Response in Opposition to Motion (Perkins,
                         Joseph) (Entered: 09/03/2015)
     09/03/2015   468    RESPONSE in Opposition re 449 MOTION for leave to file Second Amended
                         Counterclaim and Cross−Claims filed by Bridgeview Bank Group. (Ellison,
                         Jason) (Entered: 09/03/2015)
     09/03/2015   469    DOCUMENT TERMINATED counsel notified to refile using the correct
                         event code. Supplemental MOTION to stay re 458 MOTION to stay
                         Proceedings and Extend Discovery Pending Resolution of Related Criminal
                         Proceedings by Marvin I Kaplan. (Silverfield, John) Modified on 9/3/2015
                         (EJC). (Entered: 09/03/2015)
     09/03/2015   470    NOTICE by Bridgeview Bank Group (Baker, Brittney) (Entered: 09/03/2015)
     09/03/2015   471    NOTICE by Regions Bank re 465 Response in Opposition to Motion (Perkins,
                         Joseph) (Entered: 09/03/2015)
     09/03/2015   473    SUPPLEMENT re 458 MOTION to stay Proceedings and Extend Discovery
                         Pending Resolution of Related Criminal Proceedings by Marvin I Kaplan.
                         (Silverfield, John) (Entered: 09/03/2015)
     09/04/2015   474    RESPONSE in Opposition re 457 MOTION to Compel Discovery Responses
                         to Third Request for Production to Bridgeview Bank Group filed by
                         Bridgeview Bank Group. (Ellison, Jason) (Entered: 09/04/2015)
     09/04/2015   475    MOTION for leave to file under seal pursuant to Fed. R. Civ. P 26(B)(5)(B)
                         by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms,
                         LLC, Triple Net Exchange, LLC. (Peterson, Donald) (Entered: 09/04/2015)
     09/04/2015   476    ENDORSED ORDER REFERRING MOTION for disposition: 475
                         MOTION for leave to file under seal pursuant to Fed. R. Civ. P 26(B)(5)(B)
                         filed by R1A Palms, LLC, MK Investing, LLC, BNK Smith, LLC, Triple
                         Net Exchange, LLC, Marvin I Kaplan. Signed by Judge Elizabeth A.
                         Kovachevich on 9/4/2015. (JM) Motions referred to Magistrate Judge
                         Mark A. Pizzo. (Entered: 09/04/2015)
     09/04/2015   477    RESPONSE in Opposition re 449 MOTION for leave to file Second Amended
                         Counterclaim and Cross−Claims Crossclaim Defendant Charles Larry Starr's
                         Response to Defendants' Motion for Leave to File Second Amended
                         Counterclaim and Cross−Claims filed by Charles A. Starr III. (Stearns, Jason)
                         (Entered: 09/04/2015)
     09/07/2015   478    NOTICE by Bridgeview Bank Group of 3.01g compliance Regarding Motion
                         to Determine that Deposition Testimony of Marvin Kaplan is Not Privileged
                         (Ellison, Jason) (Entered: 09/07/2015)
     09/08/2015   479    RESPONSE re 473 Supplement, 458 MOTION to stay Proceedings and
                         Extend Discovery Pending Resolution of Related Criminal Proceedings filed

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                         by Bridgeview Bank Group. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                         Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G)(Ellison,
                         Jason) (Entered: 09/08/2015)
     09/08/2015   480    MOTION for leave to file Reply to Wells Fargo, Regions', Starr's and
                         Bridgeview's Memorandum of Law Opposing Kaplan Parties' Motion For
                         Leave to File Second Amended Counterclaim and Cross−Claim by Marvin I
                         Kaplan. (Silverfield, John) (Entered: 09/08/2015)
     09/08/2015   481    ORDER granting in part and denying in part 458 Motion to Stay
                         Proceedings and Extend Discovery pending resolution of related criminal
                         proceedings; the Motion to Stay is denied; the Motion to Extend
                         Discovery is granted to permit the depositions of Regions' 30(b)(6)
                         witnesses, Robert Shaw, Brandy Burnett, and Larry Starr, to be
                         completed no later than October 15, 2015; the Supplement to Motion to
                         Stay is denied as tothe depositions of Walter Schultz and Matthew
                         Schultz.. Signed by Judge Elizabeth A. Kovachevich on 9/8/2015. (JM)
                         (Entered: 09/08/2015)
     09/08/2015   482    RESPONSE to Motion re 458 MOTION to stay Proceedings and Extend
                         Discovery Pending Resolution of Related Criminal Proceedings Crossclaim
                         Defendant Charles Larry Starr's Joinder and Adoption of Bank Parties'
                         Memorandum Opposing Kaplan Parties' Motion to Stay or Alternatively for
                         Enlargement to Extend Discovery Deadline filed by Charles A. Starr III.
                         (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit
                         4)(Stearns, Jason) (Entered: 09/08/2015)
     09/08/2015   483    RESPONSE to Motion re 456 MOTION to Compel Discovery Crossclaim
                         Defendant Charles Larry Starr's Response to Crossclaim Plaintiffs' Motion to
                         Compel Discovery filed by Charles A. Starr III. (Attachments: # 1 Exhibit 1, #
                         2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit Composite Exhibit
                         5)(Stearns, Jason) (Entered: 09/08/2015)
     09/09/2015   484    ENDORSED ORDER granting 480 Motion for Leave to File Reply (not
                         more than three pages), within five days. Signed by Judge Elizabeth A.
                         Kovachevich on 9/9/2015. (JM) (Entered: 09/09/2015)
     09/09/2015   485    Consent MOTION for leave to file Motion for Leave to File Reply to Kaplan
                         Parties Response in Opposition to BBG's Motion to Determine that Deposition
                         Testimony of Marvin Kaplan is Not Privileged by Bridgeview Bank Group.
                         (Ellison, Jason) (Entered: 09/09/2015)
     09/09/2015   486    ENDORSED ORDER referring motion to Magistrate Judge for
                         disposition: 485 Consent MOTION for leave to file Motion for Leave to
                         File Reply to Kaplan Parties Response in Opposition to BBG's Motion to
                         Determine that Deposition Testimony of Marvin Kaplan is Not Privileged
                         filed by Bridgeview Bank Group. Signed by Judge Elizabeth A.
                         Kovachevich on 9/9/2015. (JM) Motions referred to Magistrate Judge
                         Mark A. Pizzo. (Entered: 09/09/2015)
     09/10/2015   487    ENDORSED ORDER granting 485 Motion for Leave to File a reply to the
                         Kaplan Parties' response to Bridgeview Bank Group's motion to
                         determine that deposition testimony of Marvin Kaplan is not privileged.
                         Signed by Magistrate Judge Mark A. Pizzo on 9/10/2015. (CRJ) (Entered:
                         09/10/2015)
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     09/10/2015   488    ORDER granting 475 Motion for Leave to File response to Bridgeview
                         Bank Group's motion to determine that deposition testimony of Marvin
                         Kaplan is not privileged. Signed by Magistrate Judge Mark A. Pizzo on
                         9/10/2015. (CRJ) (Entered: 09/10/2015)
     09/11/2015   489    [TERMINATED] MOTION for miscellaneous relief, specifically Motion for
                         Expedited Relief by Marvin I Kaplan. (Silverfield, John) NOTE: Terminated
                         pursuant to Dkt. 491 Notice of Withdrawal. Modified on 9/14/2015 (LD).
                         (Entered: 09/11/2015)
     09/11/2015   490    REPLY to Response to Motion re 485 Consent MOTION for leave to file
                         Motion for Leave to File Reply to Kaplan Parties Response in Opposition to
                         BBG's Motion to Determine that Deposition Testimony of Marvin Kaplan is
                         Not Privileged filed by Bridgeview Bank Group. (Attachments: # 1 Exhibit
                         A)(Ellison, Jason) (Entered: 09/11/2015)
     09/11/2015   491    NOTICE of withdrawal of motion by Marvin I Kaplan re 489 MOTION for
                         miscellaneous relief, specifically Motion for Expedited Relief filed by Marvin I
                         Kaplan (Silverfield, John) (Entered: 09/11/2015)
     09/11/2015   492    MOTION for miscellaneous relief, specifically Expedited Motion for Relief by
                         Marvin I Kaplan. (Silverfield, John) (Entered: 09/11/2015)
     09/11/2015   493    ENDORSED ORDER referring motion to Magistrate Judge for
                         disposition: 492 MOTION for miscellaneous relief, specifically Expedited
                         Motion for Relief filed by Marvin I Kaplan. Signed by Judge Elizabeth A.
                         Kovachevich on 9/11/2015. (JM) Motions referred to Magistrate Judge
                         Mark A. Pizzo. (Entered: 09/11/2015)
     09/14/2015   494    REPLY to Response to Motion re 449 MOTION for leave to file Second
                         Amended Counterclaim and Cross−Claims − KAPLAN'S REPLY TO
                         OPPOSITION TO KAPLAN'S MOTION FOR LEAVE TO FILE SECOND
                         AMENDED COUNTERCLAIM/CROSSCLAIM − filed by BNK Smith, LLC,
                         Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Parrish, Jon) (Entered: 09/14/2015)
     09/15/2015   495    MOTION to Compel Testimony of Brenda Tamm by BNK Smith, LLC,
                         Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Peterson, Donald) Motions referred to Magistrate Judge
                         Mark A. Pizzo. (Entered: 09/15/2015)
     09/15/2015   496    MEDIATION report Hearing held on 09−15−2015. Hearing outcome:
                         Impasse.. (Nulman, James) (Entered: 09/15/2015)
     09/16/2015   497    ORDER granting in part and denying in part 456 Motion to Compel Starr
                         to provide complete responses to the Kaplan Parties' First and Second
                         Requests for Production of Documents. Signed by Magistrate Judge Mark
                         A. Pizzo on 9/16/2015. (CRJ) (Entered: 09/16/2015)
     09/17/2015   498    ORDER granting in part and denying in part 457 Motion to Compel. The
                         Kaplan Parties' motion to compel is granted to the extent that, within 7
                         days, BBG must produce documents responsive to requests 6 and 11 that
                         are not covered by the SAR privilege. The Kaplan Parties' motion to
                         compel is otherwise denied. Signed by Magistrate Judge Mark A. Pizzo on
                         9/17/2015. (CRJ) (Entered: 09/17/2015)

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     09/18/2015   500    NOTICE by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC of Filing Deposition Transcript of
                         Brenda Tamm re: 495 MOTION to Compel Testimony of Brenda Tamm
                         (Attachments: # 1 Exhibit "A")(Silverfield, John) Modified on 9/21/2015 (LD).
                         (Entered: 09/18/2015)
     09/18/2015          Sealed Document S−499. (LD) (Entered: 09/21/2015)
     09/21/2015   501    SUPPLEMENT re 495 MOTION to Compel Testimony of Brenda Tamm
                         Supplemental Compliance With Local Rule 3.01(g) by BNK Smith, LLC,
                         Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Silverfield, John) (Entered: 09/21/2015)
     09/24/2015   502    OBJECTION re 497 Order on motion to compel to Magistrate Judge's Report
                         and Recommendation. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Silverfield,
                         John) (Entered: 09/24/2015)
     09/24/2015   503    ORDER denying 449 Motion for Leave to File Second Amended
                         Counterclaim and Cross−Claims. Signed by Judge Elizabeth A.
                         Kovachevich on 9/24/2015. (JM) (Entered: 09/24/2015)
     09/25/2015   504    ORDER denying 472 Bridgeview Bank Group's motion to determine that
                         certain testimony of Marvin Kaplan is not privileged. Signed by
                         Magistrate Judge Mark A. Pizzo on 9/25/2015. (CRJ) (Entered:
                         09/25/2015)
     09/25/2015   505    OBJECTION re 498 Order on motion to compel − THE KAPLAN PARTIES'
                         OBJECTIONS TO MAGISTRATE JUDGE'S REPORT AND
                         RECOMMENDATION −. (Attachments: # 1 Exhibit A)(Silverfield, John)
                         (Entered: 09/25/2015)
     10/02/2015   506    RESPONSE to Motion re 495 MOTION to Compel Testimony of Brenda
                         Tamm filed by Charles A. Starr III. (Attachments: # 1 Exhibit Exhibit 1 to
                         Joint Response to Motion to Compel Discovery of Brenda Tamm)(Albritton,
                         A.) (Entered: 10/02/2015)
     10/05/2015   507    NOTICE of hearing on motion re 495 MOTION to Compel Testimony of
                         Brenda Tamm. Motion Hearing set for 11/6/2015 at 10:00 AM in Tampa
                         Courtroom 11 B before Magistrate Judge Mark A. Pizzo. (CRJ) (Entered:
                         10/05/2015)
     10/06/2015   508    MEMORANDUM in opposition re 505 Objection to Magistrate Judge's Order
                         on Motion to Compel filed by Bridgeview Bank Group. (Ellison, Jason)
                         (Entered: 10/06/2015)
     10/06/2015   509    MOTION for leave to file under seal by Bridgeview Bank Group. (Baker,
                         Brittney) (Entered: 10/06/2015)
     10/07/2015   510    ENDORSED ORDER REFERRING MOTION: 509 MOTION for leave
                         to file under seal filed by Bridgeview Bank Group. Signed by Judge
                         Elizabeth A. Kovachevich on 10/7/2015. (JM) Motions referred to
                         Magistrate Judge Mark A. Pizzo. (Entered: 10/07/2015)
     10/09/2015   511    ORDER granting 509 Motion to Seal Bridgeview Bank Group's objection
                         to the Court's Order denying BBG's motion to determine that deposition
                         testimony of Martin Kaplan is not privileged. Signed by Magistrate Judge

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                         Mark A. Pizzo on 10/9/2015. (CRJ) (Entered: 10/09/2015)
     10/09/2015   512    RESPONSE re 502 Objection filed by Charles A. Starr III. (Attachments: # 1
                         Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4)(Stearns, Jason) (Entered:
                         10/09/2015)
     10/12/2015   513    JOINDER in motion by Regions Bank to SEALED DOCUMENT DE 504 filed
                         by Brigeview Bank Group. (Perkins, Joseph) (Entered: 10/12/2015)
     10/14/2015   514    JOINDER in motion by Wells Fargo, N.A. to Sealed Document DE 504 filed
                         by Bridgeview Bank Group. (Ragusa, Mark) (Entered: 10/14/2015)
     10/15/2015          Sealed Document S−515. (LD) (Entered: 10/15/2015)
     10/20/2015   516    Unopposed MOTION for leave to file under seal Response to Bridgeview
                         Bank Group's Objection to the Magistrates Report and Recommendation
                         Determining Privelege Issue by BNK Smith, LLC, Marvin I Kaplan, MK
                         Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Peterson,
                         Donald) (Entered: 10/20/2015)
     10/21/2015   517    ENDORSED ORDER granting 516 Unopposed Motion to Seal Response
                         to Objection, incorporating by reference the terms of the Court's previous
                         Order (Dkt. 511). Signed by Judge Elizabeth A. Kovachevich on
                         10/21/2015. (JM) (Entered: 10/21/2015)
     10/22/2015   518    MOTION for miscellaneous relief, specifically Award of Expenses under Fed.
                         R. Civ. P. 30(g)(1) by Regions Bank. (Garbett, David) (Entered: 10/22/2015)
     10/22/2015   519    DECLARATION of David S. Garbett re 518 MOTION for miscellaneous
                         relief, specifically Award of Expenses under Fed. R. Civ. P. 30(g)(1) by
                         Regions Bank. (Attachments: # 1 Exhibit 06−12−15 NOTD Shaw for
                         06−23−15, # 2 Exhibit 06−29−15 NOTD Burnett on 07−16−15, # 3 Exhibit
                         06−29−15 NOTD RB 2 08−25−15, # 4 Exhibit 06−29−15 Re−NOTD Shaw on
                         08−24−15, # 5 Exhibit 07−10−15 Amd−NOTD Shaw on 08−24−15, # 6
                         Exhibit 07−10−15 Re−NOTD Burnett on 08−24−15, # 7 Exhibit 08−21−15
                         Cancel Notice Shaw on 08−24−15, # 8 Exhibit 08−21−15 Cancel Notice
                         Burnett on 08−24−15, # 9 Exhibit 08−21−15 Cancel Notice RB 2 on
                         08−25−15, # 10 Exhibit 09−18−15 Re−NOTD Burnett & Shaw on 10−06−15,
                         # 11 Exhibit 09−25−15 Re−NOTD RB 2 on 10−06−15, # 12 Exhibit
                         10−05−15 Email re Cancel Depos on 10−06−15, # 13 Exhibit 10−05−15
                         Cancel Notice Depos on 10−06−15, # 14 Exhibit 10−06−15 Email re RB
                         Depos in B'ham on 10−14−15, # 15 Exhibit 10−09−15 Cancel Notice RB
                         Depos in B'ham on 10−14−15)(Garbett, David) (Entered: 10/22/2015)
     10/22/2015   520    ENDORSED ORDER referring motion to Magistrate Judge for
                         disposition: 518 MOTION for miscellaneous relief, specifically Award of
                         Expenses under Fed. R. Civ. P. 30(g)(1) filed by Regions Bank. Signed by
                         Judge Elizabeth A. Kovachevich on 10/22/2015. (JM) Motions referred to
                         Magistrate Judge Mark A. Pizzo. (Entered: 10/22/2015)
     10/23/2015   521    Joint MOTION for miscellaneous relief, specifically Bank Parties' Motion to
                         File Single Statement of Undisputed Facts for Summary Judgment Motion and
                         to Exceed Page Limit by Regions Bank. (Perkins, Joseph) (Entered:
                         10/23/2015)
     10/26/2015   522
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                         ENDORSED ORDER directing BNK Smith, LLC, Marvin I Kaplan, MK
                         Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC to respond
                         to 521 Joint MOTION for miscellaneous relief, specifically Bank Parties'
                         Motion to File Single Statement of Undisputed Facts for Summary
                         Judgment Motion and to Exceed Page Limit . Responses due by 11/2/2015.
                         Signed by Judge Elizabeth A. Kovachevich on 10/26/2015. (JM) (Entered:
                         10/26/2015)
     10/26/2015          Sealed Document S−523. (LD) (Entered: 10/26/2015)
     11/02/2015   524    Unopposed MOTION to Appear Telephonically at the 11/6/15 Hearing by
                         BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC,
                         Triple Net Exchange, LLC. (Peterson, Donald) Motions referred to Magistrate
                         Judge Mark A. Pizzo. (Entered: 11/02/2015)
     11/02/2015   525    RESPONSE to Motion re 521 Joint MOTION for miscellaneous relief,
                         specifically Bank Parties' Motion to File Single Statement of Undisputed Facts
                         for Summary Judgment Motion and to Exceed Page Limit filed by Marvin I
                         Kaplan. (Parrish, Jon) (Entered: 11/02/2015)
     11/03/2015   526    ENDORSED ORDER denying 524 the Kaplan Parties' Motion to Appear
                         Telephonically at the 11/6/15 hearing. Counsel for the Kaplan Parties
                         must appear in person. Signed by Magistrate Judge Mark A. Pizzo on
                         11/3/2015. (CRJ) (Entered: 11/03/2015)
     11/04/2015   527    ORDER granting 521 Joint Motion for leave to file Single Statement of
                         Undisputed Facts, and to Exceed Page Limit (not more than 45 pages).
                         See Order for details. Signed by Judge Elizabeth A. Kovachevich on
                         11/4/2015. (JM) (Entered: 11/04/2015)
     11/05/2015   528    RESPONSE in Opposition re 518 MOTION for miscellaneous relief,
                         specifically Award of Expenses under Fed. R. Civ. P. 30(g)(1) filed by Marvin
                         I Kaplan. (Peterson, Donald) (Entered: 11/05/2015)
     11/06/2015   529    Minute Entry. Proceedings held before Magistrate Judge Mark A. Pizzo:
                         MOTION HEARING held on 11/6/2015 re 495 MOTION to Compel
                         Testimony of Brenda Tamm. (DIGITAL) (CRJ) (Entered: 11/06/2015)
     11/09/2015   530    ORDER denying 495 Motion to compel Brenda Tamm to answer
                         deposition questions concerning her conversations with counsel in the
                         presence of Mr. Starr and produce documents related to Ms. Tamm's
                         relationship with Phelps Dunbar. Signed by Magistrate Judge Mark A.
                         Pizzo on 11/9/2015. (CRJ) (Entered: 11/09/2015)
     11/10/2015   531    ORDER. Plaintiff's motion for an award of expenses against Defendants
                         (doc. 518) is GRANTED to the extent that Defendants are to pay Plaintiff
                         its reasonable fees and expenses incurred in preparing for the October 6,
                         2015, depositions. Signed by Magistrate Judge Mark A. Pizzo on
                         11/10/2015. (CRJ) (Entered: 11/10/2015)
     11/10/2015   532    ENDORSED ORDER re 431 Order scheduling hearing on 12/10/2015 at
                         10:30 a.m., directing all parties to confer and file a joint report notifying
                         the Court as to each party's respective best estimate of the amount of
                         hearing time necessary for oral argument on all dispositive motions.
                         Signed by Judge Elizabeth A. Kovachevich on 11/10/2015. (JM) (Entered:

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                         11/10/2015)
     11/12/2015   533    Unopposed MOTION for leave to file under seal Bank Parties' supporting
                         documentation to Joint Statement of Facts by Bridgeview Bank Group.
                         (Baker, Brittney) (Entered: 11/12/2015)
     11/13/2015   534    ORDER granting 533 Consent Motion to File Under Seal. Signed by
                         Judge Elizabeth A. Kovachevich on 11/13/2015. (JM) (Entered: 11/13/2015)
     11/16/2015   535    MOTION in limine regarding Motion to Strike Expert Report of J.D. Koontz
                         and to Exclude Expert Testimony by Bridgeview Bank Group. (Attachments:
                         # 1 Exhibit 1, # 2 Exhibit 2)(Ellison, Jason) (Entered: 11/16/2015)
     11/16/2015   536    MOTION in limine regarding to Exclude Opinion Testimony of Kaplan
                         Entities' Expert by Regions Bank. (Perkins, Joseph) (Entered: 11/16/2015)
     11/16/2015   537    NOTICE by Regions Bank of Bank Parties' Certificate Concerning Good
                         Faith Conference on Summary Judgment Motions (Perkins, Joseph) (Entered:
                         11/16/2015)
     11/16/2015   538    NOTICE by Regions Bank Bank Parties' Notice of Filing Documents in
                         Support of Joint Statement of Undisputed Material Facts on Motions for
                         Summary Judgment (Attachments: # 1 Exhibit A − BBG's Request for
                         Admissions to Marvin Kaplan, # 2 Exhibit B − Notices and Cross−Notices of
                         Taking Deposition of Kaplan Parties, # 3 Exhibit C − WF RESP KAP
                         000004989−4996, # 4 Exhibit D − WF RESP KAP 04997, # 5 Exhibit E −
                         BBG_REV008772)(Perkins, Joseph) (Entered: 11/16/2015)
     11/16/2015          Sealed Document S−539. (LD) (Entered: 11/16/2015)
     11/16/2015   540    NOTICE by Regions Bank Bank Parties' Notice of Filing Deposition
                         Transcripts and Exhibits in Support of Joint Statement of Undisputed Material
                         Facts on Bank Parties' Motions for Summary Judgment (Attachments: # 1
                         Deposition Excerpts from Kaplan Parties, # 2 Exhibit 15 − 02/24/11 email
                         string between Starr and Todd Smith, # 3 Exhibit 26 − Filed Under Seal, # 4
                         Exhibit 27 − Filed Under Seal, # 5 Exhibit 28 − Filed Under Seal, # 6 Exhibit
                         29 − Filed Under Seal, # 7 Exhibit 30 − Filed Under Seal, # 8 Exhibit 31 −
                         Filed Under Seal, # 9 Exhibit 71 − First Deal Promissory Notes by SAA in
                         favor of R1A, # 10 Exhibit 72 − First Deal Promissory Notes by SAA in favor
                         of TNE, # 11 Exhibit 73 − First Deal Promissory Notes by SAA in favor of
                         MKI, # 12 Exhibit 74 − First Deal Promissory Notes by SAA in favor of BNK,
                         # 13 Exhibit 75 − Filed Under Seal, # 14 Exhibit 76 − Filed Under Seal, # 15
                         Exhibit 78 − Filed Under Seal, # 16 Exhibit 79 − Filed Under Seal, # 17
                         Exhibit 80 − Filed Under Seal, # 18 Exhibit 81 − Filed Under Seal, # 19
                         Exhibit 82 − Filed Under Seal, # 20 Exhibit 83 − Filed Under Seal, # 21
                         Exhibit 84 − Second Deal Promissory Notes by SAA in favor of R1A, # 22
                         Exhibit 86 − Second Deal Promissory Notes by SAA in favor of MKI, # 23
                         Exhibit 87 − Second Deal Promissory Notes by SAA in favor of BNK, # 24
                         Exhibit 88 − Filed Under Seal, # 25 Exhibit 89 − Second Deal Promissory
                         Notes by SAA in favor of TNE, # 26 Exhibit 90 − Filed Under Seal, # 27
                         Exhibit 91 − Filed Under Seal, # 28 Exhibit 92 − Filed Under Seal, # 29
                         Exhibit 93 − Filed Under Seal, # 30 Exhibit 94 − Filed Under Seal, # 31
                         Exhibit 95 − Filed Under Seal, # 32 Exhibit 96 − Filed Under Seal, # 33
                         Exhibit 101 − Third Deal Promissory Notes by SAA in favor of R1A, # 34
                         Exhibit 102 − Third Deal Promissory Notes by SAA in favor of TNE, # 35
                                                                                                         74
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                         Exhibit 103 − Third Deal Promissory Notes by SAA in favor of MKI, # 36
                         Exhibit 104 − Third Deal Promissory Notes by SAA in favor of R1A, # 37
                         Exhibit 105 − Fourth Deal Regions Wire Report, # 38 Exhibit 108 − Filed
                         Under Seal, # 39 Exhibit 109 − Filed Under Seal, # 40 Exhibit 111 − Filed
                         Under Seal, # 41 Exhibit 112 − Filed Under Seal, # 42 Exhibit 114 − Filed
                         Under Seal, # 43 Exhibit 115 − Filed Under Seal, # 44 Exhibit 116 − Filed
                         Under Seal, # 45 Exhibit 126 − Filed Under Seal, # 46 Exhibit 128 − Filed
                         Under Seal, # 47 Exhibit 129 − Filed Under Seal, # 48 Exhibit 130 − Filed
                         Under Seal, # 49 Exhibit 131 − Filed Under Seal, # 50 Exhibit 132 − Filed
                         Under Seal, # 51 Exhibit 189 − 04/20/15 letter from Donald Peterson, Esq. to
                         Mark Ragusa, Esq. and all other counsel, # 52 Exhibit 232 − Filed Under Seal,
                         # 53 Exhibit 233 − Filed Under Seal, # 54 Exhibit 234 − Filed Under Seal, #
                         55 Exhibit 235 − Filed Under Seal, # 56 Exhibit 238 − Filed Under Seal, # 57
                         Exhibit 276 − Filed Under Seal, # 58 Exhibit 277 − Filed Under Seal, # 59
                         Exhibit 284 − Victim Impact Statement signed by Kaplan, # 60 Exhibit 286 −
                         Filed Under Seal, # 61 Exhibit 287 − Kaplan Parties' Amended Initial Rule 26
                         Disclosures, # 62 Deposition excerpt of Jason D. Koontz, # 63 Exhibit 288 −
                         Koontz' Expert Report, # 64 Exhibit 291 − 06/22/15 email from Jason D.
                         Koontz to Don Peterson, Esq., # 65 Deposition Excerpt of Larry
                         Starr)(Perkins, Joseph) (Entered: 11/16/2015)
     11/16/2015   541    NOTICE by Regions Bank Bank Parties' Notice of Filing Affidavits,
                         Declarations and Exhibits in Support of Joint Statement of Undisputed
                         Material Facts on Motions for Summary Judgment (Attachments: # 1
                         Supplemental Declaration of Ben Powell, # 2 Declaration of M. Scott
                         Newberger, # 3 Composite Exh. A − MKI xxx4105 Account Statements, # 4
                         Composite Exh. B − TNE xxx4180 Account Statement, # 5 Composite Exh. C
                         − BNK xxx9817 Account Statement, # 6 Composite Exh. D − R1A xxx0211
                         Account Statements, # 7 Exhibit E − BBG's Notice of Non−Payment of
                         First−Deal Checks, # 8 Exhibit F − BBG's Notice of Non−Payment of
                         Second−Deal Checks, # 9 Composite Exh. G − Regions' Return Notices for
                         First−Deal Checks, # 10 Composite Exh. H − Regions' Return Notices of
                         Second−Deal Checks, # 11 Exhibit I − WFB's Notice of Non−Payment of
                         WFB Replacement Checks, # 12 Composite Exh. J − Regions' Return Notices
                         of WFB Replacement Checks, # 13 Declaration of Thomas L. Smitha, JD,
                         CPA, # 14 Exhibit A − 04/14/15 Expert Report, # 15 Affidavit of David
                         Grzenia, # 16 Affidavit of Pavel Reytik, # 17 Exhibit to Pavel Reytik Affidavit
                         − Filed Under Seal, # 18 Exhibit to Pavel Reytik Affidavit − Filed Under Seal,
                         # 19 Exhibit to Pavel Reytik Affidavit − Filed Under Seal, # 20 Exhibit to
                         Pavel Reytik Affidavit − Filed Under Seal, # 21 Exhibit to Pavel Reytik
                         Affidavit − Filed Under Seal, # 22 Exhibit to Pavel Reytik Affidavit − Filed
                         Under Seal, # 23 Exhibit to Pavel Reytik Affidavit − Filed Under Seal, # 24
                         Exhibit to Pavel Reytik Affidavit − Filed Under Seal, # 25 Exhibit to Pavel
                         Reytik Affidavit − Filed Under Seal, # 26 Exhibit to Pavel Reytik Affidavit −
                         Filed Under Seal, # 27 Exhibit to Pavel Reytik Affidavit − Filed Under Seal, #
                         28 Affidavit of William Conaghan, # 29 Affidavit of Ivan A. Garces, CPA,
                         CFE, CFF, CAMS, # 30 04/14/15 Expert Report, # 31 05/14/15 Supplemental
                         Report, # 32 06/15/15 Rebuttal Expert Report, # 33 Affidavit of Audrey
                         Brown, # 34 Exhibit 1 − Summary of 21 WFB Replacement Checks, # 35
                         Affidavit of Karen Emmanuelson, # 36 Exhibit 1 − Summary of 21 WFB
                         Replacement Checks, # 37 Affidavit of Theresa Hackenberry, # 38 Exhibit 1 −
                         Summary of 21 WFB Replacement Checks, # 39 Affidavit of Michael

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                         Onuchovsky, # 40 Exhibit 1 − Summary of 21 WFB Replacement Checks, #
                         41 Affidavit of Ida Dickenson, # 42 Exhibit 1 − Summary of 21 WFB
                         Replacement Checks, # 43 Affidavit of Paul Carrubba, # 44 Exhibit A −
                         04/14/15 Expert Report, # 45 Exhibit B − Summary of 21 WFB Replacement
                         Checks)(Perkins, Joseph) ***NOTE: EXHIBITS 13−14 deleted pursuant to
                         doc. 595 ORDER. *** Modified on 12/14/2015 (LD). (Entered: 11/16/2015)
     11/16/2015   542    STATEMENT of undisputed facts of Bank Parties by Regions Bank..
                         (Perkins, Joseph) (Entered: 11/16/2015)
     11/16/2015   543    MOTION for summary judgment against Kaplan Entities on SAC Counts
                         I−IV, VIII−XI, XV−XVIII, and XXII−XXV and ACC Count XXIII and
                         Supporting Memorandum of Law by Regions Bank. (Perkins, Joseph)
                         (Entered: 11/16/2015)
     11/16/2015   544    MOTION for summary judgment on Counts II, XIII, XV, XVII, XIX, and XX −
                         Dispositive Motion by Bridgeview Bank Group. (Ellison, Jason) (Entered:
                         11/16/2015)
     11/16/2015   545    NOTICE by Marvin I Kaplan of Filing Affidavit of Marvin I. Kaplan
                         (Silverfield, John) (Entered: 11/16/2015)
     11/16/2015   546    MOTION for summary judgment as to Counts XIV, XVI and XVIII by Wells
                         Fargo, N.A.. (Ragusa, Mark) (Entered: 11/16/2015)
     11/16/2015   547    NOTICE by Marvin I Kaplan re 431 Order of Trial Conflict and Motion to
                         Continue December 10, 2015 Hearing (Parrish, Jon) (Entered: 11/16/2015)
     11/16/2015   548    NOTICE of compliance re 394 Case management and scheduling order by
                         Charles A. Starr III (Stearns, Jason) (Entered: 11/16/2015)
     11/16/2015   549    STATEMENT of undisputed facts in Support of Motion for Summary
                         Judgment by Charles A. Starr III.. (Attachments: # 1 Exhibit A − Starr
                         Deposition, # 2 Exhibit B −Kaplan Depositions, # 3 Exhibit C− Tamm
                         Deposition, # 4 Exhibit D− Russell Declaration with Exhibits, # 5 Exhibit E−
                         Dreznin Deposition, # 6 Exhibit F− Deposition Exhibit 284)(Stearns, Jason)
                         (Entered: 11/16/2015)
     11/16/2015   550    MOTION for summary judgment and Incorporated Memorandum of Law by
                         Charles A. Starr III. (Stearns, Jason) (Entered: 11/16/2015)
     11/16/2015   551    STATEMENT of undisputed facts to Kaplan Parties' Motion for Summary
                         Judgment by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC.. (Parrish, Jon) (Entered: 11/16/2015)
     11/16/2015   552    CERTIFICATE of counsel re 551 Statement of undisputed facts Certificate
                         Concerning Good Faith Conference on Statement of Facts by Jon Douglas
                         Parrish on behalf of BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC,
                         R1A Palms, LLC, Triple Net Exchange, LLC (Parrish, Jon) (Entered:
                         11/16/2015)
     11/16/2015   553    MOTION for summary judgment by BNK Smith, LLC, Marvin I Kaplan, MK
                         Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Parrish, Jon)
                         (Entered: 11/16/2015)
     11/16/2015   554

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                         MOTION in limine to strike or exclude testimony and report of Ivan Garces
                         by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms,
                         LLC, Triple Net Exchange, LLC. (Attachments: # 1 Exhibit)(Parrish, Jon)
                         (Entered: 11/16/2015)
     11/16/2015   555    MOTION in limine to strike or exclude testimony and report of Paul
                         Carrubba by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC. (Parrish, Jon) (Entered: 11/16/2015)
     11/17/2015   556    NOTICE by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC re 555 MOTION in limine to strike or
                         exclude testimony and report of Paul Carrubba of Filing Expert Report of
                         Paul Carrubba (Parrish, Jon) (Entered: 11/17/2015)
     11/17/2015   557    ENDORSED ORDER re 547 Notice (Other) of Trial Conflict and Motion
                         to Continue filed by Marvin I Kaplan, directing that all responses to the
                         Notice be filed within five days of the date of this Order. Signed by Judge
                         Elizabeth A. Kovachevich on 11/17/2015. (JM) (Entered: 11/17/2015)
     11/18/2015   558    ENDORSED ORDER re 547 Notice (Other) and Motion to Continue filed
                         by Marvin I Kaplan, denying the Motion as moot; with the consent of all
                         parties, the Court is rescheduling the hearing on dispositive motions to
                         Tuesday, December 22, 2015. A separate Order will be entered. Signed by
                         Judge Elizabeth A. Kovachevich on 11/18/2015. (JM) (Entered: 11/18/2015)
     11/19/2015   559    ORDER rescheduling hearing on all dispositive motions to Tuesday,
                         December 22, 2015 at 10:30 a.m. in Courtroom 14A re 558 Order. Signed
                         by Judge Elizabeth A. Kovachevich on 11/19/2015. (JM) (Entered:
                         11/19/2015)
     11/24/2015   560    NOTICE of Appearance by Jonathan Michael Weirich on behalf of BNK
                         Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple
                         Net Exchange, LLC (Weirich, Jonathan) (Entered: 11/24/2015)
     11/24/2015   561    MOTION for Extension of Time to File Response/Reply as to 542 Statement
                         of undisputed facts, 550 MOTION for summary judgment and Incorporated
                         Memorandum of Law, 549 Statement of undisputed facts, 546 MOTION for
                         summary judgment as to Counts XIV, XVI and XVIII, 544 MOTION for
                         summary judgment on Counts II, XIII, XV, XVII, XIX, and XX − Dispositive
                         Motion, 543 MOTION for summary judgment against Kaplan Entities on SAC
                         Counts I−IV, VIII−XI, XV−XVIII, and XXII−XXV and ACC Count XXIII and
                         Supporting Memorandum of Law by BNK Smith, LLC, Marvin I Kaplan, MK
                         Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Weirich,
                         Jonathan) Motions referred to Magistrate Judge Mark A. Pizzo. (Entered:
                         11/24/2015)
     11/25/2015   562    MOTION for Extension of Time to File Response/Reply as to 553 MOTION
                         for summary judgment , 551 Statement of undisputed facts Bank Parties' Joint
                         Motion by Regions Bank. (Garbett, David) Motions referred to Magistrate
                         Judge Mark A. Pizzo. (Entered: 11/25/2015)
     11/25/2015   563    MEMORANDUM in opposition re 561 Motion for Extension of Time to File
                         Response/Reply Bank Parties' Joint Memorandum filed by Regions Bank.
                         (Garbett, David) (Entered: 11/25/2015)


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     11/25/2015   564    ENDORSED ORDER granting 562 Unopposed Motion for Extension of
                         Time to File Response/Reply re 553 MOTION for summary judgment and
                         551 Statement of Undisputed Material Facts . Responses due by 12/4/2015.
                         Signed by Judge Elizabeth A. Kovachevich on 11/25/2015. (JM) (Entered:
                         11/25/2015)
     11/25/2015   565    ORDER granting 561 Motion for Extension of Time to File
                         Response/Reply re 544 MOTION for summary judgment on Counts II,
                         XIII, XV, XVII, XIX, and XX − Dispositive Motion, 550 MOTION for
                         summary judgment and Incorporated Memorandum of Law, 546 MOTION
                         for summary judgment as to Counts XIV, XVI and XVIII, 543 MOTION
                         for summary judgment against Kaplan Entities on SAC Counts I−IV,
                         VIII−XI, XV−XVIII, and XXII−XXV and ACC Count XXIII and
                         Supporting Memorandum of Law, and associated Statements of
                         Undisputed Facts. Responses due by 12/10/2015. Signed by Judge
                         Elizabeth A. Kovachevich on 11/25/2015. (JM) (Entered: 11/25/2015)
     12/03/2015   566    RESPONSE to Motion re 536 MOTION in limine regarding to Exclude
                         Opinion Testimony of Kaplan Entities' Expert, 535 MOTION in limine
                         regarding Motion to Strike Expert Report of J.D. Koontz and to Exclude
                         Expert Testimony filed by BNK Smith, LLC, Marvin I Kaplan, MK Investing,
                         LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Weirich, Jonathan)
                         (Entered: 12/03/2015)
     12/03/2015   567    Consent MOTION for leave to file under seal by Regions Bank. (Perkins,
                         Joseph) (Entered: 12/03/2015)
     12/03/2015   568    Amended MOTION for leave to file under seal by Regions Bank. (Perkins,
                         Joseph) (Entered: 12/03/2015)
     12/03/2015   569    ORDER granting 568 Amended Consent Motion to Seal. Signed by Judge
                         Elizabeth A. Kovachevich on 12/3/2015. (JM) (Entered: 12/03/2015)
     12/03/2015   570    ENDORSED ORDER denying as moot 567 Consent Motion to Seal; an
                         amended motion was filed. Signed by Judge Elizabeth A. Kovachevich on
                         12/3/2015. (JM) (Entered: 12/03/2015)
     12/03/2015   571    MEMORANDUM in opposition re 554 Motion in Limine to Strike Expert
                         Report of Ivan Garces filed by Bridgeview Bank Group. (Ellison, Jason)
                         (Entered: 12/03/2015)
     12/03/2015   572    RESPONSE in Opposition re 555 MOTION in limine to strike or exclude
                         testimony and report of Paul Carrubba filed by Wells Fargo, N.A.. (Ragusa,
                         Mark) (Entered: 12/03/2015)
     12/04/2015   573    NOTICE by Regions Bank Bank Parties' Notice of Filing in Support of Joint
                         Counter−Statement of Undisputed Material Facts in Opposition to Kaplan
                         Parties' Motion for Summary Judgment (Attachments: # 1 Declaration of
                         Richard S. Fechter, # 2 Exhibit A − Expert Report of Richard S. Fechter −
                         Filed Under Seal, # 3 Declaration of M. Scott Newberger, # 4 Declaration of
                         William B. Jarema, # 5 Declaration of Daniel R. Eveloff, # 6 Declaration of
                         Kristy Lockhead, # 7 December 23, 2011 email exchange − Filed Under Seal,
                         # 8 Deposition Excerpts of Marvin Kaplan, # 9 Exhibit 4 − Filed Under Seal, #
                         10 Exhibit 5 − Filed Under Seal, # 11 Exhibit 6 − Filed Under Seal, # 12
                         Exhibit 7 − Filed Under Seal, # 13 Exhibit 8 − Filed Under Seal, # 14 Exhibit

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                         9 − Filed Under Seal, # 15 Exhibit 10 − Filed Under Seal, # 16 Exhibit 10A −
                         Filed Under Seal, # 17 Exhibit 11 − Filed Under Seal, # 18 Exhibit 12 − Filed
                         Under Seal, # 19 Exhibit 32 − Filed Under Seal, # 20 Exhibit 33 − Filed Under
                         Seal, # 21 Exhibit 34 − Filed Under Seal, # 22 Exhibit 35 − Filed Under Seal,
                         # 23 Exhibit 37 − Filed Under Seal, # 24 Exhibit 39 − Filed Under Seal, # 25
                         Exhibit 40 − Filed Under Seal, # 26 Exhibit 41 − Filed Under Seal, # 27
                         Exhibit 42 − Filed Under Seal, # 28 Exhibit 43 − Filed Under Seal, # 29
                         Exhibit 44 − Filed Under Seal, # 30 Exhibit 45 − Filed Under Seal, # 31
                         Exhibit 46 − Filed Under Seal, # 32 Exhibit 47 − Filed Under Seal, # 33
                         Exhibit 50 − Filed Under Seal, # 34 Exhibit 52 − Filed Under Seal, # 35
                         Exhibit 53 − Filed Under Seal, # 36 Exhibit 54 − Filed Under Seal, # 37
                         Exhibit 55 − Filed Under Seal, # 38 Exhibit 56 − Filed Under Seal, # 39
                         Exhibit 57 − Filed Under Seal, # 40 Exhibit 58 − Filed Under Seal, # 41
                         Exhibit 61 − Filed Under Seal, # 42 Exhibit 63 − Filed Under Seal, # 43
                         Exhibit 64 − Filed Under Seal, # 44 Exhibit 65 − Filed Under Seal, # 45
                         Exhibit 66 − Filed Under Seal, # 46 Exhibit 69 − Filed Under Seal, # 47
                         Exhibit 70 − Filed Under Seal, # 48 Exhibit 281 − Filed Under Seal, # 49
                         Exhibit 283 − Filed Under Seal, # 50 Deposition excerpts from Deposition of
                         J.D. Koontz, # 51 Deposition excerpts from Deposition of Larry
                         Starr)(Perkins, Joseph) (Entered: 12/04/2015)
     12/04/2015   574    STATEMENT of undisputed facts Bank Parties' Joint Counter−Statement of
                         Undisputed Material Facts Opposing KPMSJ by Regions Bank.. (Perkins,
                         Joseph) (Entered: 12/04/2015)
     12/04/2015   575    RESPONSE re 551 Statement of undisputed facts Bank Parties' Joint
                         Response to KPSOF filed by Regions Bank. (Perkins, Joseph) (Entered:
                         12/04/2015)
     12/04/2015   576    MEMORANDUM in opposition re 553 Motion for summary judgment filed
                         by Regions Bank. (Perkins, Joseph) (Entered: 12/04/2015)
     12/04/2015   577    MEMORANDUM in opposition re 553 Motion for summary judgment and
                         Imbedded Memorandum of Law in Opposition filed by Bridgeview Bank
                         Group. (Ellison, Jason) (Entered: 12/04/2015)
     12/04/2015   578    STATEMENT of undisputed facts Bank Parties' Corrected Joint
                         Counter−Statement of Undisputed Material Facts Opposing KPMSJ by
                         Regions Bank.. (Perkins, Joseph) (Entered: 12/04/2015)
     12/04/2015   579    RESPONSE in Opposition re 553 MOTION for summary judgment and
                         Memorandum of Law filed by Wells Fargo, N.A.. (Ragusa, Mark) (Entered:
                         12/04/2015)
     12/07/2015   580    MOTION to Withdraw and Amend Responses to Bridgeview Bank's First
                         Requests for Admissions by BNK Smith, LLC, Marvin I Kaplan, MK
                         Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Attachments:
                         # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Weirich, Jonathan) (Entered:
                         12/07/2015)
     12/07/2015          Sealed Document S−582. (LD) (Entered: 12/09/2015)
     12/08/2015   581    MOTION to Strike 541 Notice (Other) Affidavit of Pavel Reytikh by BNK
                         Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple
                         Net Exchange, LLC. (Attachments: # 1 Exhibit A)(Weirich, Jonathan)

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                         Motions referred to Magistrate Judge Mark A. Pizzo. (Entered: 12/08/2015)
     12/10/2015   583    NOTICE by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC of Filing in Support of Statement of
                         Disputed Material Facts in Opposition to the Bank Parties' Motions for
                         Summary Judgment (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Weirich,
                         Jonathan) ***NOTE: EXHIBITS 1−2 deleted pursuant to doc. 595 ORDER.
                         *** Modified on 12/14/2015 (LD). (Entered: 12/10/2015)
     12/10/2015   584    STATEMENT of undisputed facts re: 542 Statement of undisputed facts
                         Statement of Disputed Facts in Opposition to the Bank Parties' Joint Statement
                         of Facts and Motions for Summary Judgment by BNK Smith, LLC, Marvin I
                         Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC..
                         (Weirich, Jonathan) (Entered: 12/10/2015)
     12/10/2015   585    NOTICE by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC of Filing in Support of Statement of
                         Disputed Material Facts in Opposition to Starr's Motions for Summary
                         Judgment (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                         Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9
                         Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14
                         Exhibit N, # 15 Exhibit O, # 16 Exhibit P)(Silverfield, John).**** NOTE:
                         EXHIBITS 1,4,6,7,8,9,10,13,14,15, and 16 deleted pursuant to doc. 595
                         ORDER.*** Modified on 12/14/2015 (LD). (Entered: 12/10/2015)
     12/10/2015   586    RESPONSE in Opposition re 543 MOTION for summary judgment against
                         Kaplan Entities on SAC Counts I−IV, VIII−XI, XV−XVIII, and XXII−XXV and
                         ACC Count XXIII and Supporting Memorandum of Law filed by BNK Smith,
                         LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Weirich, Jonathan) (Entered: 12/10/2015)
     12/10/2015   587    RESPONSE in Opposition re 544 MOTION for summary judgment on Counts
                         II, XIII, XV, XVII, XIX, and XX − Dispositive Motion filed by BNK Smith,
                         LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Weirich, Jonathan) (Entered: 12/10/2015)
     12/10/2015   588    RESPONSE in Opposition re 546 MOTION for summary judgment as to
                         Counts XIV, XVI and XVIII filed by BNK Smith, LLC, Marvin I Kaplan, MK
                         Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Weirich,
                         Jonathan) (Entered: 12/10/2015)
     12/10/2015   589    [TERMINATED, IMAGE REMOVED PURSUANT TO DKT. 595 ORDER.
                         NOTICE of supplemental authority re 585 Notice (Other) Supplemental Notice
                         of Filing in Support of Kaplan Parties' Statement of Disputed Facts in
                         Response to Starr's Motion for Summary Judgment by BNK Smith, LLC,
                         Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Silverfield, John) Modified on 12/14/2015 (LD). (Entered:
                         12/10/2015)
     12/10/2015   590    STATEMENT of undisputed facts Kaplan Parties' Statement of Disputed
                         Facts in Opposition to Starr's Statement of Undisputed facts and Motion for
                         Summary Judgment by BNK Smith, LLC, MK Investing, LLC, R1A Palms,
                         LLC, Triple Net Exchange, LLC.. (Silverfield, John) (Entered: 12/10/2015)
     12/10/2015   591

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                         RESPONSE in Opposition re 550 MOTION for summary judgment and
                         Incorporated Memorandum of Law Kaplan Parties' Response in Opposition to
                         Starr's Motion for Summary Judgment filed by BNK Smith, LLC, Marvin I
                         Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC.
                         (Silverfield, John) (Entered: 12/10/2015)
     12/11/2015   592    MOTION for leave to file under seal in Docket Numbers 583 and 541 by BNK
                         Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple
                         Net Exchange, LLC. (Weirich, Jonathan) (Entered: 12/11/2015)
     12/11/2015   593    MOTION for leave to file under seal in Docket 585 by BNK Smith, LLC,
                         Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Weirich, Jonathan) (Entered: 12/11/2015)
     12/11/2015   594    MOTION for leave to file under seal in Docket 589 by BNK Smith, LLC,
                         Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Weirich, Jonathan) (Entered: 12/11/2015)
     12/11/2015   595    ORDER granting 592 Consent Motion to Seal and Motion to Strike;
                         granting 593 Consent Motion to Seal and Motion to Strike; granting 594
                         Consent Motion to Seal abd Motion to Strike.. Signed by Judge Elizabeth
                         A. Kovachevich on 12/11/2015. (Attachments: # 1 Exhibit, # 2 Exhibit)
                         (JM) (Entered: 12/11/2015)
     12/16/2015          Sealed Document S−596 − S−598. (LD) (Entered: 12/16/2015)
     12/17/2015   599    NOTICE by Regions Bank re 559 Order Parties' Joint Report Concerning
                         Oral Argument on Motions for Summary Judgment on December 22, 2015
                         (Garbett, David) (Entered: 12/17/2015)
     12/17/2015   600    NOTICE by BNK Smith, LLC, Marvin I Kaplan, Lighthouse Pointe, LLC,
                         MK Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC of Filing
                         Corrections re: 586 Response in Opposition to 543 Motion for summary
                         judgment. (Weirich, Jonathan) Modified on 12/18/2015 to edit text. (AG)
                         (Entered: 12/17/2015)
     12/17/2015   601    CORRECTED STATEMENT of undisputed facts in Opposition to the Bank
                         Parties' Joint Statement of Facts and Motions for Summary Judgment re: 584
                         Statement of undisputed facts by BNK Smith, LLC, Marvin I Kaplan, MK
                         Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Weirich,
                         Jonathan) Modified on 12/18/2015 to edit text. (AG) (Entered: 12/17/2015)
     12/17/2015   602    CORRECTED RESPONSE to Motion re 543 MOTION for summary
                         judgment against Kaplan Entities on SAC Counts I−IV, VIII−XI, XV−XVIII,
                         and XXII−XXV and ACC Count XXIII and Supporting Memorandum of Law
                         filed by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms,
                         LLC, Triple Net Exchange, LLC. (Weirich, Jonathan) Modified on 12/18/2015
                         to edit text. (AG) (Entered: 12/17/2015)
     12/17/2015   603    CORRECTED RESPONSE to Motion re 550 MOTION for summary
                         judgment and Incorporated Memorandum of Law filed by BNK Smith, LLC,
                         Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Parrish, Jon) Modified on 12/18/2015 to edit text. (AG)
                         (Entered: 12/17/2015)
     12/21/2015   604
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                         MEMORANDUM in opposition re 580 Motion to Withdraw Deemed
                         Admissions filed by Bridgeview Bank Group. (Ellison, Jason) (Entered:
                         12/21/2015)
     12/22/2015   605    MEMORANDUM in opposition re 581 Motion to Strike Affidavit of Pavel
                         Reytikh filed by Bridgeview Bank Group. (Attachments: # 1 Exhibit Exhibit
                         A)(Ellison, Jason) (Entered: 12/22/2015)
     12/22/2015   606    Minute Entry. Proceedings held before Judge Elizabeth A. Kovachevich:
                         MOTION HEARING held on 12/22/2015 re 550 MOTION for summary
                         judgment and Incorporated Memorandum of Law filed by Charles A. Starr III,
                         546 MOTION for summary judgment as to Counts XIV, XVI and XVIII filed
                         by Wells Fargo, N.A., 544 MOTION for summary judgment on Counts II,
                         XIII, XV, XVII, XIX, and XX − Dispositive Motion filed by Bridgeview Bank
                         Group, 553 MOTION for summary judgment filed by R1A Palms, LLC, MK
                         Investing, LLC, BNK Smith, LLC, Triple Net Exchange, LLC, Marvin I
                         Kaplan, 543 MOTION for summary judgment against Kaplan Entities on SAC
                         Counts I−IV, VIII−XI, XV−XVIII, and XXII−XXV and ACC Count XXIII and
                         Supporting Memorandum of Law filed by Regions Bank. Court Reporter:
                         Sandra K. Provenzano (CLM) (Entered: 12/22/2015)
     12/22/2015   607    Exhibit List by Regions Bank. (CLM) (Entered: 12/22/2015)
     12/22/2015   608    Exhibit List by Wells Fargo, N.A.. (CLM) (Entered: 12/22/2015)
     12/22/2015   609    Exhibit List by Charles A. Starr III. (CLM) (Entered: 12/22/2015)
     12/22/2015   610    Exhibit List by Bridgeview Bank Group. (CLM) (Entered: 12/22/2015)
     12/23/2015   611    SUPPLEMENT REGIONS' SUPPLEMENTAL CITATIONS ON MOTION
                         FOR SUMMARY JUDGMENT by Regions Bank. (Garbett, David) (Entered:
                         12/23/2015)
     12/23/2015   612    NOTICE of EXHIBITS placed in EXHIBIT ROOM [1 Envelope −
                         Plaintiff/Defendant/Counter Defendants Motion Hearing]. (LD) (Entered:
                         12/30/2015)
     01/12/2016   613    MOTION to Compel Financial Worth Discovery Against Kaplan Parties by
                         Regions Bank. (Attachments: # 1 Exhibit RB's 3rd RFP to Kaplan Parties, # 2
                         Exhibit Kaplan Parties' Response to RB's 3rd RFP, # 3 Exhibit Transcript
                         Excerpts − Dec. 19, 2014 Status Confence)(Perkins, Joseph) Motions referred
                         to Magistrate Judge Mark A. Pizzo. (Entered: 01/12/2016)
     01/15/2016   614    MOTION for Attorney Fees and Expenses by Regions Bank. (Attachments: #
                         1 Exhibit Mtn Ex. A − Decl. of D. Garbett iin Support of Motion for Fees and
                         Expenses, # 2 Exhibit Decl. Ex. 1 − Fee Agreement, # 3 Exhibit Decl. Ex. 2 −
                         Fee Spreadsheet, # 4 Exhibit Decl. Ex. 3 − Receipts, # 5 Exhibit Mtn. Ex. B −
                         RB v. Chicago Title Order, # 6 Exhibit Mtn. Ex. C − FDIC v. RSB Order, # 7
                         Exhibit Mtn Ex. D − Benitez v. WGD Order)(Perkins, Joseph) (Entered:
                         01/15/2016)
     01/25/2016   615    MOTION for John I. Silverfield to withdraw as attorney by BNK Smith, LLC,
                         Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Weirich, Jonathan) (Entered: 01/25/2016)
     01/25/2016   616

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                         MOTION for miscellaneous relief, specifically to Correct Scrivener's Errors in
                         Second Amended Complaint by Regions Bank. (Garbett, David) (Entered:
                         01/25/2016)
     01/26/2016   617    RESPONSE in Opposition re 613 MOTION to Compel Financial Worth
                         Discovery Against Kaplan Parties filed by BNK Smith, LLC, Marvin I
                         Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC.
                         (Weirich, Jonathan) (Entered: 01/26/2016)
     01/29/2016   618    ORDER denying without prejudice 613 Regions's motion to compel the
                         Kaplan Parties to produce documents related to the Kaplan Parties'
                         financial worth. Signed by Magistrate Judge Mark A. Pizzo on 1/29/2016.
                         (CJF) (Entered: 01/29/2016)
     01/29/2016   619    RESPONSE in Opposition re 614 MOTION for Attorney Fees and Expenses
                         filed by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms,
                         LLC, Triple Net Exchange, LLC. (Attachments: # 1 Exhibit A, # 2 Exhibit
                         B)(Weirich, Jonathan) (Entered: 01/29/2016)
     02/01/2016   620    NOTICE by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC re 619 Response in Opposition to
                         Motion of Correction (Weirich, Jonathan) (Entered: 02/01/2016)
     02/08/2016   621    RESPONSE in Opposition re 616 MOTION for miscellaneous relief,
                         specifically to Correct Scrivener's Errors in Second Amended Complaint filed
                         by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms,
                         LLC, Triple Net Exchange, LLC. (Weirich, Jonathan) (Entered: 02/08/2016)
     03/22/2016   622    MOTION to Amend/Correct 394 Case management and scheduling order by
                         BNK Smith, LLC, Bridgeview Bank Group, Marvin I Kaplan, Lighthouse
                         Pointe, LLC, MK Investing, LLC, R1A Palms, LLC, Regions Bank, Charles
                         A. Starr III, Triple Net Exchange, LLC, Wells Fargo, N.A.. (Stearns, Jason)
                         (Entered: 03/22/2016)
     03/30/2016   623    Joint MOTION to supplement Motion to Continue Pretrial Deadlines and Trial
                         by Regions Bank. (Attachments: # 1 Exhibit RB's RFP for Financial Info, # 2
                         Exhibit Transcript − 12/19/2014 Status Conf., # 3 Exhibit KP's Obj. to
                         RFP)(Garbett, David) (Entered: 03/30/2016)
     03/31/2016   624    ORDER denying without prejudice 358 Motion for Attorney Fees. See
                         Order for details. Signed by Judge Elizabeth A. Kovachevich on
                         3/31/2016. (JM) (Entered: 03/31/2016)
     04/01/2016   625    NOTICE OF RESCHEDULING HEARING: The final pretrial conference
                         hearing previously scheduled for 04/12/2016 is rescheduled. New scheduling
                         date and time: 4/21/2016 at 09:30 AM in Tampa Courtroom 11 B before
                         Magistrate Judge Mark A. Pizzo (CJF) (Entered: 04/01/2016)
     04/01/2016   626    ORDER granting in part and denying in part 622 Joint motion to
                         amend/correct Third Amended Case Management and Scheduling Order.
                         Signed by Judge Elizabeth A. Kovachevich on 4/1/2016. (JM) (Entered:
                         04/01/2016)
     04/04/2016   627    MOTION for miscellaneous relief, specifically Leave to Appear as Lead
                         Counsel by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC. (Weirich, Jonathan) (Entered:
                                                                                                          83
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                         04/04/2016)
     04/11/2016   628    MOTION in limine by Bridgeview Bank Group, Regions Bank, Wells Fargo,
                         N.A.. (Attachments: # 1 Exhibit A Special Agents' Affidavit)(Perkins, Joseph)
                         (Entered: 04/11/2016)
     04/11/2016   629    Unopposed MOTION in limine by Charles A. Starr III. (Stearns, Jason)
                         (Entered: 04/11/2016)
     04/13/2016   630    ENDORSED ORDER granting 627 Motion for leave to appear as lead
                         counsel. Signed by Judge Elizabeth A. Kovachevich on 4/13/2016. (JM)
                         (Entered: 04/13/2016)
     04/13/2016   631    TRIAL CALENDAR for trial term May 2016. Jury Trial DATE
                         CERTAIN set for 5/2/2016 at 10:00 AM in Tampa Courtroom 14 A before
                         Judge Elizabeth A. Kovachevich. Signed by Courtroom Deputy Clerk on
                         4/13/2016. (RFK) (Entered: 04/13/2016)
     04/14/2016   632    Proposed Jury Instructions by Bridgeview Bank Group. (Ellison, Jason)
                         (Entered: 04/14/2016)
     04/14/2016   633    STATEMENT of the case for trial by Bridgeview Bank Group. (Ellison,
                         Jason) (Entered: 04/14/2016)
     04/14/2016   634    PROPOSED verdict form filed byBridgeview Bank Group. (Ellison, Jason)
                         (Entered: 04/14/2016)
     04/14/2016   635    TRIAL BRIEF by Bridgeview Bank Group. (Ellison, Jason) (Entered:
                         04/14/2016)
     04/14/2016   636    TRIAL BRIEF by Wells Fargo, N.A.. (Ragusa, Mark) (Entered: 04/14/2016)
     04/14/2016   637    STATEMENT of the case for trial by Wells Fargo, N.A.. (Ragusa, Mark)
                         (Entered: 04/14/2016)
     04/14/2016   638    Proposed Jury Instructions by Wells Fargo, N.A.. (Ragusa, Mark) (Entered:
                         04/14/2016)
     04/14/2016   639    PROPOSED verdict form filed byWells Fargo, N.A.. (Ragusa, Mark)
                         (Entered: 04/14/2016)
     04/14/2016   640    TRIAL BRIEF by Regions Bank. (Garbett, David) (Entered: 04/14/2016)
     04/14/2016   641    Proposed Jury Instructions by Regions Bank. (Garbett, David) (Entered:
                         04/14/2016)
     04/14/2016   642    PROPOSED verdict form filed byRegions Bank. (Garbett, David) (Entered:
                         04/14/2016)
     04/14/2016   643    TRIAL BRIEF by Charles A. Starr III. (Attachments: # 1 Exhibit A (Proposed
                         Jury Instructions), # 2 Exhibit B (Proposed Verdict Form))(Stearns, Jason)
                         (Entered: 04/14/2016)
     04/14/2016   644    Proposed Jury Instructions by BNK Smith, LLC, Marvin I Kaplan, MK
                         Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Parrish, Jon)
                         (Entered: 04/14/2016)
     04/14/2016   645

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                         TRIAL BRIEF by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC,
                         R1A Palms, LLC, Triple Net Exchange, LLC. (Parrish, Jon) (Entered:
                         04/14/2016)
     04/14/2016   646    STATEMENT of the case for trial by BNK Smith, LLC, Marvin I Kaplan, MK
                         Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Parrish, Jon)
                         (Entered: 04/14/2016)
     04/14/2016   647    PROPOSED verdict form filed byBNK Smith, LLC, Marvin I Kaplan, MK
                         Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Parrish, Jon)
                         (Entered: 04/14/2016)
     04/14/2016   648    STATEMENT of the case for trial by Regions Bank. (Perkins, Joseph)
                         (Entered: 04/14/2016)
     04/14/2016   649    PRETRIAL statement by Regions Bank. (Garbett, David) (Entered:
                         04/14/2016)
     04/18/2016   650    NOTICE by Charles A. Starr III re 628 MOTION in limine Starr's Notice of
                         Joining The Bank Parties' Omnibus Motion (Stearns, Jason) (Entered:
                         04/18/2016)
     04/18/2016   651    Joint MOTION in limine by Bridgeview Bank Group and Wells Fargo Bank,
                         N.A. to Exclude Kaplan Parties' Untimely Pretrial Disclosures by Bridgeview
                         Bank Group. (Attachments: # 1 Exhibit Composite Exhibit "A")(Baker,
                         Brittney) (Entered: 04/18/2016)
     04/18/2016   652    ORDER granting 543 Motion for summary judgment on following counts
                         of Second Amended Complaint (Dkt. 190): Breach of Contract: Counts I,
                         VIII, XV, XXII; Transfer Liability Warranty: Counts II, IX, XVI, XXIII;
                         Chargeback/Refund: Counts III, X, XVII, XXIV; Indorser Liability:
                         Counts IV, XI, XVIII, XXV; granting summary judgment on Count
                         XXIII of Amended Counterclaim/Crossclaim (Dkt. 93),
                         Negligence/Negligent Misrepresentation. See Order for details.. Signed by
                         Judge Elizabeth A. Kovachevich on 4/18/2016. (Attachments: # 1 Main
                         Document) (JM) (Entered: 04/18/2016)
     04/18/2016   653    MOTION in limine regarding Undisclosed Witnesses by Regions Bank.
                         (Attachments: # 1 Exhibit A − RB's Initial Disclosures, # 2 Exhibit B − KP's
                         Initial Disclosures, # 3 Exhibit C − KP's Amd Initial Disclosures, # 4 Exhibit
                         D − WFB's Initial Disclosures, # 5 Exhibit E − Starr's Initial Disclosures, # 6
                         Exhibit F − Starr's Amd Initial Disclosures, # 7 Exhibit G − KP's Transmittal
                         Email and Preliminary Witness & Exhibit Lists, # 8 Exhibit H − KP's
                         Transmittal Email and Final Witness & Exhibit Lists)(Garbett, David)
                         (Entered: 04/18/2016)
     04/18/2016   654    ORDER granting in part and denying in part 553 Motion for summary
                         judgment on Amended Counterclaim/Crossclaim (Dkt. 93): Breach of
                         U.C.C. Sec. 4−302(A): Count XIII; Count XIV: denied; Breach of 12
                         C.F.R. Part 229: Count XV, Count XVI: denied; as to Second Amended
                         Complaint (Dkt. 190): Conversion claims (Counts V, XII, XIX, XXVI,
                         XXXI): granted; Fraudulent Concealment Claims (Counts VI, XIII, XX,
                         XXVII, XXIX): denied; Aiding and Abetting Claims (Counts VII, XIV,
                         XXI, XXVIII): denied; Aiding and Abetting Conversion, Count XXX:
                         granted. See Order for details. Signed by Judge Elizabeth A. Kovachevich

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                         on 4/18/2016. (JM) (Entered: 04/18/2016)
     04/18/2016   655    ORDER granting 544 Motion for summary judgment on following Counts
                         of Amended Counterclaim/Crossclaim (Dkt. 93): Count II (Conspiracy to
                         Defraud); Count XIII (Breach of U.C.C. Sec. 4−302(A); Count XV
                         (Breach of 12 C.F.R. Part 229); Count XVII (Negligence); Count XIX
                         (Fraud); Count XX (Negligent Misrepresentation). Signed by Judge
                         Elizabeth A. Kovachevich on 4/18/2016. (Attachments: # 1 Exhibit) (JM)
                         (Entered: 04/18/2016)
     04/18/2016   656    ORDER granting 546 Motion for summary judgment as to following
                         Counts of Amended Counterclaim/Crossclaim (Dkt. 93): Count XIV
                         (Breach of U.C.C. Sec. 4−302(A)); Count XVI (Breach of 12 C.F. R. Part
                         229); Count XVIII (Negligence). Signed by Judge Elizabeth A.
                         Kovachevich on 4/18/2016. (Attachments: # 1 Exhibit) (JM) (Entered:
                         04/18/2016)
     04/19/2016   657    ORDER granting 550 Motion for summary judgment as to Count II,
                         Conspiracy to Defraud, of the Amended Counterclaim/Crossclaim (Dkt.
                         93). Signed by Judge Elizabeth A. Kovachevich on 4/19/2016. (JM)
                         (Entered: 04/19/2016)
     04/19/2016   658    MOTION for clarification re 654 Order on motion for summary judgment by
                         BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC,
                         Triple Net Exchange, LLC. (Weirich, Jonathan) (Entered: 04/19/2016)
     04/20/2016   659    MEMORANDUM in opposition re 658 Clarification filed by Regions Bank.
                         (Garbett, David) (Entered: 04/20/2016)
     04/20/2016   660    RESPONSE in Opposition re 628 MOTION in limine filed by BNK Smith,
                         LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Attachments: # 1 Exhibit A)(Weirich, Jonathan) (Entered:
                         04/20/2016)
     04/21/2016   661    Minute Entry. Proceedings held before Magistrate Judge Mark A. Pizzo:
                         FINAL PRETRIAL CONFERENCE held on 4/21/2016. (DIGITAL) (CJF)
                         (Entered: 04/21/2016)
     04/21/2016   662    PRETRIAL ORDER. Signed by Magistrate Judge Mark A. Pizzo on
                         4/21/2016. (CJF) (Entered: 04/21/2016)
     04/22/2016   663    AMENDED TRIAL CALENDAR for trial term May 2016. Trial DATE
                         CERTAIN set for 5/2/2016 at 10:00 AM in Tampa Courtroom 14 A before
                         Judge Elizabeth A. Kovachevich. Signed by Courtroom Deputy Clerk on
                         4/22/2016. (RFK) Modified text on 4/22/2016 (RFK). (Entered: 04/22/2016)
     04/22/2016   664    MOTION in limine regarding Newly Disclosed Witnesses by Regions Bank.
                         (Garbett, David) (Entered: 04/22/2016)
     04/22/2016   665    RESPONSE in Opposition re 653 MOTION in limine regarding Undisclosed
                         Witnesses filed by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC,
                         R1A Palms, LLC, Triple Net Exchange, LLC. (Attachments: # 1 Exhibit
                         1)(Weirich, Jonathan) (Entered: 04/22/2016)
     04/22/2016   666    NOTICE by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC of Withdrawal of Jury Request

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                         (Weirich, Jonathan) (Entered: 04/22/2016)
     04/22/2016   667    ENDORSED ORDER re 346 Order on Motion for Default Judgment,
                         referring the determination of damages to the assigned Magistrate Judge
                         to conduct a hearing, if necessary, and for a report and recommendation,
                         pursuant to Fed. R. Civ. P. 55(b)(2). Signed by Judge Elizabeth A.
                         Kovachevich on 4/22/2016. (JM) (Entered: 04/22/2016)
     04/22/2016   668    2ND AMENDED TRIAL CALENDAR for trial term May 2016. Trial
                         DATE CERTAIN set for 5/2/2016 at 10:00 AM in Tampa Courtroom 14 A
                         before Judge Elizabeth A. Kovachevich. Signed by Courtroom Deputy
                         Clerk on 4/22/2016. (RFK) (Entered: 04/22/2016)
     04/25/2016   669    ENDORSED ORDER granting 615 Motion to Withdraw as Attorney.
                         Attorney John Irwin Silverfield terminated. Signed by Judge Elizabeth A.
                         Kovachevich on 4/25/2016. (JM) (Entered: 04/25/2016)
     04/25/2016   670    ENDORSED ORDER granting in part and denying in part 616 Motion
                         for Leave to Correct Scrivener's Errors in Second Amended Complaint
                         (Dkt. 190). The Motion is granted as to Count XXIX; Kaplan and BNK
                         consent to the relief requested as to Count XXIX. Leave is granted to file
                         an amended complaint by Friday, April 29, 2016. The Motion is otherwise
                         denied as moot as to Count XXVI, which was disposed of on summary
                         judgment. Signed by Judge Elizabeth A. Kovachevich on 4/25/2016. (JM)
                         (Entered: 04/25/2016)
     04/26/2016   671    AMENDED document by Regions Bank. Amendment to 670 Order on Motion
                         for Miscellaneous Relief, 190 Amended document Corrected Second Amended
                         Complaint. (Attachments: # 1 Exhibit A − Depositor's Agreement, # 2 Exhibit
                         Comp. B − Account Statements, # 3 Exhibit C − Returned Checks R1A, # 4
                         Exhibit D − Returned Checks TNE, # 5 Exhibit E − Returned Checks MKI, #
                         6 Exhibit F − Returned Checks BNK)(Garbett, David) (Entered: 04/26/2016)
     04/26/2016   672    MOTION for miscellaneous relief, specifically to Permit Use of Electronic
                         Equipment at Trial Agreed Motion by Regions Bank. (Garbett, David)
                         (Entered: 04/26/2016)
     04/26/2016   673    ORDER granting 672 Agreed Motion to Permit Use of Electronic
                         Equipment During Trial. Signed by Judge Elizabeth A. Kovachevich on
                         4/26/2016. (Attachments: # 1 Exhibit General Order) (JM) (Entered:
                         04/26/2016)
     04/27/2016   674    NOTICE by Regions Bank Regions' Amended Designations on Kaplan
                         Parties' Deposition (Garbett, David) (Entered: 04/27/2016)
     04/27/2016   675    MOTION to Compel Financial Worth Discovery Against Kaplan Parties
                         Renewed by Regions Bank. (Garbett, David) Motions referred to Magistrate
                         Judge Mark A. Pizzo. (Entered: 04/27/2016)
     04/27/2016   676    MOTION to Bifurcate Punitive Damages Claims Against Kaplan Parties by
                         Regions Bank. (Garbett, David) (Entered: 04/27/2016)
     04/27/2016   677    SUGGESTION of Mootness on DE 536 by Regions Bank. (Garbett, David)
                         (Entered: 04/27/2016)
     04/27/2016   678

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                         ENDORSED ORDER denying 676 Motion to Bifurcate Punitive
                         Damages. Signed by Judge Elizabeth A. Kovachevich on 4/27/2016. (JM)
                         (Entered: 04/27/2016)
     04/27/2016   679    PROPOSED findings of fact and conclusions of law by Regions Bank.
                         (Garbett, David) (Entered: 04/27/2016)
     04/27/2016   680    ENDORSED ORDER denying as moot 535 Motion in Limine to Strike
                         Expert Report of J.D. Koontz and to Exclude Expert Testimony of J.D.
                         Koontz. Signed by Judge Elizabeth A. Kovachevich on 4/27/2016. (JM)
                         (Entered: 04/27/2016)
     04/27/2016   681    ENDORSED ORDER denying as moot 536 Motion in Limine to Exclude
                         Opinion Testimony of J.D. Koontz. Signed by Judge Elizabeth A.
                         Kovachevich on 4/27/2016. (JM) (Entered: 04/27/2016)
     04/27/2016   682    ENDORSED ORDER denying as moot 629 Motion in Limine of
                         Defendant Charles Larry Starr; there are no pending claims as to
                         Defendant Starr. Signed by Judge Elizabeth A. Kovachevich on 4/27/2016.
                         (JM) (Entered: 04/27/2016)
     04/27/2016   683    Exhibit List and Witness List by BNK Smith, LLC, Marvin I Kaplan, MK
                         Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Weirich,
                         Jonathan) (Entered: 04/27/2016)
     04/27/2016   684    PROPOSED findings of fact and conclusions of law by BNK Smith, LLC,
                         Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Parrish, Jon) (Entered: 04/27/2016)
     04/27/2016   685    Exhibit List by Regions Bank. (Perkins, Joseph) (Entered: 04/27/2016)
     04/28/2016   686    ENDORSED ORDER. If the Kaplan Parties would like the Court to
                         consider a response to 675 MOTION to Compel Financial Worth
                         Discovery Against Kaplan Parties Renewed, the response is due no later
                         than 4/28/2016 at 3:00 p.m. Signed by Magistrate Judge Mark A. Pizzo on
                         4/28/2016. (CJF) (Entered: 04/28/2016)
     04/28/2016   687    ENDORSED ORDER denying as moot 623 Motion to supplement Motion
                         to Continue. Plaintiff Regions Bank has filed a Renewed Motion to
                         Compel Financial Net Worth Discovery (Dkt. 675). This case remains
                         scheduled for trial on Monday, May 2, 2016. Signed by Judge Elizabeth
                         A. Kovachevich on 4/28/2016. (JM) (Entered: 04/28/2016)
     04/28/2016   688    Exhibit List and Witness List by BNK Smith, LLC, Marvin I Kaplan, MK
                         Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Weirich,
                         Jonathan) (Entered: 04/28/2016)
     04/28/2016   689    Emergency MOTION to quash Trial Subpoena by Brenda Tamm.
                         (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit
                         D)(Stearns, Jason) (Entered: 04/28/2016)
     04/28/2016   690    ENDORSED ORDER directing BNK Smith, LLC, Marvin I Kaplan, MK
                         Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC to respond
                         to 689 Emergency MOTION to quash Trial Subpoena . Responses due by
                         12:00 noon on 4/29/2016. Signed by Judge Elizabeth A. Kovachevich on
                         4/28/2016. (JM) (Entered: 04/28/2016)

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     04/28/2016   691    MOTION for Extension of Time to File Response/Reply as to 675 MOTION
                         to Compel Financial Worth Discovery Against Kaplan Parties Renewed by
                         BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC,
                         Triple Net Exchange, LLC. (Parrish, Jon) Motions referred to Magistrate
                         Judge Mark A. Pizzo. (Entered: 04/28/2016)
     04/28/2016   692    ENDORSED ORDER granting 691 Motion for Extension of Time to File
                         Response to Regions's renewed motion to compel financial worth
                         discovery (doc. 675). The Kaplan parties have until 4:30 p.m. on 4/28/2016
                         to file a response. Signed by Magistrate Judge Mark A. Pizzo on
                         4/28/2016. (CJF) (Entered: 04/28/2016)
     04/28/2016   693    RESPONSE to Motion re 675 MOTION to Compel Financial Worth
                         Discovery Against Kaplan Parties Renewed filed by BNK Smith, LLC, Marvin
                         I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC.
                         (Parrish, Jon) (Entered: 04/28/2016)
     04/28/2016   694    ORDER granting 675 Regions's motion to compel the Kaplan Parties to
                         produce documents related to the Kaplan Parties' financial worth. See
                         Order for details. Signed by Magistrate Judge Mark A. Pizzo on
                         4/28/2016. (CJF) (Entered: 04/28/2016)
     04/29/2016   695    OBJECTION re 694 Order on motion to compel Kaplan Parties Financial
                         Worth Discovery. (Parrish, Jon) (Entered: 04/29/2016)
     04/29/2016   696    MOTION to stay re 694 Order on motion to compel Marvin Kaplan's Tax
                         Returns by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC. (Parrish, Jon) (Entered: 04/29/2016)
     04/29/2016   697    RESPONSE to Motion re 689 Emergency MOTION to quash Trial Subpoena
                         of Non−Party Brenda Tamm filed by BNK Smith, LLC, Marvin I Kaplan, MK
                         Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Weirich,
                         Jonathan) (Entered: 04/29/2016)
     04/29/2016   698    Unopposed MOTION for miscellaneous relief, specifically to Seal Trial
                         Evidence by Bridgeview Bank Group. (Ellison, Jason) (Entered: 04/29/2016)
     04/29/2016   699    ORDER denying without prejudice 689 Emergency Motion to Quash
                         Trial Subpoena and modifying trial subpoena to require attendance
                         during the week of May 9 through 13, 2016, if necessary. See Order for
                         details. Signed by Judge Elizabeth A. Kovachevich on 4/29/2016. (JM)
                         (Entered: 04/29/2016)
     04/29/2016   700    ORDER granting in part and denying in part 658 Motion for
                         clarification; the Motion for Clarification is granted as to Count XXXII,
                         and is otherwise denied. Defendants' Motion for Summary Judgment is
                         denied as to Defendant Kaplan individually on Count XXXII. Signed by
                         Judge Elizabeth A. Kovachevich on 4/29/2016. (JM) (Entered: 04/29/2016)
     04/29/2016   701    Unopposed MOTION for miscellaneous relief, specifically to seal trial
                         evidence by Wells Fargo, N.A.. (Ragusa, Mark) (Entered: 04/29/2016)
     04/29/2016   702    [WITHDRAWN PURSUANT TO DOC. 704 NOTICE] NOTICE of
                         compliance re 694 Order on motion to compel Kaplan Parties to Produce Tax
                         Returns from 2012 to present by BNK Smith, LLC, Marvin I Kaplan, MK
                         Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC (Parrish, Jon)
                                                                                                      89
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                         Modified on 5/2/2016 (LD). (Entered: 04/29/2016)
     04/29/2016   703    ORDER granting in part and denying in part 628 Motion in Limine; see
                         Order for details; granting 653 Motion in Limine, except for Michael
                         Gallatin; denying as moot 664 Motion in Limine. Signed by Judge
                         Elizabeth A. Kovachevich on 4/29/2016. (JM) (Entered: 04/29/2016)
     04/29/2016   704    NOTICE by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Smith Advertising & Associates, Inc., Triple Net Exchange, LLC
                         re 702 Compliance notice on Kaplain Parties Tax Returns from January 1,
                         2012 through the date of production (Parrish, Jon) (Entered: 04/29/2016)
     04/29/2016   705    NOTICE by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC of Serving Responses to Regions
                         Motion to Compel Financial Worth (Parrish, Jon) (Entered: 04/29/2016)
     04/29/2016   706    MEMORANDUM in opposition re 696 Motion to stay, 695 Objection filed by
                         Regions Bank. (Garbett, David) (Entered: 04/29/2016)
     04/30/2016   707    Third MOTION to Compel Financial Worth Discovery by Regions Bank.
                         (Attachments: # 1 Exhibit)(Garbett, David) Motions referred to Magistrate
                         Judge Mark A. Pizzo. (Entered: 04/30/2016)
     04/30/2016   708    TRIAL BRIEF Amended by Regions Bank. (Garbett, David) (Entered:
                         04/30/2016)
     05/01/2016   709    Exhibit List and Witness List − Second Amended by BNK Smith, LLC,
                         Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Weirich, Jonathan) (Entered: 05/01/2016)
     05/01/2016   710    MOTION for Reconsideration re 703 Order on Motion in Limine by Regions
                         Bank. (Garbett, David) (Entered: 05/01/2016)
     05/02/2016   711    NOTICE by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC −NOTICE OF SERVING
                         SUPPLEMENTAL RESPONSE TO REGIONS' REQUEST FOR FINANCIAL
                         WORTH DOCUMENTS− (Parrish, Jon) (Entered: 05/02/2016)
     05/02/2016   712    ORDER on request for request to bring in and use laptop computer and
                         cell phone during trial. Signed by Judge Elizabeth A. Kovachevich on
                         5/2/2016. (Attachments: # 1 Exhibit General Order)(JM) (Entered:
                         05/02/2016)
     05/02/2016   713    ORDER granting 698 Unopposed Motion to Seal Trial Exhibits as to bank
                         records of Bridgeview Bank Group. See Order for details. Signed by
                         Judge Elizabeth A. Kovachevich on 5/2/2016. (JM) (Entered: 05/02/2016)
     05/02/2016   714    ORDER granting 701 Unopposed Motion to Seal Trial Exhibits of bank
                         records of Wells Fargo Bank. N.A. See Order for details. Signed by Judge
                         Elizabeth A. Kovachevich on 5/2/2016. (JM) (Entered: 05/02/2016)
     05/02/2016   715    ORDER granting 710 Motion for Reconsideration re 703 Order on
                         Motion in Limine; granting exclusion of Witness Michael Gallatin. Signed
                         by Judge Elizabeth A. Kovachevich on 5/2/2016. (JM) (Entered:
                         05/02/2016)
     05/02/2016   716
                                                                                                      90
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                         ENDORSED ORDER denying as moot 651 Motion in Limine; the Court
                         resolved the counterclaims/crossclaims asserted against Bridgeview Bank
                         Group and Wells Fargo Bank, N.A. on summary judgment. Signed by
                         Judge Elizabeth A. Kovachevich on 5/2/2016. (JM) (Entered: 05/02/2016)
     05/02/2016   717    Minute Entry. Proceedings held before Judge Elizabeth A. Kovachevich:
                         BENCH TRIAL DAY 1 held on 5/2/2016. Court Reporter: Sandra K.
                         Provenzano (RFK) (Entered: 05/02/2016)
     05/03/2016   718    Minute Entry. Proceedings held before Judge Elizabeth A. Kovachevich:
                         BENCH TRIAL DAY 2 held on 5/3/2016. Court Reporter: Sandra K.
                         Provenzano (RFK) (Entered: 05/03/2016)
     05/04/2016   719    Minute Entry. Proceedings held before Judge Elizabeth A. Kovachevich:
                         BENCH TRIAL DAY 3 held on 5/4/2016. Court Reporter: Sandra K.
                         Provenzano (RFK) (Entered: 05/04/2016)
     05/05/2016   720    ORAL MOTION in limine (Daubert) regarding testimony of witness Richard
                         Fechter by Marvin I Kaplan. (RFK) (Entered: 05/05/2016)
     05/05/2016   721    ORAL ORDER ruling deferred 720 Oral Motion in Limine. By Judge
                         Elizabeth A. Kovachevich on 5/5/2016. (RFK) (Entered: 05/05/2016)
     05/05/2016   723    Minute Entry. Proceedings held before Judge Elizabeth A. Kovachevich:
                         BENCH TRIAL DAY 4 held on 5/5/2016. Court Reporter: Sandra K.
                         Provenzano (RFK) (Entered: 05/05/2016)
     05/06/2016   724    ORDER re 695 Objection, overruling Objections to Order (Dkt. 694), and
                         directing Defendants to comply with Order to produce tax returns. See
                         Order for details. Signed by Judge Elizabeth A. Kovachevich on 5/6/2016.
                         (JM) (Entered: 05/06/2016)
     05/06/2016   725    ENDORSED ORDER denying as moot 696 motion to stay. Signed by
                         Judge Elizabeth A. Kovachevich on 5/6/2016. (JM) (Entered: 05/06/2016)
     05/06/2016   726    ENDORSED ORDER directing BNK Smith, LLC, Marvin I Kaplan, MK
                         Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC to respond
                         to 707 Third MOTION to Compel Financial Worth Discovery . Responses
                         due by 5/9/2016 at 5:00 p.m. Signed by Judge Elizabeth A. Kovachevich
                         on 5/6/2016. (JM) (Entered: 05/06/2016)
     05/09/2016   727    NOTICE by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC re 724 Order − DIRECTING
                         KAPLAN TO PRODUCE HIS PERSONAL TAX RETURNS FROM 2013 TO
                         DATE (Parrish, Jon) (Entered: 05/09/2016)
     05/09/2016   728    MOTION for Extension of Time to File Response/Reply as to 707 Third
                         MOTION to Compel Financial Worth Discovery , 726 Order directing
                         response to motion by BNK Smith, LLC, Marvin I Kaplan, MK Investing,
                         LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Peterson, Donald)
                         Motions referred to Magistrate Judge Mark A. Pizzo. (Entered: 05/09/2016)
     05/09/2016   729    ENDORSED ORDER granting 728 Expedited Motion for Extension of
                         Time to File Response/Reply. Responses due by 5/10/2016 at 5:00 p.m.
                         Signed by Judge Elizabeth A. Kovachevich on 5/9/2016. (JM) (Entered:
                         05/09/2016)

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     05/09/2016   730    Minute Entry. Proceedings held before Judge Elizabeth A. Kovachevich:
                         BENCH TRIAL DAY 5 held on 5/9/2016. Court Reporter: Sandra K.
                         Provenzano (RFK) (Entered: 05/09/2016)
     05/10/2016   731    RESPONSE to Motion re 707 Third MOTION to Compel Financial Worth
                         Discovery filed by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC,
                         R1A Palms, LLC, Triple Net Exchange, LLC. (Parrish, Jon) (Entered:
                         05/10/2016)
     05/10/2016   732    ORAL MOTION to Strike portions of Marvin Kaplan's testimony by Regions
                         Bank. Defense orally objects. (RFK) (Entered: 05/10/2016)
     05/10/2016   733    ORAL ORDER denying 732 ORAL Motion to Strike and defers ruling on
                         Defense Objection. By Judge Elizabeth A. Kovachevich on 5/10/2016.
                         (RFK) (Entered: 05/10/2016)
     05/10/2016   734    Minute Entry. Proceedings held before Judge Elizabeth A. Kovachevich:
                         BENCH TRIAL DAY 6 held on 5/10/2016. Court Reporter: Sandra K.
                         Provenzano (RFK) (Entered: 05/10/2016)
     05/11/2016   735    ORAL MOTION to Bifurcate punitive damages from determination of
                         liability on pending claims by Regions Bank. (RFK) (Entered: 05/11/2016)
     05/11/2016   736    ORAL ORDER denying 735 Oral Motion to Bifurcate punitive damages
                         from determination of liability on pending claims.. By Judge Elizabeth A.
                         Kovachevich on 5/11/2016. (RFK) (Entered: 05/11/2016)
     05/11/2016   737    Minute Entry. Proceedings held before Judge Elizabeth A. Kovachevich:
                         BENCH TRIAL DAY 7 held on 5/11/2016. Court Reporter: Sandra K.
                         Provenzano (RFK) (Entered: 05/11/2016)
     05/12/2016   738    ORDER granting in part and denying in part 707 Motion to Compel
                         financial worth discovery. Signed by Judge Elizabeth A. Kovachevich on
                         5/12/2016. (JM) (Entered: 05/12/2016)
     05/12/2016   739    Minute Entry. Proceedings held before Judge Elizabeth A. Kovachevich:
                         BENCH TRIAL DAY 8 held on 5/12/2016. Court Reporter: Sandra K.
                         Provenzano (RFK) (Entered: 05/12/2016)
     05/16/2016   740    Minute Entry. Proceedings held before Judge Elizabeth A. Kovachevich:
                         BENCH TRIAL DAY 9 held on 5/16/2016. Court Reporter: Sandra K.
                         Provenzano (RFK) (Entered: 05/16/2016)
     05/16/2016   741    NOTICE by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC re 738 Order on motion to compel
                         KAPLAN PARTIES FINANCIAL WORTH (Parrish, Jon) (Entered: 05/16/2016)
     05/17/2016   742    Minute Entry. Proceedings held before Judge Elizabeth A. Kovachevich:
                         BENCH TRIAL DAY 10 held on 5/17/2016. Court Reporter: Sandra K.
                         Provenzano (RFK) (Entered: 05/17/2016)
     05/18/2016   743    ORDER re 504 Order on Sealed Motion, affirming Order and overruling
                         objections. Signed by Judge Elizabeth A. Kovachevich on 5/18/2016. (JM)
                         (Entered: 05/18/2016)
     05/18/2016   744    Minute Entry. Proceedings held before Judge Elizabeth A. Kovachevich:
                         BENCH TRIAL DAY 11 held on 5/18/2016. Court Reporter: Sandra K.
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                         Provenzano (RFK) (Entered: 05/19/2016)
     05/18/2016   745    ORAL MOTION to Strike Witness testimony by Marvin I Kaplan. (RFK)
                         (Entered: 05/19/2016)
     05/18/2016   746    ORAL ORDER denying 745 ORAL Motion to Strike testimony. By Judge
                         Elizabeth A. Kovachevich on 5/18/2016. (RFK) (Entered: 05/19/2016)
     05/19/2016   747    Minute Entry. Proceedings held before Judge Elizabeth A. Kovachevich:
                         BENCH TRIAL DAY 12 held on 5/19/2016. Court Reporter: Sandra K.
                         Provenzano (RFK) (Entered: 05/19/2016)
     05/23/2016   748    Minute Entry. Proceedings held before Judge Elizabeth A. Kovachevich:
                         BENCH TRIAL (DAY 13) held on 5/23/2016. Court Reporter: Sandra K.
                         Provenzano (SMB) (Entered: 05/23/2016)
     05/24/2016   749    Minute Entry. Proceedings held before Judge Elizabeth A. Kovachevich:
                         BENCH TRIAL (DAY 14) held on 5/24/2016. Court Reporter: Sandra K.
                         Provenzano (SMB) (Entered: 05/24/2016)
     05/25/2016   750    Minute Entry. Proceedings held before Judge Elizabeth A. Kovachevich:
                         BENCH TRIAL (DAY 15) held on 5/25/2016. Trial will resume on 7/8/16 at
                         10:00 a.m. Court Reporter: Sandra K. Provenzano (SMB) (Entered:
                         05/25/2016)
     05/27/2016   751    MOTION for miscellaneous relief, specifically to be Excused and Notice of
                         Unavailability by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC,
                         R1A Palms, LLC, Triple Net Exchange, LLC. (Weirich, Jonathan) (Entered:
                         05/27/2016)
     05/31/2016   752    PLAINTIFF'S BRIEF re 671 Amended document Memorandum on Delaware
                         Law for Punitive Damages filed by Regions Bank. (Garbett, David) (Entered:
                         05/31/2016)
     06/08/2016   753    ORDER. No later than July 8, 2016, Cross−Claimants shall file a
                         memorandum concerning the types and amount of damages they seek
                         against each Cross−Defendant. Signed by Magistrate Judge Mark A.
                         Pizzo on 6/8/2016. (CJF) (Entered: 06/08/2016)
     06/21/2016   754    (DOCUMENT TERMINATED; COUNSEL HAS RE−FILED AT ENTRY
                         NO. 755 ) MOTION for Extension of Time to File Proposed Findings and
                         Conclusions by Regions Bank. (Garbett, David) Modified on 6/22/2016 (AG).
                         (Entered: 06/21/2016)
     06/21/2016   755    Unopposed MOTION for Extension of Time to File Proposed Findings of Fact
                         and Conclusions of Law by Regions Bank. (Garbett, David) (Entered:
                         06/21/2016)
     06/24/2016   756    ORDER granting 755 Agreed Motion for Extension of Time to File initial
                         proposed findings of fact and conclusions of law to July 15, 2016 and
                         rebuttal proposed findings of fact and conclusions of law to July 25, 2016.
                         Signed by Judge Elizabeth A. Kovachevich on 6/24/2016. (JM) (Entered:
                         06/24/2016)
     06/24/2016   757    ORDER cancelling the scheduled continuation of the bench trial on
                         Friday, July 8, 2016 and Friday, July 15, 2016; deferring ruling on all

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                         punitive damage issues until a final determination as to liability and the
                         award of compensatory damages. Signed by Judge Elizabeth A.
                         Kovachevich on 6/24/2016. (JM) (Entered: 06/24/2016)
     07/08/2016   758    MEMORANDUM in support re 753 Order − KAPLAN PARTIES'
                         MEMORANDUM OF LAW REGARDING DAMAGES AGAINST
                         DEFAULTED PARTIES, TODD SMITH, GARY SMITH, LUCY SMITH, AND
                         SMITH ADVERTISING & ASSOCIATES − filed by BNK Smith, LLC, Marvin
                         I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC.
                         (Weirich, Jonathan) (Entered: 07/08/2016)
     07/12/2016   759    MOTION for entry of judgment under Rule 54(b) by Wells Fargo, N.A..
                         (Ragusa, Mark) (Entered: 07/12/2016)
     07/12/2016   760    MOTION for entry of judgment under Rule 54(b) by Bridgeview Bank Group.
                         (Ellison, Jason) (Entered: 07/12/2016)
     07/13/2016   761    MOTION to supplement Trial Record Agreed Motion by Regions Bank.
                         (Garbett, David) (Entered: 07/13/2016)
     07/14/2016   762    ENDORSED ORDER granting 761 Unopposed Motion to Supplement
                         Trial Record. Signed by Judge Elizabeth A. Kovachevich on 7/14/2016.
                         (JM) (Entered: 07/14/2016)
     07/14/2016   763    ENDORSED ORDER denying as moot 751 Motion to be Excused. Signed
                         by Judge Elizabeth A. Kovachevich on 7/14/2016. (JM) (Entered:
                         07/14/2016)
     07/15/2016   764    NOTICE of hearing: Evidentiary Hearing on the Kaplan Parties' damages
                         against defaulted parties set for 11/17/2016 at 09:30 AM in Tampa Courtroom
                         11 B before Magistrate Judge Mark A. Pizzo. (CJF) (Entered: 07/15/2016)
     07/15/2016   765    [TERMINATED] MOTION for miscellaneous relief, specifically
                         Memorandum on Pre− and Post−Judgment Interest by Regions Bank. (Garbett,
                         David) NOTE: Incorrect event code, counsel notified via voice message.
                         Modified on 7/18/2016 (LD). (Entered: 07/15/2016)
     07/15/2016   766    PROPOSED findings of fact and conclusions of law by Regions Bank.
                         (Garbett, David) (Entered: 07/15/2016)
     07/15/2016   767    NOTICE by Regions Bank re 766 Proposed findings of fact and conclusions of
                         law in Support (Attachments: # 1 Exhibit Dec. 14, 2011 Email String − Todd
                         Smith and Kaplan, # 2 Exhibit Dec. 14, 2011 Email from Todd Smith to
                         Kaplan, # 3 Exhibit Dec. 16, 2011 Email beween Todd Smith and Kaplan, # 4
                         Exhibit Dec. 16, 2011 Email Between Amber Mathias and Kaplan, # 5 Exhibit
                         Spreadsheet Calc. of Prejudgment Interest)(Garbett, David) (Entered:
                         07/15/2016)
     07/15/2016   768    PROPOSED findings of fact and conclusions of law by BNK Smith, LLC,
                         Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Weirich,
                         Jonathan) (Entered: 07/15/2016)
     07/18/2016   769    MEMORANDUM in support re 766 Proposed findings of fact and conclusions
                         of law filed by Regions Bank. (Garbett, David) (Entered: 07/18/2016)


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     07/18/2016   770    NOTICE of filing audio and video files on DVD by Regions Bank re 762
                         Order on motion to supplement. ***DVD filed Court file.*** (LD) (Entered:
                         07/18/2016)
     07/20/2016   771    MOTION to extend time to Submit Rebuttal Proposed Findings of Fact and
                         Conclusions of Law Agreed Motion by Regions Bank. (Perkins, Joseph)
                         (Entered: 07/20/2016)
     07/21/2016   772    ENDORSED ORDER granting 771 Unopposed Motion to extend time to
                         submit rebuttal proposed findings of fact and conclusions of law to
                         August 4, 2016. Signed by Judge Elizabeth A. Kovachevich on 7/21/2016.
                         (JM) (Entered: 07/21/2016)
     07/26/2016   773    RESPONSE in Opposition re 759 MOTION for entry of judgment under Rule
                         54(b) , 760 MOTION for entry of judgment under Rule 54(b) filed by BNK
                         Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple
                         Net Exchange, LLC. (Weirich, Jonathan) (Entered: 07/26/2016)
     07/29/2016   774    TRANSCRIPT of Bench Trial held on 05/02/16 before Judge Elizabeth A.
                         Kovachevich. Court Reporter/Transcriber Sandra K. Provenzano,Telephone
                         number 813/301−5699. Transcript may be viewed at the court public terminal
                         or purchased through the Court Reporter/Transcriber before the deadline for
                         Release of Transcript Restriction. After that date it may be obtained through
                         PACER or purchased through the Court Reporter. Redaction Request due
                         8/19/2016, Redacted Transcript Deadline set for 8/29/2016, Release of
                         Transcript Restriction set for 10/27/2016. (Attachments: # 1 05/03/16, # 2
                         05/04/16, # 3 05/05/16, # 4 05/09/16, # 5 05/10/16, # 6 05/11/16, # 7 05/12/16
                         pm, # 8 05/16/16, # 9 05/17/16, # 10 05/18/16, # 11 05/19/16, # 12 05/23/16, #
                         13 05/24/16 am, # 14 05/24/16 pm, # 15 05/25/16) (SKP) (Entered:
                         07/29/2016)
     07/29/2016   775    NOTICE to counsel of filing of OFFICIAL TRANSCRIPT. The parties have
                         seven (7) calendar days to file with the court a Notice of Intent to Request
                         Redaction of this transcript. If no such Notice is filed, the transcript may be
                         made remotely electronically available to the public without redaction after 90
                         calendar days. Any party needing a copy of the transcript to review for
                         redaction purposes may purchase a copy from the court reporter or view the
                         document at the clerk's office public terminal. Court Reporter: Sandra K.
                         Provenzano. (SKP) (Entered: 07/29/2016)
     08/03/2016          Sealed Document S−776 and S−777. (LD) (Entered: 08/03/2016)
     08/04/2016   778    RESPONSE re 768 Proposed findings of fact and conclusions of law Rebuttal
                         Closing Argument filed by Regions Bank. (Garbett, David) (Entered:
                         08/04/2016)
     08/04/2016   779    RESPONSE re 766 Proposed findings of fact and conclusions of law Rebuttal
                         to Regions Bank's Proposed Findings of Fact and Conclusions of Law filed by
                         BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC,
                         Triple Net Exchange, LLC. (Weirich, Jonathan) (Entered: 08/04/2016)
     08/04/2016   780    NOTICE of intent to request redaction by Jonathan Michael Weirich re 774
                         Transcript (Weirich, Jonathan) (Entered: 08/04/2016)
     08/04/2016   781

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                         MEMORANDUM in opposition re 752 Brief − Plaintiff Regarding Punitive
                         Damages filed by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC,
                         R1A Palms, LLC, Triple Net Exchange, LLC. (Weirich, Jonathan) (Entered:
                         08/04/2016)
     08/04/2016   782    MEMORANDUM in opposition re 769 Memorandum in support on
                         Prejudgment and Post−Judgment Interest filed by BNK Smith, LLC, Marvin I
                         Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC.
                         (Weirich, Jonathan) (Entered: 08/04/2016)
     08/18/2016   783    MOTION to extend time to Provide Redaction Request by BNK Smith, LLC,
                         Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Weirich, Jonathan) (Entered: 08/18/2016)
     08/30/2016   784    MOTION for clarification re 719 Bench Trial − Held re Stricken Testimony by
                         Regions Bank. (Attachments: # 1 Exhibit August Email Exchange between
                         counsel)(Garbett, David) (Entered: 08/30/2016)
     08/30/2016   785    MOTION for clarification re 774 Transcript and/or to Seal Trial Transcript by
                         BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC,
                         Triple Net Exchange, LLC. (Weirich, Jonathan) (Entered: 08/30/2016)
     09/13/2016   786    RESPONSE to Motion re 784 MOTION for clarification re 719 Bench Trial −
                         Held re Stricken Testimony filed by BNK Smith, LLC, Marvin I Kaplan, MK
                         Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Weirich,
                         Jonathan) (Entered: 09/13/2016)
     09/15/2016   787    PLAINTIFF'S FINAL TRIAL EXHIBIT LIST.(SMB) (Entered: 09/15/2016)
     09/15/2016   788    DEFENDANT'S FINAL TRIAL EXHIBIT LIST. (SMB) (Entered:
                         09/15/2016)
     09/15/2016   789    NOTIFICATION of exhibits placed in exhibit room (3 boxes and 1 folder).
                         (SMB) (Entered: 09/15/2016)
     10/26/2016   790    NOTICE by Regions Bank Regions' Notice of Motion to Transfer Action to the
                         Hon. Elizabeth A. Kovachevich Presiding Over Related Action (Attachments:
                         # 1 Exhibit)(Garbett, David) (Entered: 10/26/2016)
     10/31/2016   791    NOTICE by Regions Bank of Renewed Motion to Transfer Action to the
                         Honorable Elizabeth A. Kovachevich (Garbett, David) (Entered: 10/31/2016)
     11/16/2016   792    NOTICE by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC of Filing Affidavit of Attorney's Fees
                         and Costs (Attachments: # 1 Exhibit A, # 2 Exhibit 1)(Weirich, Jonathan)
                         (Entered: 11/16/2016)
     11/16/2016   793    NOTICE by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC Amended Notice of Filing Affidavit of
                         Attorney's Fees and Costs (Attachments: # 1 Exhibit A, # 2 Exhibit
                         1)(Weirich, Jonathan) (Entered: 11/16/2016)
     11/16/2016   794    NOTICE by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC Non−Military Affidavit (Attachments:
                         # 1 Exhibit A)(Weirich, Jonathan) (Entered: 11/16/2016)
     11/16/2016   795
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                         NOTICE by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC of Filing Affidavit of Marvin I.
                         Kaplan (Attachments: # 1 Exhibit A)(Weirich, Jonathan) (Entered:
                         11/16/2016)
     11/16/2016   796    NOTICE by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC re 795 Notice (Other) of Filing
                         Exhibits to the Affidavit of Marvin I. Kaplan (Attachments: # 1 Exhibit A, # 2
                         Exhibit B)(Weirich, Jonathan) (Entered: 11/16/2016)
     11/17/2016   797    Minute Entry. Proceedings held before Magistrate Judge Mark A. Pizzo:
                         Evidentiary Hearing held on 11/17/2016. Court Reporter: Claudia
                         Spangler−Fry. (CJF) (Entered: 11/17/2016)
     12/01/2016   798    MOTION to extend time to Provide Supplemental Memorandum on Damages
                         by BNK Smith, LLC, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Weirich, Jonathan) (Entered: 12/01/2016)
     12/01/2016   799    MOTION to Seal Evidence from the November 17, 2016 Evidentiary Hearing
                         by BNK Smith, LLC, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Weirich, Jonathan) Modified text on 12/2/2016 (AG).
                         (Entered: 12/01/2016)
     12/01/2016   800    MOTION for Attorney Fees by BNK Smith, LLC, MK Investing, LLC, R1A
                         Palms, LLC, Triple Net Exchange, LLC. (Attachments: # 1 Exhibit
                         A)(Weirich, Jonathan) (Entered: 12/01/2016)
     12/01/2016   801    PROPOSED BILL OF COSTS by BNK Smith, LLC, MK Investing, LLC,
                         R1A Palms, LLC, Triple Net Exchange, LLC. (Attachments: # 1 Exhibit
                         A)(Weirich, Jonathan) (Entered: 12/01/2016)
     12/02/2016   802    ENDORSED ORDER granting 798 Motion for 10−day extension to
                         provide supplemental memorandum. Signed by Magistrate Judge Mark
                         A. Pizzo on 12/2/2016. (CJF) (Entered: 12/02/2016)
     12/05/2016   803    ORDER granting 799 Motion to Seal to the extent that the Clerk is
                         directed to file Exhibits 23−24, and 29−41 from the 11/17/2016 evidentiary
                         hearing under seal. Signed by Magistrate Judge Mark A. Pizzo on
                         12/5/2016. (CJF) (Entered: 12/05/2016)
     12/05/2016   847    NOTICE of EXHIBITS placed in the Exhibit Room (1 Folder Sealed (placed
                         in vault); 1 Envelope) re 797 Evidentiary Hearing, 803 Order on Motion to
                         Seal (EJC) (Entered: 10/27/2017)
     12/12/2016   804    MEMORANDUM in support re 802 Order on motion to extend time
                         Regarding Damages against Defaulted Parties filed by BNK Smith, LLC,
                         Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple Net
                         Exchange, LLC. (Weirich, Jonathan) (Entered: 12/12/2016)
     02/16/2017   805    REPORT AND RECOMMENDATION re damages on the Kaplan
                         parties' default judgment against the Smith parties. I recommend the
                         Court award $47,598,983 to R1A Palms, LLC, $11,246,494 to Triple Net
                         Exchange, LLC, $7,795,449.47 to MK Investing, LLC, and $2,963,804.18
                         to BNK Smith, LLC, plus pre−judgment and post−judgment interest, as
                         well as $40,609 in attorneys' fees. Signed by Magistrate Judge Mark A.
                         Pizzo on 2/16/2017. (CJF) (Entered: 02/16/2017)
                                                                                                          97
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     02/28/2017   806    MEMORANDUM in opposition re 805 Report and Recommendations filed by
                         Bridgeview Bancorp, Inc., Bridgeview Bank Group, Regions Bank, Charles A.
                         Starr III, Wells Fargo, N.A.. (Garbett, David) (Entered: 02/28/2017)
     03/14/2017   807    RESPONSE re 806 Memorandum in opposition TO MAGISTRATES REPORT
                         AND RECOMMENDATION filed by BNK Smith, LLC, MK Investing, LLC,
                         R1A Palms, LLC, Triple Net Exchange, LLC. (Weirich, Jonathan) (Entered:
                         03/14/2017)
     03/24/2017   808    ORDER denying 554 Motion in Limine to Strike or Exclude Testimony
                         and Report of Ivan Garces. Signed by Judge Elizabeth A. Kovachevich on
                         3/24/2017, nunc pro tunc April 17, 2016. (JM) (Entered: 03/24/2017)
     03/24/2017   809    ORDER denying 555 Motion in Limine to Strike or Exclude Testimony
                         and Report of Paul A. Carrubba. Signed by Judge Elizabeth A.
                         Kovachevich on 3/24/2017, nunc pro tunc April 17, 2016. (JM) (Entered:
                         03/24/2017)
     03/24/2017   810    ORDER denying 580 Motion to Withdraw and Amend Responses to
                         Bridgeview Bank's First Requests for Admission. Signed by Judge
                         Elizabeth A. Kovachevich on 3/24/2017. (JM) (Entered: 03/24/2017)
     03/24/2017   811    ORDER denying 581 Motion to Strike Affidavit of Pavel Reytikh. Signed
                         by Judge Elizabeth A. Kovachevich on 3/24/2017, nunc pro tunc April 17,
                         2016. (JM) (Entered: 03/24/2017)
     03/31/2017   812    ORDER denying 720 Oral Motion in Limine Regarding Testimony of
                         Witness Richard Fechter. Signed by Judge Elizabeth A. Kovachevich on
                         3/31/2017. (JM) (Entered: 03/31/2017)
     03/31/2017   813    ORDER denying without prejudice 759 motion for entry of judgment
                         under Rule 54(b); denying without prejudice 760 motion for entry of
                         judgment under Rule 54(b). Signed by Judge Elizabeth A. Kovachevich
                         on 3/31/2017. (JM) (Entered: 03/31/2017)
     03/31/2017   814    ORDER granting 783 Motion to extend time; granting 784 Motion for
                         clarification; granting 785 Motion for clarification. See Order for details.
                         Signed by Judge Elizabeth A. Kovachevich on 3/31/2017. (JM) (Entered:
                         03/31/2017)
     03/31/2017   815    ORDER granting 614 Motion for Award of Attorney Fees and Expenses.
                         Signed by Judge Elizabeth A. Kovachevich on 3/31/2017. (JM) (Entered:
                         03/31/2017)
     04/13/2017   816    MOTION to Redact 774 Transcript of 5/2/16 − 5/25/16 Bench Trial by BNK
                         Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple
                         Net Exchange, LLC. (Attachments: # 1 Exhibit Exhibit A)(Weirich, Jonathan)
                         Motions referred to Magistrate Judge Mark A. Pizzo. (Entered: 04/13/2017)
     04/27/2017   817    Unopposed MOTION for Extension of Time to File Response/Reply as to 816
                         MOTION to Redact 774 Transcript of 5/2/16 − 5/25/16 Bench Trial by
                         Regions Bank. (Garbett, David) Motions referred to Magistrate Judge Mark A.
                         Pizzo. (Entered: 04/27/2017)
     04/27/2017   818    ENDORSED ORDER granting 817 Motion for 14−Day Extension of Time
                         to File Response to Kaplan Parties' Motion to Seal. Signed by Magistrate

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                          Judge Mark A. Pizzo on 4/27/2017. (CJF) (Entered: 04/27/2017)
      05/10/2017   819    MEMORANDUM in opposition re 816 Motion to Redact Transcript filed by
                          Regions Bank. (Attachments: # 1 Exhibit Trial Transcript Redaction
                          Summary)(Garbett, David) (Entered: 05/10/2017)
      05/16/2017   820    MOTION for miscellaneous relief, specifically to Unseal Trial Transcript at
                          DE 776 by Regions Bank. (Garbett, David) (Entered: 05/16/2017)
      05/26/2017   821    STIPULATION Joint Stipulation re Payment of Sanctions Award by Regions
                          Bank. (Garbett, David) (Entered: 05/26/2017)
      05/30/2017   822    RESPONSE re 820 MOTION for miscellaneous relief, specifically to Unseal
                          Trial Transcript at DE 776 filed by BNK Smith, LLC, Marvin I Kaplan, MK
                          Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Weirich,
                          Jonathan) (Entered: 05/30/2017)
      06/19/2017   823    MOTION for sanctions and Supporting Memorandum of Law by Regions
                          Bank. (Garbett, David) (Entered: 06/19/2017)
      06/19/2017   824    NOTICE by Regions Bank re 823 MOTION for sanctions and Supporting
                          Memorandum of Law (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit
                          C)(Garbett, David) (Entered: 06/19/2017)
      06/19/2017   825    REQUEST for oral argument re 823 MOTION for sanctions and Supporting
                          Memorandum of Law by Regions Bank. (Garbett, David) (Entered:
                          06/19/2017)
      06/23/2017   826    MEMORANDUM AND OPINION following the bench trial on the
                          pending claims in the Corrected Second Amended Complaint (Dkt. 671).
                          See Opinion for details. The Clerk of Court shall enter a final judgment in
                          favor of Defendants on each of the pending claims. Signed by Judge
                          Elizabeth A. Kovachevich on 6/23/2017. (JM) (Entered: 06/23/2017)
      06/26/2017   827    ORDER re 826 Memorandum and opinion, filing documents. Signed by
                          Judge Elizabeth A. Kovachevich on 6/26/2017. (Attachments: # 1 Exhibit,
                          # 2 Exhibit, # 3 Exhibit, # 4 Exhibit)(JM) (Entered: 06/26/2017)
      06/26/2017   828    (VACATED pursuant to the Court's 837 Order)FINAL JUDGMENT in
                          favor of R1A Palms, LLC against Regions Bank. Signed by Deputy Clerk
                          on 6/26/2017. (AG) Modified on 11/13/2017 (AG). (Entered: 06/26/2017)
      06/26/2017   829    (VACATED pursuant to the Court's 837 Order) FINAL JUDGMENT in
                          favor of Triple Net Exchange, LLC against Regions Bank. Signed by
                          Deputy Clerk on 6/26/2017. (AG) Modified on 11/13/2017 (AG). (Entered:
                          06/26/2017)
      06/26/2017   830    (VACATED pursuant to the Court's 837 Order) FINAL JUDGMENT in
                          favor of MK Investing, LLC against Regions Bank. Signed by Deputy
                          Clerk on 6/26/2017. (AG) Modified on 11/13/2017 (AG). (Entered:
                          06/26/2017)
      06/26/2017   831    (VACATED pursuant to the Court's 837 Order) FINAL JUDGMENT in
                          favor of BNK Smith, LLC against Regions Bank. Signed by Deputy Clerk
                          on 6/26/2017. (AG) Modified on 11/13/2017 (AG). (Entered: 06/26/2017)
      06/26/2017   832
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                          (VACATED pursuant to the Court's 837 Order) FINAL JUDGMENT in
                          favor of Marvin I Kaplan against Regions Bank. Signed by Deputy Clerk
                          on 6/26/2017. (AG) Modified on 11/13/2017 (AG). (Entered: 06/26/2017)
      07/03/2017   833    TERMINATED PURSUANT TO DKT. 834 NOTICE. RESPONSE in
                          Opposition re 823 MOTION for sanctions and Supporting Memorandum of
                          Law filed by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                          Palms, LLC, Triple Net Exchange, LLC. (Weirich, Jonathan) Modified on
                          7/5/2017 (LD). (Entered: 07/03/2017)
      07/03/2017   834    NOTICE by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                          Palms, LLC, Triple Net Exchange, LLC re 833 Response in Opposition to
                          Motion − Notice of Withdrawal (and Request to Remove from Docket due to
                          erroneous filing) − (Weirich, Jonathan) (Entered: 07/03/2017)
      07/03/2017   835    RESPONSE in Opposition re 823 MOTION for sanctions and Supporting
                          Memorandum of Law filed by BNK Smith, LLC, Marvin I Kaplan, MK
                          Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Weirich,
                          Jonathan) (Entered: 07/03/2017)
      07/05/2017   836    TERMINATED. Verified MOTION for sanctions pursuant to Section 1927,
                          Renewed Motion for Rule 11 Sanctions and Incorporated Memo of Law by
                          Bridgeview Bank Group. (Attachments: # 1 Exhibit BNK Smith's Answers to
                          Bridgeview Bank Group's First Set of Interrogatories)(Ellison, Jason) NOTE:
                          Terminated pursuant to Dkt. 838 Notice of Withdrawal. Modified on 7/6/2017
                          (LD). (Entered: 07/05/2017)
      07/05/2017   837    Unopposed MOTION for miscellaneous relief, specifically Entry of Omnibus
                          Final Judgment and to Vacate Clerk's Final Judgments on Partial Claims by
                          Regions Bank. (Attachments: # 1 Exhibit Ex. A − Prejudgment Interest
                          Calculation as of 7/5/2017)(Garbett, David) (Entered: 07/05/2017)
      07/05/2017   838    NOTICE of withdrawal of motion by Bridgeview Bank Group re 836 Verified
                          MOTION for sanctions pursuant to Section 1927, Renewed Motion for Rule 11
                          Sanctions and Incorporated Memo of Law filed by Bridgeview Bank Group
                          (and Request to Remove from Docket due to Erroneous Filing) (Ellison, Jason)
                          (Entered: 07/05/2017)
      07/05/2017   839    MOTION for sanctions Corrected and pursuant to Section 1927, Renewed
                          Motion for Rule 11 Sanctions and Incorporated Memo of Law by Bridgeview
                          Bank Group. (Attachments: # 1 Exhibit BNK Smith's Answers to Bridgeview
                          Bank Group's First Set of Interrogatories)(Ellison, Jason) (Entered:
                          07/05/2017)
      07/05/2017   840    REQUEST for oral argument On Motions for Sanctions DE 102 and DE 119
                          by Regions Bank, Robert Shaw. (Garbett, David) (Entered: 07/05/2017)
      07/10/2017   841    NOTICE by Bridgeview Bank Group of Pending Sanctions Motions (Ellison,
                          Jason) (Entered: 07/10/2017)
      07/19/2017   842    RESPONSE in Opposition re 839 MOTION for sanctions Corrected and
                          pursuant to Section 1927, Renewed Motion for Rule 11 Sanctions and
                          Incorporated Memo of Law filed by BNK Smith, LLC, Marvin I Kaplan, MK
                          Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC. (Weirich,
                          Jonathan) (Entered: 07/19/2017)

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      07/19/2017   843        NOTICE by BNK Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A
                              Palms, LLC, Triple Net Exchange, LLC re 842 Response in Opposition to
                              Motion (of Filing Exhibit A to Response) (Weirich, Jonathan) (Entered:
                              07/19/2017)
      07/20/2017   844        TERMINATED PURSUANT TO DKT. 860 NOTICE OF WITHDRAWAL
                              OF MOTION. MOTION for Attorney Fees (Renewal of DE 358) by BNK
                              Smith, LLC, Marvin I Kaplan, MK Investing, LLC, R1A Palms, LLC, Triple
                              Net Exchange, LLC. (Weirich, Jonathan) Modified on 11/29/2017 (LD).
                              (Entered: 07/20/2017)
      07/26/2017   845        TERMINATED. MOTION for leave to file TO FILE REPLY IN SUPPORT
                              OF ITS MOTION SANCTIONS AGAINST THE KAPLAN PARTIES by
                              Bridgeview Bank Group. (Baker, Brittney) NOTE: Incorrect user ID, counsel
                              notified. Modified on 7/27/2017 (LD). (Entered: 07/26/2017)
      07/27/2017   846        MOTION for leave to file Reply in Support of Its Motion Sanctions Against
                              the Kaplan Parties by Bridgeview Bank Group. (Ellison, Jason) (Entered:
                              07/27/2017)
      11/07/2017   848        ORDER adopting in part and rejecting in part 805 REPORT AND
                              RECOMMENDATIONS re 800 MOTION for Attorney Fees filed by R1A
                              Palms, LLC, MK Investing, LLC, BNK Smith, LLC, Triple Net
                              Exchange, LLC. See Order for details. Signed by Judge Elizabeth A.
                              Kovachevich on 11/7/2017. (Attachments: # 1 Exhibit Schedule of
                              Damages)(JM) (Entered: 11/07/2017)
      11/08/2017   849        VACATED PURSUANT TO DKT. 852 ORDER. JUDGMENT in favor of
                              BNK Smith, LLC, MK Investing, LLC, R1A Palms, LLC, Triple Net
                              Exchange, LLC against Smith Advertising & Associates, Inc., G. Todd Smith,
                              Gary T. Smith, Lucy B. Smith (Signed by Deputy Clerk) (LD) Modified on
                              11/16/2017 (LD). (Entered: 11/08/2017)
      11/09/2017   851        ORDER granting 837 Agreed Motion for Entry of Omnibus Final
                              Judgment. See Order for details. A separate Omnibus Final Judgment
                              will be entered. Signed by Judge Elizabeth A. Kovachevich on 11/9/2017.
                              (JM) (Entered: 11/09/2017)
      11/15/2017   852        ORDER amending determination of prejudgment interest in Court's
                              prior Order (Dkt. 848), and vacating Final Judgment (Dkt. 849) re 849
                              Judgment, 848 Order Adopting Report and Recommendations Signed by
                              Judge Elizabeth A. Kovachevich on 11/15/2017. (Attachments: # 1
                              Exhibit)(JM) (Entered: 11/15/2017)
      11/15/2017   853   104 OMNIBUS FINAL JUDGMENT on all claims asserted by Plaintiff
                             Regions Bank, all counterclaim/crossclaims asserted by Marvin I. Kaplan,
                             R1A Palms, LLC, Triple Net Exchange, LLC, MK Investing, LLC, BNK
                             Smith, LLC, and the counterclaims asserted by Bridgeview Bank Group.
                             Signed by Judge Elizabeth A. Kovachevich on 11/15/2017. (JM) (Entered:
                             11/15/2017)
      11/21/2017   854        ENDORSED ORDER granting 846 Motion for Leave to File Reply.
                              Signed by Judge Elizabeth A. Kovachevich on 11/21/2017. (JM) (Entered:
                              11/21/2017)


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      11/21/2017   855    ENDORSED ORDER REFERRING MOTIONS for a hearing, if
                          necessary, and for a Report and Recommendation: 823 MOTION for
                          sanctions and Supporting Memorandum of Law filed by Regions Bank, 839
                          MOTION for sanctions Corrected and pursuant to Section 1927, Renewed
                          Motion for Rule 11 Sanctions and Incorporated Memo of Law filed by
                          Bridgeview Bank Group. Signed by Judge Elizabeth A. Kovachevich on
                          11/21/2017. (JM) Motions referred to Magistrate Judge Mark A. Pizzo.
                          (Entered: 11/21/2017)
      11/21/2017   856    ORDER denying 816 Motion to Redact 774 Trial Transcript. Signed by
                          Judge Elizabeth A. Kovachevich on 11/21/2017. (JM) (Entered: 11/21/2017)
      11/22/2017   857    ENDORSED ORDER REFERRING MOTION for a hearing, if
                          necessary, and for a Report and Recommendation: 844 MOTION for
                          Attorney Fees (Renewal of DE 358) filed by R1A Palms, LLC, MK
                          Investing, LLC, BNK Smith, LLC, Triple Net Exchange, LLC, Marvin I
                          Kaplan. Signed by Judge Elizabeth A. Kovachevich on 11/22/2017. (JM)
                          Motions referred to Magistrate Judge Mark A. Pizzo. (Entered:
                          11/22/2017)
      11/27/2017   858    MOTION for miscellaneous relief, specifically Referral to Magistrate for R &
                          R Pending Sanctions Motions at DE 102 and DE 119 by Regions Bank,
                          Robert Shaw. (Garbett, David) (Entered: 11/27/2017)
      11/28/2017   859    MOTION for Extension of Time to File Post−Judgment Motion for Attorney's
                          Fees and Costs by Regions Bank. (Garbett, David) (Entered: 11/28/2017)
      11/28/2017   860    NOTICE of withdrawal of motion by BNK Smith, LLC, Marvin I Kaplan, MK
                          Investing, LLC, R1A Palms, LLC, Triple Net Exchange, LLC re 358
                          MOTION for Attorney Fees filed by Marvin I Kaplan (Peterson, Donald)
                          (Entered: 11/28/2017)
      11/28/2017   861    ENDORSED ORDER granting 859 Agreed Motion for Extension of Time
                          to File Post−Judgment Motion for Attorney's Fees and Costs to December
                          29, 2017. Signed by Judge Elizabeth A. Kovachevich on 11/28/2017. (JM)
                          (Entered: 11/28/2017)
      11/28/2017   862    REPLY to Response to Motion re 839 MOTION for sanctions Corrected and
                          pursuant to Section 1927, Renewed Motion for Rule 11 Sanctions and
                          Incorporated Memo of Law filed by Bridgeview Bank Group. (Attachments: #
                          1 Exhibit)(Baker, Brittney) (Entered: 11/28/2017)
      11/29/2017   863    ORDER granting 858 Motion to Refer DE 102 and 119. Signed by Judge
                          Elizabeth A. Kovachevich on 11/29/2017. (JM) (Entered: 11/29/2017)
      11/29/2017   864    ENDORSED ORDER REFERRING MOTIONS FOR SANCTIONS for
                          an evidentiary hearing, if necessary, and for a Report and
                          Recommendation: 102 MOTION to Strike 93 CounterclaimCrossclaim
                          Correcting DE 101 filed by Robert Shaw, Regions Bank, 119 MOTION for
                          sanctions Under Rule 11 Against Kaplan Parties and Their Counsel filed by
                          Robert Shaw, Regions Bank. Signed by Judge Elizabeth A. Kovachevich
                          on 11/29/2017. (JM) Motions referred to Magistrate Judge Mark A. Pizzo.
                          (Entered: 11/29/2017)
      11/29/2017   865

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                             NOTICE by Bridgeview Bank Group re 244 Order on Motion to StrikeOrder
                             on motion to dismissOrder on Motion for Sanctions Notice of Renewal
                             (Ellison, Jason) (Entered: 11/29/2017)
      11/29/2017   866       ENDORSED ORDER REFERRING MOTION for an evidentiary
                             hearing, if necessary, and for a Report and Recommendation: 155
                             MOTION for sanctions Cross−Defendant's Motion for Imposition of
                             Sanctions filed by Bridgeview Bank Group. Signed by Judge Elizabeth A.
                             Kovachevich on 11/29/2017. (JM) Motions referred to Magistrate Judge
                             Mark A. Pizzo. (Entered: 11/29/2017)
      12/08/2017   867       ORDER denying 820 Motion to unseal Trial Transcript (Dkt. 776). Signed
                             by Judge Elizabeth A. Kovachevich on 12/8/2017. (JM) (Entered:
                             12/08/2017)
      12/11/2017   868       MOTION to Amend/Correct 853 Judgment by Regions Bank. (Garbett, David)
                             (Entered: 12/11/2017)
      12/11/2017   869   124 NOTICE OF APPEAL as to 853 Judgment by Regions Bank. Filing fee not
                             paid. (Garbett, David) (Entered: 12/11/2017)




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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

    REGIONS BANK, an Alabama
    banking corporation,

                         Plaintiff,

    v.          CASE NO. 8:12-CV-1837-T-17MAP

    MARVIN I. KAPLAN, an individual;
    R1A PALMS, LLC, a Florida limited
    liability company; LIGHTHOUSE
    POINTE, LLC, a Florida limited
    liability company; WELLS FARGO,
    BANK, N.A., a national banking
    association, as successor by merger
    with Wachovia Bank, N.A., TRIPLE
    NET EXCHANGE, LLC, a Delaware
    limited liability company; MK
    INVESTING, LLC, a Florida limited
    liability company; BNK SMITH, LLC,
    a Florida limited liability company;
    and SMITH ADVERTISING &
    ASSOCIATES, INC., a North
    Carolina corporation.

                         Defendants.



                                            /


                              FINAL JUDGMENT IN A CIVIL CASE

    Decision by Court.      This action came before the Court and a decision has been
    rendered.


    Dkt. 671      Corrected Second Amended Complaint of Regions Bank
    Dkt. 190      Second Amended Complaint of Regions Bank




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    Case No. 8:12-CV-1837-T-17MAP




    Count I     Breach of Deposit Agreement against R1A Palms, LLC

                A decision was rendered on Count I on April 18, 2016 (Dkt. 652). It is
                hereby ordered that final judgment is entered in favor of Regions Bank,
                 and against R1A Palms LLC in the amount of $3,366,007.52, plus
                prejudgment interest of $942,400.31 until November 9, 2017, and
                prejudgment interest of $493.66 daily until entry of final judgment.
                Jurisdiction is reserved to determine entitlement to attorney’s fees
                and costs (Dkt. 851).

    Count II    Obligation of Reimbursement against R1A Palms. LLC under
                Sec. 674.207(2), FJa. Stat.

                A decision was rendered on Count II on April 18, 2016 (Dkt. 652). It is
                hereby ordered that final judgment is entered in favor of Regions Bank,
                and against R1A Palms LLC in the amount of $3,366,007.52, plus
                prejudgment interest of $942,400.31 until November 9, 2017, and
                prejudgment interest of $493.66 daily until entry of final judgment.
                Jurisdiction is reserved to determine entitlement to expenses (Dkt. 851).


    Count III   Obligation of Refund against R1A Palms, LLC under Sec.
                674.2141(1), FJa. Stat.

                A decision was rendered on Count III on April 18, 2016 (Dkt. 652). It is
                hereby ordered that final judgment is entered in favor of Regions Bank,
                and against R1A Palms LLC in the amount of $3,366,007.52, plus
                prejudgment interest of $942,400.31 until November 9, 2017, and
                prejudgment interest of $493.66 daily until entry of final judgment (Dkt.
                851).

    Count IV    Obligation of Indorser against R1A Palms, LLC under Sec.
                673.4151.(1), Fla. Stat.

                A decision was rendered on Count IV on April 18, 2016 (Dkt. 652). It is
                hereby ordered that final judgment is entered in favor of Regions Bank,
                and against R1A Palms LLC in the amount of $3,366,007.52, plus
                prejudgment interest of $942,400.31 until November 9, 2017, and
                prejudgment interest of $493.66 daily until entry of final judgment (Dkt.
                851).

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    CountV       Conversion against R1A Palms, LLC

                 A decision was rendered on Count V on April 18, 2016 (Dkt. 654). It is
                 hereby ordered that final judgment is entered in favor of R1A Palms, LLC
                 and against Regions Bank.

    Count VI     Fraudulent Concealment against R1A Palms, LLC

                 A decision was rendered on Count VI on June 23, 2017 (Dkt. 826). It is
                 hereby ordered that final judgment is entered in favor of R1A Palms, LLC
                 and against Regions Bank.

    Count VII    Aiding/Abetting against R1A Palms, LLC

                 A decision was rendered on Count VII on June 23, 2017 (Dkt. 826). It is
                 hereby ordered that final judgment is entered in favor of R1A Palms, LLC
                 and against Regions Bank.


    Count VIII   Breach of Deposit Agreement against Triple Net Exchange, LLC

                 A decision was rendered on Count VIII on April 18, 2016 (Dkt. 652). It is
                  hereby ordered that final judgment is entered in favor of Regions Bank,
                 and against Triple Net Exchange LLC in the amount of $1,689,590.03,
                  plus prejudgment interest in the amount of $467,513.70 until November
                 9, 2017, and prejudgment interest of $247.65 daily until entry of final
                 judgment (Dkt. 851). Jurisdiction is reserved to determine entitlement to
                 attorney’s fees and costs.


    Count IX     Obligation of Reimbursement against Triple Net Exchange, LLC
                 under Sec. 674.207(2), Fja. Stat.

                 A decision was rendered on Count IX on April 18, 2016 (Dkt. 652). It is
                  hereby ordered that final judgment is entered in favor of Regions Bank,
                 and against Triple Net Exchange LLC in the amount of $1,689,590.03,
                 plus prejudgment interest in the amount of $467,513.70 until November
                 9, 2017, and prejudgment interest of $247.65 daily until entry of final
                 judgment (Dkt. 851). Jurisdiction is reserved to determine entitlement to

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                 expenses.


    Count X      Obligation of Refund against Triple Net Exchange, LLC under Sec.
                 674.2141(1), Fla. Stat.

                 A decision was rendered on Count X on April 18, 2016 (Dkt. 652). It is
                  hereby ordered that final judgment is entered in favor of Regions Bank,
                 and against Triple Net Exchange LLC in the amount of $1,689,590.03,
                 plus prejudgment interest in the amount of $467,513.70 until November
                 9, 2017, and prejudgment interest of $247.65 daily until entry of final
                 judgment (Dkt. 851).

    Count XI     Obligation of Indorser against Triple Net Exchange, LLC under Sec.
                 673.4151.(1), Fja. Stat.

                 A decision was rendered on Count XI on April 18, 2016 (Dkt. 652). It is
                  hereby ordered that final judgment is entered in favor of Regions Bank,
                 and against Triple Net Exchange LLC in the amount of $1,689,590.03,
                 plus prejudgment interest in the amount of $467,513.70 until November
                 9, 2017, and prejudgment interest of $247.65 daily until entry of final
                 judgment (Dkt. 851).

    Count XII    Conversion against Triple Net Exchange, LLC

                 A decision was rendered on Count XII on April 18, 2016 (Dkt. 654). It is
                 hereby ordered that final judgment is entered in favor of Triple Net
                 Exchange, LLC and against Regions Bank.


    Count XIII   Fraudulent Concealment against Triple Net Exchange, LLC

                 A decision was rendered on Count XIII on June 23, 2017 (Dkt. 826). It
                 is hereby ordered that final judgment is entered in favor of Triple Net
                 Exchange, LLC and against Regions Bank.


    Count XIV    Aiding/Abetting against Triple Net Exchange, LLC

                 A decision was rendered on Count XIV on June 23, 2017 (Dkt. 826). It
                 is hereby ordered that final judgment is entered in favor of Triple Net
                 Exchange, LLC and against Regions Bank.


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    Count XV     Breach of Deposit Agreement against MK Investing, LLC

                 A decision was rendered on Count XV on April 18, 2016 (Dkt. 652). It is
                 hereby ordered that final judgment is entered in favor of Regions Bank,
                 and against MK Investing, LLC in the amount of $1,178, 923.79 plus
                 prejudgment interest of $326,222.14 to November 9, 2017, and
                 prejudgment interest of $173.00 daily until entry of final judgment.
                 Jurisdiction is reserved to determine entitlement to attorney’s
                 fees and costs (Dkt. 851).


    Count XVI    Obligation of Reimbursement against MK Investing, LLC
                 under Sec. 674.207(2), Fja. Stat.

                 A decision was rendered on Count XVI on April 18, 2016 (Dkt. 652). It is
                 hereby ordered that final judgment is entered in favor of Regions Bank,
                 and against MK Investing, LLC in the amount of $1,178, 923.79 plus
                 prejudgment interest of $326,222.14 to November 9, 2017, and
                 prejudgment interest of $173.00 daily until entry of final judgment
                 (Dkt. 851). Jurisdiction is reserved to determine entitlement to expenses.


    Count XVII   Obligation of Refund against MK Investing, LLC under Sec.
                 674.2141(1), Fja. Stat.

                 A decision was rendered on Count XVII on April 18, 2016 (Dkt. 652). It is
                 hereby ordered that final judgment is entered in favor of Regions Bank,
                 and against MK Investing, LLC in the amount of $1,178, 923.79 plus
                 prejudgment interest of $326,222.14 to November 9, 2017, and
                 prejudgment interest of $173.00 daily until entry of final judgment
                 (Dkt. 851).


    Count XVIII Obligation of Indorser against MK Investing, LLC under Sec.
                673.4151.(1), Fla. Stat.

                 A decision was rendered on Count XVIII on April 18, 2016 (Dkt. 652). It
                 is hereby ordered that final judgment is entered in favor of Regions Bank,
                 and against MK Investing, LLC in the amount of $1,178, 923.79 plus
                 prejudgment interest of $326,222.14 to November 9, 2017, and

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                  prejudgment interest of $173.00 daily until entry of final judgment
                  (Dkt. 851).

    Count XIX     Conversion against MK Investing, LLC

                  A decision was rendered on Count XIX on April 18, 2016 (Dkt. 654). It is
                  hereby ordered that final judgment is entered in favor of MK
                  Investing, LLC and against Regions Bank.


    Count XX      Fraudulent Concealment against MK Investing, LLC

                  A decision was rendered on Count XX on June 23, 2017 (Dkt. 826).
                  It is hereby ordered that final judgment is entered in favor of MK
                  Investing, LLC and against Regions Bank.


    Count XXI     Aiding/Abetting against MK Investing, LLC

                  A decision was rendered on Count XXI on June 23, 2017 (Dkt. 826).
                  It is hereby ordered that final judgment is entered in favor of MK
                  Investing, LLC and against Regions Bank.


    Count XXII    Breach of Deposit Agreement against BNK Smith, LLC

                  A decision was rendered on Count XXII on April 18, 2016 (Dkt. 652). It is
                  hereby ordered that final judgment is entered in favor of Regions Bank
                  against BNK Smith, LLC in the amount of $164,379.01 plus prejudgment
                  interest of $48,485.23 to November 9, 2017 and prejudgment interest of
                  $24.12 daily until entry of final judgment. Jurisdiction is reserved
                  to determine entitlement to attorney’s fees and costs (Dkt. 851).


    Count XXIII   Obligation of Reimbursement against BNK Smith, LLC
                  under Sec. 674.207(2), Ha. Stat.

                  A decision was rendered on Count XXIII on April 18, 2016 (Dkt. 652). It
                  is hereby ordered that final judgment is entered in favor of Regions Bank
                  against BNK Smith, LLC in the amount of $164,379.01 plus prejudgment
                  interest of $48,485.23 to November 9, 2017 and prejudgment interest of
                  $24.12 daily until entry of final judgment. Jurisdiction is reserved to
                  determine entitlement to expenses (Dkt. 851).

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    Count XXIV Obligation of Refund against BNK Smith, LLC under Sec.
               674.2141(1), Fla. Stat.

                A decision was rendered on Count XXIV on April 18, 2016 (Dkt. 652). It
                is hereby ordered that final judgment is entered in favor of Regions Bank
                against BNK Smith, LLC in the amount of $164,379.01 plus prejudgment
                interest of $48,485.23 to November 9, 2017 and prejudgment interest of
                $24.12 daily until entry of final judgment (Dkt. 851).


    Count XXV   Obligation of Indorser against BNK Smith, LLC under Sec.
                673.4151.(1), Fla. Stat.

                A decision was rendered on Count XXV on April 18, 2016 (Dkt. 652). It is
                hereby ordered that final judgment is entered in favor of Regions Bank
                against BNK Smith, LLC in the amount of $164,379.01 plus prejudgment
                interest of $48,485.23 to November 9, 2017 and prejudgment interest of
                $24.12 daily until entry of final judgment (Dkt. 851).


    Count XXVI Conversion against BNK Smith, LLC

                A decision was rendered on Count XXVI on April 18, 2016 (Dkt. 654).
                 It is hereby ordered that final judgment is entered in favor of BNK
                Smith, LLC and against Regions Bank.


    Count XXVII Fraudulent Concealment against BNK Smith, LLC

                A decision was rendered on Count XXVII on June 23, 2017 (Dkt. 826).
                It is hereby ordered that final judgment is entered in favor of BNK
                Smith, LLC and against Regions Bank.


    Count XXVIII Aiding/Abetting against BNK Smith, LLC

                A decision was rendered on Count XXVIII on June 23, 2017 (Dkt. 826).
                It is hereby ordered that final judgment is entered in favor of BNK
                Smith, LLC and against Regions Bank.



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    Count XXIX Fraudulent Concealment against Marvin I. Kaplan

                 A decision was rendered on Count XXIX on June 23, 2017 (Dkt. 826).
                 It is hereby ordered that final judgment is entered in favor of Marvin I.
                 Kaplan and against Regions Bank.


    Count XXX    Aiding/Abetting Conversion against Marvin I. Kaplan

                 A decision was rendered on Count XXX on April 18, 2016 (Dkt. 654).
                 It is hereby ordered that final judgment is entered in favor of Marvin
                 I. Kaplan and against Regions Bank.


    Count XXXI Conversion against Marvin I. Kaplan


                 A decision was rendered on Count XXXI on April 18, 2016 (Dkt. 654).
                 It is hereby ordered that final judgment is entered in favor of Marvin
                 I. Kaplan and against Regions Bank.


    Count XXXII Civil Conspiracy against Marvin I. Kaplan, R1A Palms, LLC, Triple Net
                Exchange, LLC, MK Investing, LLC, BNK Smith, LLC


                 A decision was rendered on Count XXXII on June 23, 2017 (Dkt.
                 826). The decision designated Count XXXII as Count XXXIII in error.
                 It is hereby ordered that final judgment is entered in favor of Marvin
                 I. Kaplan, R1A Palms, LLC, Triple Net Exchange, LLC, MK Investing,
                 LLC and BNK Smith, LLC and against Regions Bank.




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    Dkt. 93     Amended Counterclaim and Crossclaims of Marvin I. Kaplan, R1A Palms,
                LLC, Triple Net Exchange, LLC, MK Investing, LLC, BNK Smith, LLC


    Count I     Fraud against Charles L. Starr, III, a/k/a Larry Starr, G. Todd Smith
                a/k/a Todd Smith and Smith Advertising & Associates, Inc.

                A decision was rendered on Count I on March 22, 2013 (Dkt. 84) and
                on March 31, 2014 (Dkt. 244) as to Defendant Starr. A decision was
                rendered on November 7, 2017 as to G. Todd Smith a/k/a Todd Smith
                and Smith Advertising & Associates, Inc. (Dkt. 848).

                It is hereby ordered that a final judgment dismissing Count I with
                prejudice is entered in favor of Charles L. Starr, III, a/k/a Larry Starr, G.
                Todd Smith, a/k/a Todd Smith and Smith Advertising & Associates,
                Inc., and against R1A Palms, LLC, Triple Net Exchange,
                LLC, MK Investing, LLC and BNK Smith, LLC.


    Count II    Conspiracy to Defraud against Charles L. Starr, III, a/k/a Larry Starr,
                G. Todd Smith a/k/a Todd Smith, Gary T. Smith, Lucy B. Smith,
                Bridgeview Bank Group and Smith Advertising & Associates, Inc.

                A decision was rendered on Count II on April 19, 2016 (Dkt. 657) as to
                Defendant Starr. A decision was rendered on Count II on April 18, 2016
                as to Defendant Bridgeview Bank Group (Dkt. 655). A decision was
                rendered on Count II on November 7, 2017 as to G. Todd Smith a/k/a
                Todd Smith, Gary T. Smith, Lucy B. Smith, and Smith Advertising &
                Associates, Inc. (Dkt. 848).

                It is hereby ordered that a final judgment dismissing Count II with
                prejudice is entered in favor of Defendant Charles L. Starr, III, a/k/a
                Larry Starr, G. Todd Smith a/k/a Todd Smith, Gary T. Smith, Lucy B.
                Smith, Bridgeview Bank Group and Smith Advertising & Associates, Inc.,
                and against R1A Palms. LLC, Triple Net Exchange, LLC,
                MK Investing, LLC and BNK Smith, LLC.




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    Count III   Negligent Misrepresentation against Charles L. Starr, III, a/k/a Larry Starr,
                G. Todd Smith a/k/a Todd Smith and Smith Advertising & Associates, Inc.

                A decision was rendered on Count III on March 22, 2013 (Dkt. 84) and
                on March 31, 2014 (Dkt. 244) as to Defendant Starr. A decision was
                rendered on November 7, 2017 as to Defendants G. Todd Smith a/k/a
                Todd Smith and Smith Advertising & Associates, Inc. (Dkt. 848).

                It is hereby ordered that a final judgment dismissing Count III with
                prejudice is entered in favor of Defendant Charles L. Starr, III, a/k/a
                Larry Starr, G. Todd Smith a/k/a Todd Smith, and Smith Advertising &
                Associates, Inc., and against R1A Palms. LLC, Triple Net Exchange, LLC,
                MK Investing, LLC and BNK Smith, LLC.


    Count IV    Violation of 18 U.S.C. Secs. 1962(c) and 1964 against Charles L. Starr,
                III, a/k/a Larry Starr, G. Todd Smith a/k/a Todd Smith, Gary T. Smith, Lucy
                B. Smith, Bridgeview Bank Group and Smith Advertising & Associates,
                Inc.


                A decision was rendered on Count IV on March 30, 2015 (Dkt. 351) as to
                Defendant Starr. A decision was rendered on Count IV on May 14, 2015
                (Dkt. 378) as to Defendant Bridgeview Bank Group. A decision was
                rendered on November 7, 2017 on Count IV as to Defendants G. Todd
                Smith a/k/a Todd Smith, Gary T. Smith, Lucy B. Smith, and Smith
                Advertising & Associates, Inc. (Dkt. 848).

                It is hereby ordered that a final judgment dismissing Count IV with
                prejudice is entered in favor of Defendant Charles L. Starr, III, a/k/a
                Larry Starr, G. Todd Smith a/k/a Todd Smith, Gary T. Smith, Lucy B.
                Smith, Bridgeview Bank Group and Smith Advertising & Associates, Inc.,
                and against R1A Palms, LLC, Triple Net Exchange, LLC, MK Investing,
                LLC and BNK Smith, LLC.




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    CountV     Violation of 18 U.S.C. Secs. 1962(d) and 1964 against Charles L. Starr,
               III, a/k/a Larry Starr, G. Todd Smith a/k/a Todd Smith, Gary T. Smith, Lucy
               B. Smith, Bridgeview Bank Group and Smith Advertising & Associates,
               Inc.

               A decision was rendered on Count V on March 30, 2015 (Dkt. 351) as to
               Defendant Starr. A decision was rendered on Count V on May 14, 2015
               (Dkt. 378) as to Defendant Bridgeview Bank Group. A decision was
               rendered on November 7, 2017 on Count V as to Defendants G. Todd
               Smith a/k/a Todd Smith, Gary T. Smith, Lucy B. Smith, and Smith
               Advertising & Associates, Inc. (Dkt. 848).

               It is hereby ordered that a final judgment dismissing Count V with
               prejudice is entered in favor of Defendant Charles L. Starr, III, a/k/a
               Larry Starr, G. Todd Smith a/k/a Todd Smith, Gary T. Smith, Lucy B.
               Smith, Bridgeview Bank Group, and Smith Advertising & Associates, Inc.,
               and against R1A Palms, LLC, Triple Net Exchange, LLC, MK Investing,
               LLC and BNK Smith, LLC.


    Count VI   Violation of Secs. 772.103(3) and 772.104, Fja. Stat.. against Charles L.
               Starr, III, a/k/a Larry Starr, G. Todd Smith a/k/a Todd Smith, Gary T.
               Smith, Lucy B. Smith, Bridgeview Bank Group and Smith Advertising &
               Associates, Inc.

                A decision was rendered on Count VI on March 30, 2015 (Dkt. 351) as to
               Defendant Starr. A decision was rendered on Count VI on May 14, 2015
               (Dkt. 378) as to Defendant Bridgeview Bank Group. A decision was
               rendered on November 7, 2017 on Count VI as to Defendants G. Todd
               Smith a/k/a Todd Smith, Gary T. Smith, Lucy B. Smith, and Smith
               Advertising & Associates, Inc. (Dkt. 848).

               It is hereby ordered that a final judgment dismissing Count VI with
               prejudice is entered in favor of Defendant Charles L. Starr, III, a/k/a
               Larry Starr, G. Todd Smith a/k/a Todd Smith, Gary T. Smith, Lucy B.
               Smith, Bridgeview Bank Group, and Smith Advertising & Associates, Inc.,
               and against R1A Palms, LLC, Triple Net Exchange, LLC, MK Investing,
               LLC and BNK Smith, LLC.




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    Count VII    Violation of Secs. 772.103(4) and 772.104, Ha. Stat.. against Charles L.
                 Starr, III, a/k/a Larry Starr, G. Todd Smith a/k/a Todd Smith, Gary T.
                 Smith, Lucy B. Smith, Bridgeview Bank Group and Smith Advertising &
                 Associates, Inc.

                 A decision was rendered on Count VII on March 30, 2015 (Dkt. 351) as to
                 Defendant Starr. A decision was rendered on Count VII on May 14, 2015
                 (Dkt. 378) as to Defendant Bridgeview Bank Group. A decision was
                 rendered on November 7, 2017 on Count VII as to Defendants G. Todd
                 Smith a/k/a Todd Smith, Gary T. Smith, Lucy B. Smith, and Smith
                 Advertising & Associates, Inc. (Dkt. 848).

                 It is hereby ordered that a final judgment dismissing Count VII with
                 prejudice is entered in favor of Defendant Charles L. Starr, III, a/k/a
                 Larry Starr, G. Todd Smith a/k/a Todd Smith, Gary T. Smith, Lucy B.
                 Smith, Bridgeview Bank Group, and Smith Advertising & Associates, Inc.,
                 and against R1A Palms, LLC, Triple Net Exchange, LLC, MK Investing,
                 LLC and BNK Smith, LLC.


    Count VIII   Violation of Sec. 772.11, Fja. Stat.. against G. Todd Smith a/k/a Todd
                 Smith, Gary T. Smith, Lucy B. Smith, and Smith Advertising & Associates,
                 Inc.

                 A decision was rendered on Count VIII on November 7, 2017 (Dkt. 848).
                 An order correcting the respective amounts of prejudgment interest
                 and adding prejudgment interest to November 14, 2017 was entered on
                 November 15, 2017.

                 It is hereby ordered that a joint and several final judgment is entered
                 against G. Todd Smith a/k/a Todd Smith, Gary T. Smith, Lucy B. Smith,
                 and Smith Advertising & Associates, Inc. and in favor of R1A Palms,
                 LLC, Triple Net Exchange, LLC, MK Investing, LLC, and BNK Smith,
                 LLC as follows::

                 A.    Damages in the following amounts:

                       1.$47,598,983.00 to R1A Palms, LLC;

                       2.     $11,246,494.00 to Triple Net Exchange, LLC

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                     3.     $7,795,449.47 to MK Investing, LLC;

                     4.     $2,963,804.18 to BNK Smith, LLC.

               B.    Prejudgment Interest in the following amounts:

                     1.     $4,081,414.89 to R1A Palms, LLC

                     2.     $1,037,076.82 to Triple Net Exchange, LLC

                     3.     $698,100.01 to MK Investing, LLC

                     4.     $270,001.35 to BNK Smith, LLC.

               The Court further awards attorney’s fees in the amount of $40,609.00 in
               favor of R1A Palms, LLC, Triple Net Exchange, LLC, MK Investing, LLC,
               and BNK Smith, LLC. This Final Judgment shall accrue post-judgment
               interest pursuant to 28 U.S.C. Sec. 1961, for which sum execution shall
               issue.


    Count IX   Conversion against G. Todd Smith a/k/a Todd Smith, Gary T. Smith, Lucy
               B. Smith, and Smith Advertising & Associates, Inc.

               A decision was rendered on Count IX on November 7, 2017 (Dkt. 848).

               It is hereby ordered that a final judgment dismissing Count IX with
               prejudice is entered in favor of G. Todd Smith a/k/a Todd Smith, Gary T.
               Smith, Lucy B. Smith, and Smith Advertising & Associates, Inc., and
               against R1A Palms, LLC, Triple Net Exchange, LLC, MK Investing, LLC
               and BNK Smith, LLC.




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    Count X     Violation of Florida’s Deceptive and Unfair Trade Practices Act against
                G. Todd Smith a/k/a Todd Smith, Gary T. Smith, Lucy B. Smith,
                Bridgeview Bank Group and Smith Advertising & Associates, Inc.

                A decision was rendered on Count X on March 31, 2014 (Dkt. 244)
                and on April 18, 2016 as to Bridgeview Bank Group (Dkt. 655). A
                decision was rendered on Count X on November 7, 2017 as to
                Defendants G. Todd Smith a/k/a Todd Smith, Gary T. Smith, Lucy B.
                Smith, and Smith Advertising & Associates, Inc. (Dkt. 848).

                It is hereby ordered that a final judgment dismissing Count X with
                prejudice is entered in favor of G. Todd Smith a/k/a Todd Smith, Gary T.
                Smith, Lucy B. Smith, Bridgeview Bank Group and Smith Advertising &
                Associates, Inc., and against R1A Palms, LLC, Triple Net Exchange,
                LLC, MK Investing, LLC and BNK Smith, LLC.


    Count XI    Violation of Sec. 68.065. Fla. Stat.. against Smith Advertising &
                Associates, Inc.

                A decision was rendered on Count XI on November 7, 2017 (Dkt. 848).

                It is hereby ordered that a final judgment dismissing Count XI with
                prejudice is entered in favor of Smith Advertising & Associates, Inc. and
                against R1A Palms, LLC, Triple Net Exchange, LLC, MK Investing, LLC
                and BNK Smith, LLC.


    Count XII   Breach of Contract against G. Todd Smith a/k/a Todd Smith, Gary T.
                Smith, and Smith Advertising & Associates, Inc.

                A decision was rendered on Count XII on November 7, 2017 (Dkt. 848).

                It is hereby ordered that a final judgment dismissing Count XII with
                prejudice is entered in favor of G. Todd Smith a/k/a Todd Smith, Gary T.
                Smith, and Smith Advertising & Associates, Inc., and against R1A
                Palms, LLC, Triple Net Exchange, LLC, MK Investing, LLC and BNK
                Smith, LLC.



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    Count XIII   Breach of UCC Sec. 4-302(a) against Bridgeview Bank Group

                 A decision was rendered on Count XIII on April 18, 2016 (Dkt. 655).

                 It is hereby ordered that a final judgment on Count XIII
                 is entered in favor of Bridgeview Bank Group and
                 against R1A Palms, LLC, Triple Net Exchange, LLC, MK
                 Investing, LLC and BNK Smith, LLC.


    Count XIV    Breach of UCC Sec. 4-302(a) against Wells Fargo, N.A.

                 A decision was rendered on Count XIV on April 18, 2016 (Dkt. 656).

                 It is hereby ordered that a final judgment on Count XIV
                 is entered in favor of Wells Fargo, N.A. and against R1A Palms,
                 LLC, Triple Net Exchange, LLC, MK Investing, LLC and BNK
                 Smith, LLC.

    Count XV     Breach of 12 C.F.R. Part 229 against Bridgeview Bank Group

                 A decision was rendered on Count XV on April 18, 2016 (Dkt. 655).

                 It is hereby ordered that a final judgment on Count XV
                 is entered in favor of Bridgeview Bank Group and
                 against R1A Palms, LLC, Triple Net Exchange, LLC, MK Investing, LLC
                 and BNK Smith, LLC.


    Count XVI    Breach of 12 C.F.R. Part 229 against Wells Fargo, N.A.

                 A decision was rendered on Count XVI on April 18, 2016 (Dkt. 656).

                 It is hereby ordered that a final judgment on Count
                 XVI is entered in favor of Wells Fargo, N.A.
                 and against R1A Palms, LLC, Triple Net Exchange, LLC,
                 MK Investing, LLC and BNK Smith, LLC.




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    Count XVII    Negligence against Bridgeview Bank Group

                  A decision was rendered on Count XVII on April 18, 2016 (Dkt. 655).

                  It is hereby ordered that a final judgment on Count
                  XVII is entered in favor of Bridgeview Bank
                  Group and against R1A Palms, LLC, Triple Net Exchange, LLC,
                  MK Investing, LLC and BNK Smith, LLC.


    Count XVIII   Negligence against Wells Fargo, N.A.

                  A decision was rendered on Count XVIII on April 18, 2016 (Dkt. 656).

                  It is hereby ordered that a final judgment on Count
                  XVIII is entered in favor of Wells Fargo, N.A. and against
                  R1A Palms, LLC, Triple Net Exchange, LLC,
                  MK Investing, LLC and BNK Smith, LLC.


    Count XIX     Fraud against Bridgeview Bank Group

                  A decision was rendered on Count XIX on April 18, 2016 (Dkt. 655).

                  It is hereby ordered that a final judgment on Count XIX is
                  entered in favor of Bridgeview Bank Group and against
                  R1A Palms, LLC, Triple Net Exchange, LLC, MK Investing, LLC
                  and BNK Smith, LLC.


    Count XX      Negligent Misrepresentation against Bridgeview Bank Group

                  A decision was rendered on Count XX on April 18, 2016 (Dkt. 655).

                  It is hereby ordered that a final judgment on Count XX is entered
                  In favor of Bridgeview Bank Group and against R1A Palms, LLC,
                  Triple Net Exchange, LLC, MK Investing, LLC and BNK Smith, LLC.




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    Count XXI     Defamation Per Se against Regions Bank, Florida Bankers
                  Association, Inc., Robert Nicholas Shaw

                  A decision was rendered on Count XXI on March 31, 2014 (Dkt. 244).

                  It is hereby ordered that a final judgment on Count XXI is
                  entered in favor of Regions Bank, Florida Bankers
                  Association, Inc. and Robert Nicholas Shaw, and against
                  Marvin I. Kaplan, R1A Palms, LLC, Triple Net Exchange, LLC,
                  MK Investing, LLC and BNK Smith, LLC.



    Count XXII    Invasion of Privacy against Regions Bank, Florida Bankers
                  Association, Inc., Robert Nicholas Shaw

                  A decision was rendered on Count XXII on March 31, 2014 (Dkt. 244).

                  It is hereby ordered that a final judgment on Count XXII is
                  entered in favor of Regions Bank, Florida Bankers Association,
                  Inc. and Robert Nicholas Shaw, and against Marvin I.
                  Kaplan, R1A Palms, LLC, Triple Net Exchange, LLC,
                  MK Investing, LLC and BNK Smith, LLC.


    Count XXIII   Negligence/Negligent Misrepresentation against Regions Bank

                  A decision was rendered on Count XXIII on April 18, 2016 (Dkt. 652).

                  It is hereby ordered that a final judgment on Count XXIII is
                  entered in favor of Regions Bank and against R1A Palms, LLC,
                  Triple Net Exchange, LLC, MK Investing, LLC and BNK Smith, LLC.




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    Case No. 8:12-CV-1837-T-17MAP



    Dkt. 271   Counterclaim of Bridgeview Bank Group

    Count I    Violation of Secs. 772.103(3) and 772.104, Fla. Stat..
               against R1A Palms, LLC, Triple Net Exchange, LLC,
               MK Investing, LLC and BNK Smith LLC

               A decision was rendered on Count I on March 30, 2015 (Dkt. 353).

               It is hereby ordered that a final judgment of dismissal on Count I is
               entered in favor of R1A Palms, LLC, Triple Net Exchange, LLC,
               MK Investing, LLC and BNK Smith, LLC and against Bridgeview Bank
               Group.


    Count II   Violation of Secs. 772.103(4) and 772.104. Fla. Stat..
               against Marvin I. Kaplan, R1A Palms, LLC, Triple Net
               Exchange, LLC, MK Investing, LLC, BNK Smith, LLC

               A decision was rendered on Count II on March 30, 2015 (Dkt. 353).

               It is hereby ordered that a final judgment of dismissal on Count II
               is entered in favor of Marvin I. Kaplan, R1A Palms, LLC, Triple Net
               Exchange, LLC, MK Investing, LLC and BNK Smith, LLC, and
               against Bridgeview Bank Group.




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    Case No. 8:12-CV-1837-T-17MAP




          DONE and ORDERED in Chambers in Tampa, Florida on this   day of
    November, 2017.




   Copies to:
   All parties and counsel of record




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                                       CIVIL APPEALS JURISDICTION CHECKLIST

     A p p e a la b le O r d e r s : Courts o f A ppeals have ju risdiction conferred and strictly limited by statute:


     (& )       A p p e a ls fr o m fin al o r d e r s p u rsu a n t to 28 U .S.C . S ection 1291: O nly final orders and judgm ents o f district courts, or final orders
                o f bankruptcy courts w hich have been appealed to and fully resolved by a district court under 28 U .S.C. Section 158, generally are
                appealable. A final d ecision is on e that “ ends the litigation on the merits and leaves nothing for the court to do but execute the
                ju dgm ent.” Pitney B o w e s, Inc. V . M estre, 701 F.2d 1365,1 368 ( 1 1th Cir. 1983). A magistrate ju d g e ’ s report and recom m endation
                is not final and appealable until ju d gm en t thereon is entered by a district court ju d ge. 28 U .S.C . Section 63 6(c).


     (b )       In cases in v o lv in g m u ltip le p arties o r m ultip le claim s, a judgm ent as to few er than all parties or all claims is not a final,
                appealable d ecision unless the district court has certified the ju d gm ent for im mediate review under F ed.R .C iv.P. 54(b), W illiam s
                v. B ishop, 732 F.2d 885, 88 5-86 ( 1 1th Cir. 1984). A judgm ent w hich resolves all issues except matters, such as attorneys’ fees and
                costs, that are collateral to the merits, is im mediately appealable. Budinich v. B ecton D ickinson & C o.. 486 U.S. 196, 201, 108 S.
                Ct. 1717, 1721-22, 100 L .E d.2d 178 (1 9 8 8 ): LaChance v. D u ffy ’ s Draft H ouse. Inc.. 146 F.3d 832, 837 (11th Cir. 1998).


     (c )       A p p e a ls p u rsu a n t to 28 U .S .C . S ection 12 92(a ): A ppeals are permitted from orders “ granting, continuing, m odifying, refusing
                or dissolving injunctions or refusing to dissolve or m odify injunctions...” and from “ [i]nterlocutory decrees...determ ining the rights
                and liabilities o f parties to admiralty cases in w hich appeals from final decrees are allow ed .”               Interlocutory appeals from orders
                denying tem porary restraining orders are not permitted.


     (d )       A p p ea ls p u rsu a n t to 28 U .S .C . S ection 12 92(b ) and F e d ,R .A p p .P .5 :   The certification specified in 28 U.S.C . Section 1292(b)
                must be obtained before a petition for perm ission to appeal is filed in the Court o f A ppeals. The district court’ s denial o f a m otion
                for certification is not itse lf appealable.


     (e )       A p p ea ls p u rsu a n t to ju d ic ia lly crea ted ex cep tion s to the fin ality rule: Limited ex ception s are discussed in cases including, but
                not limited to: C ohen V . B eneficial Indus. Loan C orp .. 337 U.S. 541,54 6,69 S.Ct. 1221, 1225-26, 93 L.Ed. 1528 (1 949); Atlantic
                Fed. Sav. & Loan A s s ’ n v. B lythe Eastman Paine W ebber. In c.. 890 F. 2d 371, 376 ( 1 1th Cir. 1989); G illespie v. United States
                Steel C o rp .. 379 U .S. 148, 157, 85 S. Ct. 308, 312, 13 L.Ed.2d 1 9 9 (1 9 6 4 ).


     T im e fo r Filing: The tim ely filing o f a notice o f appeal is mandatory and jurisdictional. R inaldo v. C o rb e tt 256 F.3d 1 2 76,1 278 ( 1 1th Cir.
     20 01). In civil cases, F ed .R .A p p .P .4(a) and (c ) set the follow in g time limits:


     (a )       F e d .R .A p p .P . 4 (a )(1 ): A notice o f appeal in com pliance with the requirements set forth in Fed.R .A pp.P. 3 must be filed in the
                district court within 30 days after the entry o f the order or judgm ent appealed from . H ow ever, i f the United States or an o ffice r or
                agency th e re o f is a party, the notice o f appeal must be filed in the district court within 60 days after such entry. T H E N O T IC E
                M U S T B E R E C E I V E D A N D F IL E D IN T H E D I S T R IC T C O U R T N O L A T E R T H A N T H E L A S T D A Y O F T H E A P P E A L
                P E R IO D - no a d d itio n a l d ays a re p ro v id e d fo r m ailing. Special filing provision s for inmates are discussed below .


     (b )       F e d .R .A p p .P . 4 (a )(3 ): “ I f on e party tim ely files a notice o f appeal, any other party m ay file a notice o f appeal within 14 days after
                the date when the first notice was filed, or within the time otherwise prescribed by this Rule 4(a)., w hichever period ends later.”


     (c )       F e d .R .A p p .P .4 (a )(4 ): I f any party makes a tim ely m otion in the district court under the Federal R ules o f C ivil Procedure o f a type
                specified in this rule, the time for appeal for all parties runs from the date o f entry o f the order d isposing o f the last such timely
                filed m otion.


     (d )       F cd .R .A p p .P .4 (a )(5 ) and 4 (a )(6 ): Under certain limited circum stances, the district court may extend the time to file a notice o f
                appeal. U nder R ule 4 (a )(5 ), the time may be extended if a m otion for an extension is filed within 30 days after expiration o f the
                time otherw ise p rovided to file a notice o f appeal, upon a sh ow ing o f excusable neglect or g o o d cause. Under Rule 4(a)(6), the
                time may be extended i f the district court finds upon m otion that a party did not tim ely receive notice o f the entry o f the judgm ent
                or order, and that no party w ould be prejudiced by an extension.


     (e )       F c d .R .A p p .P .4 (c ): I f an inmate con fin ed to an institution files a notice o f appeal in either a civil case or a criminal case, the notice
                o f appeal is tim ely i f it is deposited in the institution’ s internal mail system on or before the last day for filing. T im ely filing m ay
                be show n by a declaration in com p lian ce with 28 U.S.C . Section 1746 or a notarized statement, either o f which must set forth the
                date o f deposit and state that first-class postage has been prepaid.


     F o rm a t o f the n otice o f a n n e a l: Form 1, A p pen dix o f Form s to the Federal Rules o f A ppellate Procedure, is a suitable format.           See also
     F ed.R .A pp.P. 3(c). A g ro se notice o f appeal must be signed by the appellant.


     E ffe ct o f a n otice o f a n n e a l: A district court loses jurisdiction (authority) to act after the filing o f a tim ely notice o f appeal, except for actions
     in aid o f appellate ju risdiction o r to rule on a tim ely m otion o f the type sp ecified in F ed.R .A pp.P . 4(a )(4 ).




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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

    REGIONS BANK, an Alabama banking corporation,

           Plaintiff,
    vs.                                                            Case No.: 8:12-cv-01837-EAK-MAP

    MARVIN I. KAPLAN, an individual, et al.,

          Defendants.
    __________________________________/

                                  REGIONS’ NOTICE OF APPEAL 1

           Plaintiff Regions Bank (“Regions”), pursuant to Fed. R. App. P. Rules 3 and 4, appeals to

    the United States Court of Appeals for the Eleventh Circuit the following portions of the Final

    Judgment (Dkt. 853) entered on November 15, 2017 in the above-captioned case: (1) Regions’

    claims for conversion, fraudulent concealment, aiding and abetting against (i) R1A Palms, LLC

    (“R1A”) in Counts V-VII, (ii) Triple Net Exchange, LLC (“TNE”) in Counts XII-XIV, (iii) MK

    Investing, LLC (“MKI”) in Counts XIX-XXI, (iv) BNK Smith, LLC (“BNK”) in Counts XXVI-




    1
       Regions has timely filed a motion to amend the Final Judgment pursuant to Fed. R. Civ. P.
    60(a) or 59(e). DE 868. The latter tolls the time to file a notice of appeal pursuant to Fed. R.
    App. P. 4(a)(4)(iv) pending disposition of the motion. It is unclear whether the Eleventh Circuit
    considers Rule 60(a) motions as tolling-motions under Fed. R. App. P. 4(a)(4)(iv). Although
    Burnam v. Amoco Container Co., 738 F.2d 1230, 1232 (11th Cir. 1984), said that a “Rule 60
    motion, however, does not affect the finality of a judgment or suspend its operation for purposes
    of appeal,” citing Alber v. Gant, 435 F.2d 146 (5th Cir. 1970) (Rule 60(a) motion to correct a
    clerical error does not toll time to appeal), at the time, Rule 4(a)(4)(iv) did not include Rule 60
    motions which Rule now does. Other Circuit Courts consider Rule 60(a) motions as tolling the
    time to file the notice of appeal under current Rule 4(a)(4)(iv). See Catz v. Chalker, 566 F.3d
    839, 840 (9th Cir. 2009); Dudley ex rel. Estate of Patton v. Penn–Am. Ins. Co., 313 F.3d 662,
    665 (2d Cir. 2002); Internet Fin. Servs., LLC v. Law Firm of Larson–Jackson, P.C., 394
    F.Supp.2d 1, 4–5 (D.D.C. 2005); but see Oriakhi v. Wood, 250 F. App'x 480, 481 (3d Cir. 2007)
    (Rule 60(a) does not toll time to file notice of appeal). Regions therefore files this notice on a
    precautionary basis in case its motion to amend is a 60(a) motion and it is considered non-tolling.


                            G A R B E T T, A L L E N & R O Z A , P. A . , AT T O R N E Y S AT L A W
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    XXVIII, (v) and Marvin I. Kaplan (“Kaplan”) in Counts XXIX-XXXI, and (2) civil conspiracy

    against R1A, TNE, MKI, BNK and Kaplan in Count XXXII. 2

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                                           By:     /s/ David S. Garbett
                                                   David S. Garbett

                                      CERTIFICATE OF SERVICE

           I certify that on December 11, 2017, I electronically transmitted the foregoing document

    to the Clerk of Court using the ECF System for filing and transmittal of a Notice of Electronic

    Filing to all counsel of record identified on the below service list.

                                                                     /s/ Joseph D. Perkins

                                              SERVICE LIST

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    2
      The Final Judgment brings up the order granting Kaplan Parties’ motion summary judgment as
    to Regions’ conversion claims. Doc. 654 at 25-28.
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